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                    THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF NEW YORK




IN RE ALIBABA GROUP                  Civil Action No. 1:15-md-02631 (CM)
HOLDING LIMITED
SECURITIES LITIGATION




               EXPERT REPORT OF DAVID I. TABAK, PH.D.



    I.      SCOPE OF ANALYSIS AND SUMMARY OF FINDINGS
    1. This report concerns Plaintiffs’ motion to certify a proposed class defined as “All
persons and/or entities that purchased or otherwise acquired Alibaba Group Holding
Limited American Depositary Shares (‘ADS’), or purchased call options or sold put
options on Alibaba ADS, during the period September 19, 2014, through January 28,
2015, inclusive (the ‘Class Period’), other than those shares purchased directly in the
September 19, 2014 Initial Public Offering. Excluded from the Class are: (a) persons
who suffered no compensable losses; and (b) Defendants; the present and former officers
and directors of Alibaba at all relevant times; members of their immediate families and
their legal representatives, heirs, successors, or assigns; and any entity in which any of
the Defendants, or any person excluded under this subsection (b), has or had a controlling
interest at any time.”1

1
  Quote provided by counsel. In ¶1 of the Consolidated Complaint (“Complaint”), the
proposed class period was defined to include January 29, 2015. Because the disclosure
on January 29, 2015 occurred before the market open, that date is not properly in the
class period, and therefore is not included in my analysis of market efficiency.




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   2. Counsel for plaintiffs in this matter has asked me to examine whether Alibaba’s
ADSs and options traded in efficient markets during the Class. I have also been asked to
determine whether there are methodologies that can be used to determine the damages for
ADS purchasers, for purchasers of call options, and for sellers of put options.

   3. As discussed below, the markets for Alibaba’s ADSs showed overwhelming
evidence of efficiency in the aftermarket (i.e., all trades following the company’s initial
public offering (“IPO”) on September 19, 2014). In contrast, there is insufficient support
for a finding that the offering price (i.e., the price of $68 per share at which shares were
purchased in the IPO from the company via its underwriters) can be described as having
been set in an efficient market. Based on the efficiency of the price for Alibaba shares in
the aftermarket and on an examination of the relationship between Alibaba call and put
prices to that price, the markets for Alibaba calls and puts were also efficient.

   4. Damages for purchasers of Alibaba’s ADSs in the aftermarket, for purchasers of
Alibaba call options, and for sellers of Alibaba put options can be determined through
common methodologies.



    II.     QUALIFICATIONS AND REMUNERATION
   5. I received Bachelor’s degrees in Physics and in Economics from the
Massachusetts Institute of Technology and a Master’s degree and a Ph.D. in Economics
from Harvard University. I have appeared as an expert in federal district courts; state
trial courts; bankruptcy court; and in arbitration forums, including the National
Association of Securities Dealers, the International Chamber of Commerce International
Court of Arbitration, and the American Arbitration Association. I have published in my
fields of expertise on subjects such as market efficiency, loss causation, statistics, and the
analysis of stock price movements.

   6. National Economic Research Associates (“NERA”) was established in 1961 and
now employs approximately 500 people in over twenty offices worldwide. NERA
provides consulting for economic matters to parties for their internal use, to parties in


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litigation, and to governmental and regulatory authorities. I have worked at NERA for
over twenty years and am a managing director in NERA’s securities and finance practice.
My work entails providing analyses for parties in litigation and consulting for parties in
non-litigation settings. I have served as a speaker at events providing CLE credits for
attorneys and at academic conferences on areas related to securities litigation. I have
provided reports and/or testimony for plaintiffs and defendants in numerous securities
class actions.

    7. My curriculum vitae, which sets forth in further detail my publications and prior
testimony experience, is attached to this report as Exhibit 1.

    8. NERA is being compensated on a non-contingent basis for out-of-pocket costs
and at our usual rates for time. My billing rate is $900 per hour. I have been assisted by
a number of individuals at NERA working at my direction who are billing at their
standard rates.



     III.     MATERIALS CONSIDERED
    9. Materials considered for the purposes of this report are listed in Exhibit 2.



     IV.      THE THEORY OF MARKET EFFICIENCY
    10. In the 1960s, economists Paul Samuelson and Eugene Fama each developed
theories that developed into the modern theory of market efficiency, known as the
“Efficient Market Hypothesis.”2 Professors Samuelson and Fama recognized that if
market participants are rational, a security cannot have an expected change in price.3 For
2
 See, for example, the New Palgrave Dictionary of Economics, 2008 edition, entry on
Efficient Markets Hypothesis, available online at
https://rd.springer.com/referenceworkentry/10.1057/978-1-349-95121-5_42-2.
3
 While later refinements of the theory examined whether certain types of stock price
movements are possible because of factors such as the risk entailed in trying to profit
(continued)



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example, suppose that the market expected a stock price to be $15 tomorrow. The stock
could not trade at $10 today, because there would be little reason for anyone to sell at $10
today given that there would be buyers more than happy to pay $11 today for a stock that
they could sell at $15 tomorrow. This process would result in an equilibrium where the
price today would be bid up to nearly $15. Similarly, no rational investor would
purchase a stock at $16 today if it was believed that the price would be $15 tomorrow.
Thus, the stock price today would be nearly equal to the price tomorrow, and any changes
in stock prices would be due to unexpected information or randomness, leading to the
theory that stock prices follow a “random walk.” In other words, one cannot predict
future price changes based on historical prices or trading patterns.

    11. In particular, there are three forms of the Efficient Market Hypothesis, known as
weak-form efficiency, semi-strong-form efficiency, and strong-form efficiency. Weak-
form efficiency posits that the price of a stock rapidly incorporates all information
contained in prior stock prices. Semi-strong-form efficiency posits that the price of a
stock rapidly incorporates all publicly available information. Strong-form efficiency
posits that the price of a stock rapidly incorporates all public and private information.4
When discussing the Efficient Market Hypothesis with regard to publicly traded
securities such as Alibaba’s, financial economists are generally referring to the semi-
strong form of market efficiency. I will follow the same convention here.

    12. One of the implications of the Efficient Market Hypothesis is that the market
begins to incorporate unexpected news quickly into security prices. Therefore, if the
market learns of material new, unexpected positive (negative) information about an
issuer, then the price of the issuer’s common stock (or ADSs) will rise (fall) if the market


from those expected movements, the general outlines of the theory discussed above are
still correct. Throughout the discussion, I abstract away from any such issues.
4
 This is a standard taxonomy of Efficient Market Hypothesis theories, discussed, for
example in Eugene Fama, “Efficient Capital Markets: A Review of Theory and Empirical
Work,” Journal of Finance, 1970. (See, for example, p. 388.)




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is efficient. Of course, markets may take time to fully absorb new material information,
but they should not fail to begin the process of reacting to news as soon as it is available.5

      13. To determine whether a market is efficient, financial economists and the courts
have developed various tests. These tests can broadly be divided into direct tests of
whether a market violates the conditions of market efficiency (e.g., whether the price of a
security actually responds to material new unexpected information) and indirect tests of
the conditions that one expects would be present in an efficient market (e.g., substantial
analyst coverage, which suggests that market participants are interested in understanding
and responding to news). In the following two sections, I discuss the results of these tests
for Alibaba’s ADSs.



       V.     TESTS OF MARKET EFFICIENCY FOR ALIBABA’S ADSS
      14. One seminal legal case providing for tests of market efficiency is Cammer v.
Bloom.6 This decision discussed five tests of market efficiency that are commonly
referred to as the “Cammer factors”:
                 (1) an “average weekly trading of two percent or more of the outstanding
                     shares would justify a strong presumption that the market for the
                     security is an efficient one; one percent would justify a substantial
                     presumption”;
                 (2) “a significant number of securities analysts followed and reported on a
                     company's stock during the class period”;
                 (3) the “stock had numerous market makers. The existence of market
                     makers and arbitrageurs” would aid in market efficiency;
                 (4) “the Company was entitled to file an S-3 Registration Statement in
                     connection with public offerings”; and

5
 Under the Efficient Market Hypothesis, a market may initially underestimate or
overestimate the effects of news, as long as the price movements reflect, on average, an
unbiased estimate of the effects of the new information.
6
    Cammer v. Bloom, 711 F. Supp. 1264, 1286-87 (D.N.J. 1989).




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                 (5) “empirical facts showing a cause and effect relationship between
                     unexpected corporate events or financial releases and an immediate
                     response in the stock price.”7

      15. In addition to these tests, the Third Circuit in DVI Securities Litigation stated that
(6) “the listing of a security on a major exchange such as the NYSE or the NASDAQ
weighs in favor of a finding of market efficiency.”8 Furthermore, three additional factors
that may be relevant, as discussed in Krogman v. Sterritt and other cases are: (7) market
capitalization, (8) bid-ask spread, and (9) float.9

      16. Academics and courts have also looked at whether there was autocorrelation (also
known as serial correlation) in the returns of a security, i.e., whether rather than behaving
randomly, a movement in the price of a security was more likely to be followed by
another movement in the same direction (positive autocorrelation) or by a movement in
the opposite direction (negative autocorrelation).10

      17. I will discuss each of these tests in more detail as they are presented below, and
then present my conclusions based on the totality of the information obtained by
examining each of these factors. I understand that recently the Second Circuit endorsed a
“holistic” view of the “direct” (Cammer Factor 5, above) and “indirect” (all other factors)
tests of market efficiency.11 Where I deem it relevant or helpful, I divide up the
discussion of a factor into an analysis of the aftermarket (i.e., all trades after the IPO) and
of the IPO price.


7
 This factor is typically addressed through the use of a statistical analysis known as an
“event study,” as discussed below.
8
    In re DVI Securities Litigation, 639 F.3d 623,634 (3d Cir. 2011) (“DVI II”).
9
    Krogman, Inc. v. Sterritt, 202 F.R.D. 467, 478 (N.D. Tex. 2001).
10
  See, e.g., In re DVI, Inc. Securities Litigation, 249 F.R.D. 196, 213 (E.D.Pa. 2008)
(“DVI I”). Autocorrelation can also be measured based on the size of the price
movements and not just their direction.
11
     In re Petrobras Securities Litigation, 862 F.3d 250 (2d Cir. July 7, 2017).




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        (1) Trading Volume

                   a. Aftermarket
     18. The first Cammer factor is the average weekly trading volume as a percent of
shares (or, in this case, ADSs) outstanding. As noted on page 1286 of that decision,
“[t]he reason the existence of an actively traded market, as evidenced by a large weekly
volume of trades, suggests there is an efficient market is because it implies significant
investor interest in the company.” Exhibit 3 shows the weekly volume of trading in
Alibaba’s ADSs as reported by Bloomberg, L.P., a recognized data vendor, and the last
reported number of shares (which have been or could be converted into ADSs)
outstanding for each week. The volume figures are adjusted to remove trades created by
estimated market-maker participation.12 I next calculate the mean and median percentage
of ADSs outstanding traded in each week during the Class Period. The mean is simply
the arithmetic average of the weekly percentages of trading volume for each full week in
the Class Period.13 The median is the midpoint of the weeks if arranged by the
percentage of shares traded relative to shares outstanding, so that half of the weeks have
the same or a larger percentage and half have the same or a smaller percentage.

     19. Over the Class Period following the IPO, the average market-maker-adjusted
weekly trading volume is 4.29% percent of shares outstanding (or over 100 million ADS
per week on average), and the median figure is 3.61% percent.14 In just the first day of

12
  A market maker sometimes serves as the counterparty to investor orders. For example,
one investor may sell shares to the market maker at $20 and later the market maker sells
those shares to another investor at $21. Both trades would be reported, but there really
was only one transfer of shares between actual investors. Support for this type of
adjustment is found in Unger v. Amedisys Inc., 401 F.3d 316, 324 (5th Cir. 2005).
13
  Including any partial week at the beginning or end of the Class Period would have
minimal effects on the results.
14
   The average weekly trading volume also exceeded 38% of the float while the median
trading volume exceeded 32% of the float. Shares outstanding exceed ADSs outstanding
and the float because ADSs were not issued for shares that were held by pre-IPO holders
if those holders did not move to sell those shares.



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trading alone, 272 million ADS traded (before the market-maker adjustment), or more
than 11% percent of the shares outstanding following the IPO. As previously noted, the
Cammer court stated that an “average weekly trading of two percent or more of the
outstanding shares would justify a strong presumption that the market for the security is
an efficient one; one percent would justify a substantial presumption…” Thus, the
volume figures for Alibaba support a “strong presumption” in favor of market efficiency
for the ADSs under Cammer.

                     b. IPO
   20. While shares are purchased in the IPO, the price for those purchases is not set by
finding a “market-clearing” price, or one where supply equals demand. Therefore, the
number of shares purchased in the IPO does not provide any indication of the level of
market efficiency.

       (2) Analyst Coverage
   21. In discussing the relevance of analyst coverage, the Cammer court stated on page
1286 that “[t]he existence of such analysts would imply, for example, the [auditor]
reports [on the issuer] were closely reviewed by investment professionals, who would in
turn make buy/sell recommendations to client investors.” (Closing footnote omitted.)
That is, analysts seek out, review, and disseminate information about a company and
make it easier for market participants to understand and react, or choose not to react, to
that information, thus facilitating the process that leads to market efficiency.

   22. While analysts provide coverage that is meant to inform investors about a
company, different analysts provide varying levels of coverage that may have differential
impacts in determining whether that coverage should be considered to be a material
factor in aiding market efficiency. For example, some analysts may provide limited
analysis or merely repeat what a company has said while others may provide informative
analyses of a company’s current and future expected revenues.

   23. There are many ways to focus an examination on analysts that are providing at
least some meaningful coverage. One such way is to identify the number of analysts


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included in the Institutional Brokers’ Estimate System (“I/B/E/S”) consensus earnings
estimate for a given company. Exhibit 4a shows the number of analysts included in the
I/B/E/S earnings estimate for the upcoming quarter for Alibaba on a monthly basis from
September 2014 through January 2015.15 As can be seen in the exhibit, there were two
analysts covering Alibaba even before the IPO. That figure rose to 11 in October 2014,
and then to a minimum of 26 in the remainder of the Class Period.

      24. The Cammer court found efficiency where the security at issue (the common
stock of Coated Sales, Inc.) was the subject of “[a]t least 15 research reports … from July
1987 through June 1988,” (p. 1283) a 12-month period. Here, by contrast, there were at
least that number during each month in the Class Period. (See Exhibit 4b, listing analyst
reports available form one data vendor.)16 There were seven analyst reports on Alibaba
in September 2014 before the September 19 IPO date as well as one on September 19
before trading began,17 comparing favorably with the 15 reports in the full year of the
Cammer class period. Furthermore, there were over 140 analyst reports on Alibaba over
the Class Period.

      25. In addition, before the IPO, Yahoo had a substantial investment in Alibaba, so
much so that there were estimates that the bulk of Yahoo’s value came from its stake in
Alibaba.18 As a result, analysts following Yahoo before the Alibaba IPO frequently
analyzed and reported on Alibaba, even providing Yahoo reports with titles such as
“Alibaba Growth Reaccelerates in 2Q:CY14; Positive for YHOO’s 23% Stake,”19

15
     I/B/E/S reports data as of a date near the middle of each month.
16
 The issuing firms included prominent investment houses including Bank of America
Merrill Lynch, Barclays, Citi, Deutsche Bank, JP Morgan, Morgan Stanley, and UBS.
17
  “Open Sesame! Uncovering Alibaba’s Treasure Trove; Initiating at BUY with $90
PT,” Cantor Fitzgerald, September 19, 2014. (“BABA starts trading today…”)
18
     See the following two footnotes for examples.
19
   Cantor Fitzgerald, August 27, 2014. (Analyst provides a $39 price target of which $25
is attributed to Alibaba.)




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“BABA: Mobile Take-Rate Key for IPO; Retail Market Structure Highly Favorable,”20
“Yahoo! Inc.: Weaker Results Offset by Alibaba,”21 and “YHOO – In-Line 1Q14 EPS
with Upside from Alibaba & Display.”22 Thus, unlike with many IPOs, where there is
highly limited coverage before the IPO itself, in this case, due to the substantial
dependence of Yahoo’s valuation on Alibaba’s financial performance, there were analyst
reports that effectively covered Alibaba before the IPO through their analysis of Alibaba
as part of their coverage of Yahoo.

        (3) Market Makers and Arbitrageurs

                   a. Aftermarket
     26. Alibaba’s ADSs traded on the New York Stock Exchange, which is widely
regarded as one of the most open, developed, and efficient in the world. The New York
Stock Exchange maintains a system where there is a “designated market maker” (similar


20
   MKM Partners, August 13, 2014. (“On our valuation assumptions for BABA ($155Bn
IPO price/$190Bn public market value), we assign $29 per share to YHOO in our SOP.
As nearly 80% of this is related to the public market price, we expect YHOO shares will
trade with BABA shares post-IPO.” This report effectively covers both Alibaba and
Yahoo.) Over the Class Period, the correlation between movements in Alibaba’s ADS
price and Yahoo’s stock price was 0.73, where a value of 0.00 would mean no correlation
and a value of 1.00 would mean perfect correlation. This result is highly statistically
significant, with a p-value of less than 0.0000000000001%, or less than one-trillionth of
the value of 5% that is the maximum value for statistical significance at the standard 5%
level. Because even after Yahoo had sold a large portion of its stake in Alibaba, Yahoo’s
stock was still a very good indicator of the value of Alibaba, Yahoo’s stock was
presumably an even stronger indicator of the value of Alibaba before the Alibaba IPO
(i.e., when an even greater fraction of Yahoo’s value came from its holdings of Alibaba
shares).
21
   Barclays, July 16, 2014. (“With no growth in core Yahoo!, the company continues to
trade mostly on its ownership in Alibaba[.]”)
22
  CRT Capital, April 16, 2014. See also “Yahoo! Inc.: ‘Baba in Overdrive on Route
‘66’…Next Stop, IPO?” Susquehanna Financial Group, April 16, 2014. (“[T]he
valuation is all about a (rapidly growing) Alibaba.”)




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to what was previously known as a “specialist”) that is in charge of ensuring that there is
a well-functioning market. Therefore the question about market makers for securities
that trade on the New York Stock Exchange is that there is always one particular entity
tasked with that role, though there may be others that also act as market makers.

   27. Arbitrageurs are investors who attempt to profit from any possible mispricing of a
security. There are two types of arbitrageurs that we can examine: those who take a
“long” (or positive) position in the stock and those that take a “short” (or negative)
position. While there are no data on the identities of arbitrageurs in particular securities
or their holdings of those securities, one would expect many of the arbitrageurs who are
active enough to move the market to be found among the largest market participants. We
can therefore use information about institutional holdings, which are reported quarterly,
as a proxy for arbitrageurs that take a long position. Though not all institutions are
arbitrageurs, many of the major arbitrageurs who take a long position large enough to
affect the price of a stock would be institutional investors, as non-institutional investors
may not have the capital to take a long-term position of the same magnitude.

   28. A total of over 600 institutions held 320 million ADSs, or 13.0 percent of the
shares outstanding as of September 30, 2014, the first calendar quarter-end in the Class
Period. This figure did not remain constant, and institutions held 331.5 million ADSs as
of December 31, 2014, the last calendar quarter-end during the Class Period and 444.7
million as of March 31, 2015, the first quarter-end following the Class Period. The
directions of the change in institutional holdings is not important; what is important is
that there was a potential for change, with institutions buying or selling in response to
factors including news about Alibaba and changes in its ADS price. Aggregate quarterly
institutional holdings figures are shown in Exhibit 5.

   29. As alluded to above, if an institution held the same number of ADSs throughout
the Class Period, it may not be adding to market efficiency, since it would be providing
neither upward pressure through buy orders nor downward pressure through sell orders.
However, an examination of the data underlying Exhibit 5 shows that most institutions
did change their positions, with numerous examples of a single reporting institution


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changing its holdings up or down by over a million ADSs over the course of a single
quarter. Moreover, during the Class Period, of institutions with a non-zero holding of
ADSs at the end of a quarter, 86.8 percent reported a different holding figure at the end of
the next quarter (i.e., considering September 30, 2014 and January 31, 2014, the two
quarter-ends in the Class Period). These observations show that as a group, institutions
were not passive investors, but changed their positions, a hallmark of arbitrage activity.
Even among the institutions that did not change their positions, there may be some that
actively evaluated news about Alibaba and changes in its ADS price and were
comfortable maintaining their prior position. The fact that on average more than eight
out of ten institutions holding Alibaba ADSs changed their position is evidence that a
substantial number of large investors were following the company.

     30. With regard to arbitrageurs who held a short position in Alibaba ADSs, I obtained
data on the aggregate short position, which is reported monthly by FactSet Research
Systems, Inc., and shown in Exhibit 6. The average aggregate short position over the
Class Period was 1.56 percent of Alibaba’s shares outstanding. The monthly short
position over the Class Period as a percentage of shares outstanding more than doubled
from 0.83 percent in September 2014 to 1.86 percent in November, before falling to 1.68
percent in January 2015. These differences are important because they allow us to infer
that those who wanted to create or increase a short position were generally not prevented
from doing so. If, in contrast, the aggregate short position were always approximately
the same, for example always between, say, 1.0 and 1.1 percent, one would have to
consider whether the shares available for shorting were always used or close to used,
thereby preventing investors who wanted to take a short position in response to new
information from doing so.23


23
  In order to short an Alibaba ADS, the investor who wants to take the short position
must, through their broker, find an ADS held by another investor to borrow. The investor
going short delivers this ADS to the counterparty (the purchaser) in the short transaction
and is required to later return an ADS to the investor from whom he or she borrowed the
share. When there are not enough ADSs available for borrowing, investors may not be
(continued)



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     31. Overall, I find that both institutions and short sellers actively changed their
holdings over the Class Period, an indication of their attention to the price of Alibaba’s
ADSs.24 Institutional holdings varied from 13.0 to 18.0 percent of shares outstanding
from the first quarter-end in the Class Period to the quarter-end following the end of the
Class Period, with 86.8 percent of institutions with a positive holding in one quarter
reporting a different amount of holdings in the next. The maximum aggregate short
position was more than twice the minimum aggregate short position. In addition, the
change in the aggregate short position supports the conclusion that investors were able to,
and did, take and change positions in Alibaba’s ADSs to reflect their views, the core
mechanism by which financial markets are driven to efficiency.

                    b. IPO
     32. Trading in an IPO is different than in the aftermarket. In the aftermarket, almost
any market participant can either buy or sell, allowing them to act as arbitrageurs if they
feel the price is either too low or too high. In an IPO, the company sells shares and
others buy them. Thus, as they can only declare their intention to purchase but not to sell
(or even to actually guarantee that they will make a purchase), arbitrageurs have a more
limited ability to influence the IPO price in a manner that would create an efficient
market. That is, arbitrageurs can act only as potential purchasers in the IPO, but cannot
engage in the typical arbitrage activities of buying a security they think is overpriced and
selling one they think is underpriced.

        (4) S-3 Registration Statement
     33. Another Cammer factor is the ability of an issuer to register new shares through
an S-3 registration statement form rather than using a Form S-1 or S-2, both of which

able to establish or expand their short positions, and therefore would not be able to
contribute to arbitrage and market efficiency by varying the size of their short positions.
24
   Some changes in institutional holdings may be due to other factors, such as a decision
to sell shares for liquidity purposes. Still, the substantial number of changes is evidence
of active monitoring of Alibaba by many institutions.



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require more disclosure than a Form S-3. The SEC allows qualifying companies to
register shares using the less burdensome S-3 based on the assumption that news about
such companies is already publicly available to market participants and therefore does
not need to be included in the registration statement. At the time of the Cammer opinion,
an issuer had to have a float (i.e., shares outstanding that are not held by insiders) with a
market value of at least $150 million to use a Form S-3. That requirement was later
reduced to $75 million. Exhibit 7 shows the market capitalization and float for Alibaba.25
The market value of Alibaba’s float, which averaged over $27 billion during the Class
Period,26 easily exceeded $150 million throughout the Class Period, and in fact exceeded
that level by billions of dollars throughout the Class Period.

     34. A second requirement to be able to file a Form S-3 registration statement is that
the issuer be current in its SEC filings over the past twelve months. Alibaba was not
delinquent in its SEC filings during the Class Period but did not have a twelve-month
history as an SEC-reporting company. While Alibaba itself was a foreign company that
would not file an S-3, but would file a F-3 with the same filing requirements, the relevant
economic requirements that one considers in this Cammer factor (i.e., float and timeliness
of SEC filings) still point to Alibaba’s securities trading in an efficient market, though the
lack of a reporting history limits the weight of this factor.




25
  Where there was uncertainty about whether certain insider holdings were included in
the ADS figures, I included treated those holdings as part of the ADS total, thereby
producing a conservative (i.e., low) estimate of the float.
26
  This exceeded the total market capitalization (and thus the total float) of over 90
percent of publicly traded companies in the United States as of December 31, 2014. (See
2015 Valuation Handbook – Guide to Cost of Capital, Duff & Phelps, Appendix 3,
showing that the largest decile of companies sorted by market capitalization had a
minimum market capitalization of $24.4 billion.)



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        (5) Price Response to News

                    a. Aftermarket
     35. Whether a stock price responds to material, new unexpected information is often
considered the most direct and important of the Cammer factors. The Cammer court
noted on page 1291 that “one of the most convincing ways to demonstrate efficiency
would be to illustrate, over time, a cause and effect relationship between company
disclosures and resulting movements in stock price.”

     36. Accordingly, I performed statistical analyses, based on tests known as “event
studies,” the standard means of quantifying stock price responses to news, to examine
this factor. An event study is a statistical test that first measures the movement in the
price of a stock or other security immediately following a news event by removing the
influence of general market and/or industry effects. The remaining movement is then
compared to a “control period” of similar market-adjusted price movements to see if it is
unusual (i.e., statistically significant). If so, then one may be able to make the inference
that the news was the cause of the unusual stock price movement.27 In general, we expect
that the price of a stock will increase in response to unexpectedly positive news and fall
in response to unexpectedly negative news.

     37. To test the general proposition of whether a stock price responds to news, it is
necessary to examine the stock price responses to two different groups of dates: those
with news and those without news.28 That is, one conducts event studies on the different
27
  Event studies or similar analyses are often required in securities fraud litigation. See,
for example, In re Executive Telecard, Ltd. Securities Litigation, 979 F. Supp. 1021,
1027 (S.D.N.Y. 1997). (“The Expert Witness’ failure to conduct a thorough ‘event study’
would be reason enough to exclude his proposed testimony.”) The event studies I
employ here are consistent with my own published work (David Tabak and Frederick
Dunbar, in Litigation Services Handbook, The Role of the Financial Expert (3d ed.
2001).)
28
   Ideally, one wants to define news as unexpected material new information. Other news
may be consistent with prior expectations and should not be expected to cause a change
in a stock’s price.




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news and non-news days, and then compares the results of those two analyses. This is
the same idea behind a medical study that has a control group and a treatment group.
Here, the control group (i.e., the group not receiving treatment) consists of the “non-news
days” while the treatment group consists of the “news days.” Establishing two such
groups is necessary because even if the market for a stock were not efficient, there would
generally still be some news days that were randomly associated with stock price
movements. Selecting a few examples of such instances and claiming to have thereby
found an association between news and stock price movements would be clearly
incorrect.29

     38. Another relevant consideration in this analysis is to recognize that we typically
cannot use the news and price movement at the end of a class period in an analysis of
market efficiency. This is because most class periods are chosen to end with a news
event corresponding with a large stock price decline. Defining our analysis period to
include such a date would result in an improper bias toward finding an association
between news and stock price movements.30 Thus, I end the analysis before the price
movements associated with the end of the Class Period.31

29
  For example, if such a methodology were valid, one could identify several people with
blue eyes who are right-handed and then claim to have “found” an association between
blue eyes and right-handedness. One could also, under the same methodology, identify
several left-handed blue-eyed people and also claim to have “found” an association
between blue eyes and left-handedness. A description of the method of analysis I use
here is found in Paul Ferrillo, Frederick Dunbar, and David Tabak, “The ‘Less Than’
Efficient Capital Markets Hypothesis: Requiring More Proof From Plaintiffs in Fraud-on-
the-Market Cases,” 78 St. John’s L. Rev. 81, 120-21 (2004).
30
  One would also want to exclude the first day of a class period if it were chosen because
of news causing a large increase in the stock price. Here, there does not seem to be
evidence that the initial day of the Class Period was chosen because of a stock price
increase, but, rather, it was chosen because of the IPO.
31
  Arguably, one could include the January 28, 2015 price movement and exclude only
the January 29, 2015 price movement from the analysis. Had I done so, I would have
added in another news day with a statistically significant price movement to many of the
analyses and thereby obtained results even more in favor of market efficiency.




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     39. As noted above, the test of a stock price’s response to news depends on
classifying days into news days and non-news days. If not performed carefully, this
classification may be somewhat subjective. Thus, one generally wishes to use an
objective measure of news, or at least one where any subjective decisions have been
made by others who are not part of the analysis of market efficiency.32 To remove any
possible subjectivity on my part as to which “news days” were selected for examination, I
performed one analysis by defining news days as days with Alibaba earnings
announcements. This is, of course, an overly restrictive definition of “news days,” and
results in comparing (1) a set of particular news days (though in this case, just a single
day) with (2) a mixed set composed of both non-news days and days that would (but for
the restrictive definition) be considered news days. Because the second set of days has a
mix of types of days, this will tend to make it harder for a comparison of (1) and (2) to
show that Alibaba’s ADS price responded to news.33 I performed another analysis with


32
  See, for example, In re Countrywide Financial Corporation Securities Litigation, 273
F.R.D. 586, 618 (C.D. Cal. 2009) (“It should be obvious, even to those without a
background in statistics or econometrics, that the events for study should be selected
using criteria that are as objective as possible. Further, those criteria should be
determined before looking at the result to be studied (here, stock returns). Relatedly,
unless the expert uses articulable objective criteria, it is difficult to evaluate the probative
value of expert evidence without evaluating also the expert's own credibility.”)
33
   To see this, imagine that Alibaba’s ADS price moved by ten percent on news days and
by zero on non-news days. If we had perfectly identified news days and non-news days,
we would be comparing a set of days with an average price movement of ten percent to
another set of days with an average price movement of zero. Because the second set of
days includes some news days, we may wind up comparing a set of days with an average
stock price movement of ten percent (some of the news days) to some positive figure
such as five percent (if half of the second set consisted of news days). Thus, rather than a
difference of ten percentage points, the difference would be only five percentage points,
making it harder to prove that there is a meaningful difference between the two figures.
One should note that under some circumstances (e.g., if non-earnings news has a very
small impact on prices), then grouping those with non-news days may make the average
price impact of the remaining news stories greater, which could aid in reaching a correct
finding that a stock responds to earnings news.




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broader sets of news days, in which I define news days as days with stories published by
the Dow Jones Newswires. In each case, I limit news stories to those that use “Alibaba”
or the BABA ticker in the headline.34 As there was news on 69 out of 88 days in the
Class Period, I also performed the analysis two more times by looking at a proxy for the
amount of news each day by counting the number of stories in Dow Jones Newswires, a
technique from the field of content analysis.35 I then order the trading days by the
number of news stories from high to low and create two proxies for days with high news
content: (1) the days in the upper half of this ordered list and (2) the days in the top ten
percent of this ordered list.36 Finally, I performed an additional test, starting with the top
ten percent of the news days as just defined. I reviewed the stories that appeared in the
Dow Jones Newswires and removing any that were solely reporting on Alibaba’s ADS
price movements or volume (i.e., instances where the news was responding to the ADS
price rather than the ADS price potentially responding to news), that appeared to be
duplicates of previously reported news, or were deemed to be non-material because they
reported data irrelevant to the value of the Company.37

34
  If a news story came out before 4 pm (i.e., before the close of trading on the New York
Stock Exchange), that day was characterized as a news day. If the story occurred after 4
pm but before midnight, then the following trading day was characterized as a news day.
35
   Content analysis is based on the premise that the “frequency with which a symbol,
idea, reference or topic occurs in a stream of messages is taken to indicate the importance
of, attention to, or emphasis on that symbol, idea, reference, or topic in the messages.”
(Klaus Krippendorff, Content Analysis: An Introduction to Its Methodology, 2nd edition,
2004, p. 59. Emphases in original.) That is, the more often the news reports on a topic,
the more important it is likely to be. The use of content analysis was endorsed by the
First Circuit in Bricklayers and Trowel Trades v. Credit Suisse LLC, 752 F.3d 82 (1st Cir.
2014).
36
  Because there were a number of days with the same number of news stories, the
analyses actually have more than half and more than ten percent of the trading days
classified as news days.
37
  News was deemed to be non-material based on a review of the news story. For
example, some stories referred to which shareholders were receiving Alibaba shares or to
the effect of Alibaba on Yahoo. Because these are necessarily subjective determinations,
(continued)



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     40. Exhibit 8a compares (A) the percentage of news days within the Class Period that
are associated with statistically significant market-adjusted ADS price movements with
(B) the percentage of statistically significant market-adjusted ADS price movements in
the control group of non-news days for the ADSs. The first row in Exhibit 8a was run
using the definition of news days as days with Alibaba earnings announcements. The
second row was run with news days defined as those days with any reported news
mentioning Alibaba in the headline of articles in Dow Jones Newswires, obtained from
Factiva, a well-recognized data vendor. The third and fourth rows limit the definition of
news days to include half and ten percent of the days (though in practice the number of
days is higher because there is more than one day with the same number of news stories).
Finally, the fifth row was run by reallocating four news days (listed in Exhibit 8c) from
the fourth row as non-news days because they represented solely duplicate or immaterial
news.

     41. The market model, i.e., the statistical analysis that I employed as part of my event
study to control for the effect of general market factors on Alibaba’s ADS prices, used
the EMQQ Emerging Markets Internet Index as a proxy for the market as a whole, and is
presented in Exhibit 8b.38 Because the Class Period begins with the IPO, there are no
trading prices for the typical estimation period of one year before the start of the Class
Period. Thus, for the estimation period, I choose to still use data not potentially affected
by the alleged fraud by using the year after the Class Period as the estimation period for
the market model. As set forth in Exhibit 8b, the R-squared, a measure of how well

the results could be different if the review were performed by different experts.
Consequently, this analysis should be considered in combination with the analysis before
the subjective review is undertaken (i.e., the corresponding row in Exhibit 8a).
38
   The EMQQ Emerging Market Internet Index returns are adjusted to remove the
Alibaba returns from the index. Results using the unadjusted index yield the same results
for tests of statistical significance as using the adjusted index. This index was
specifically designed to include companies like Alibaba. See “An Emerging Market ETF
to Address the Alibaba Index Problem – Barron’s Blog,” Dow Jones Institutional News,
November 26, 2014.




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movements in the chosen index relate to movements in Alibaba’s ADS prices was 0.48,
similar to the values that I have observed in similar analyses.39

     42. As seen in the first row of Exhibit 8a (“Earnings Dates”), in the Class Period,
when I limit the definition of news days to earnings announcements, 9.2 percent of the
non-news days are associated with a statistically significant ADS price movement, while
100 percent of the news days (which, in this case, means one out of one day) are
associated with a statistically significant ADS price movement. The difference between
these two percentages is statistically significant, showing that the market for Alibaba’s
ADSs reacted differently on days with earnings announcements than on days without
earnings announcements, though there was only one earnings announcement in the Class
Period.40 The standard level of statistical significance for tests in financial economics is
the five-percent level, meaning that there is only a five percent chance that a result as
strong as or stronger than the one observed in the data would appear if the market did not
react to news. This means that we consider results to be statistically significant if they
have a false-positive error rate (i.e., a finding of a reaction to news when no such reaction
exists) of five percent or less.


39
  To the extent that a different market model would provide a better explanation of
Alibaba’s ADS price movement, then my analysis has understated the results of this test
of market efficiency. That is, because a better model would result in data with less noise,
the differences in returns on news days and non-news days would likely be sharper and
more easily identifiable through statistical analysis.
40
   The test is run by comparing the proportions of the news and non-news days with
statistically significant returns. A test of proportions implicitly assumes equal variances
under the null hypothesis, an update in methodology that I have used in prior cases
relative to that used in a publication I co-authored in 2004 (Paul A. Ferrillo, Frederick C.
Dunbar, and David Tabak, “The less than efficient capital markets hypothesis: Requiring
more proof from plaintiffs in fraud-on-the-market cases,” St. John's L. Rev. 78 (2004):
81.) It is also worth noting that had I included the earnings announcement at the end of
the Class Period, there would have been an even stronger finding of statistical
significance when examining this difference between the price movements on news days
and non-news days.




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     43. One can also examine the absolute value of the excess returns. However, because
of the small number of days in the Class Period, this test is unlikely to yield statistically
significant results, even with reasonable differences between the news days. The excess
returns averaged 3.4 in log-points (approximately 3.5% in percentage terms) for earnings
release dates and 1.5 log-points (approximately 1.5%) for other dates. (See Exhibit 8c.)
Even though the average return on news days is more than twice that of non-news days,
the difference is not statistically significant, which, again, is not surprising given that the
relevant test tends to need a large number of data points to recognize material differences.

     44. In the second row of Exhibit 8a (“Dow Jones Newswires”), where news days are
broadly defined based on headline and lead paragraph mentions in the Dow Jones
Newswires, we see that in the Class Period, just one, or 5.3 percent of the non-news days
are associated with a statistically significant stock price movement in the ADSs, while
11.6 percent of the news days are associated with a statistically significant price
movement. While the difference in these figures results is not statistically significant at
better than the standard five-percent level, this is due to the small number of non-news
days.41 In fact, as just 5.3 percent of the non-news days is associated with a statistically
significant price movement, that result is exactly what would be expected due to chance
at the five-percent significance level.42 When the definition of news days is restricted to
41
   It is worth noting that there is no meaningful benchmark for the percent of news days
that should be associated with a statistically significant return. As the definition of news
days becomes looser (i.e., less likely to be material), then the expected percent of such
days associated with a statistically significant return should fall. In addition, the results
presented are based on the five-percent significance level. The use of a more or less
stringent significance level would result in fewer or more price movements, respectively,
passing the test of statistical significance. Given the variability of both the definition of
news and of statistical significance, there is no reason to expect any particular percentage
of news days to be associated with statistically significant returns.
42
  As an analogy, imagine examining whether a coin is biased toward heads and flipping
the coin once. If the coin comes up heads, that is the strongest possible evidence one
could find for a bias toward heads in a single flip. However, that single result would not
reach the level of statistical significance. Thus, while supportive of a finding that some
“effect” exists, the result is not by itself sufficient to reach such a conclusion.




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those days with high numbers of news stories, as discussed above and shown in the third
and fourth rows of Exhibit 8a, the percentage of news days associated with statistically
significant returns increases and the results become statistically significant.

     45. Finally, for the fifth row of Exhibit 8a, I reviewed the news stories in the “Dow
Jones Newswires – Top 10%” row and determined that four of the eight news days could
be treated as non-news days because all of the news on those days was either a repetition
of previous news, described price movements, or was not material to the valuation of the
stock. (See Exhibit 8d for the listing of the four days.) While the difference between the
two sets of days becomes starker, the statistical significance of the difference (which was
already well beyond the standard five-percent level) is not materially different from those
in the fourth row of Exhibit 8a due to the small number of news days in this analysis.43

     46. The tests of stock price response to news, the Cammer factor that most directly
tests market efficiency, provide strong evidence that Alibaba’s ADS prices responded to
material new information. Alibaba’s ADS prices were much more likely to exhibit a
statistically significant response to news, whether we define news objectively and
narrowly as earnings announcements or objectively and broadly as a majority of the days
with headline and lead-paragraph mentions in stories from various news sources. In
summary, there is overwhelming evidence that Alibaba’s ADS prices responded to new
information during the Class Period.




43
   One interesting finding is that on October 29, 2014, when the “quiet period” following
the IPO expired, more than a dozen firms that were involved in the IPO were allowed to
and did initiate coverage of Alibaba. The event study shows that there was not a
statistically significant price movement on this day. This demonstrates that due to
existing analyst and news coverage (including any coverage by these firms of Yahoo
before the Alibaba IPO), the market had already accounted for the net effect of the
information and analysis provided by these analysts, meaning that their coverage was not
necessary to achieve efficiency in the market for Alibaba’s ADSs.



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                   b. IPO
    47. To determine if the IPO price responded to news, one would want information
about how the (projected) IPO price changed over time. Unfortunately, the public data
on this is sporadic and often represents market participants’ predictions about the future
IPO price rather than the actual company and/or underwriter views of the future IPO
price.

    48. Had the IPO price been similar to the initial trading prices in the aftermarket after
the IPO, it may have been reasonable to argue that there was evidence that the IPO price
was incorporating the same information as the market. Instead, in this instance, the IPO
was priced at $68, while the opening price for Alibaba’s ADSs on September 19, 2014
was $92.70 and the closing price was $93.89. These substantial differences make it hard
to know whether the IPO price was incorporating all of the same news as the aftermarket
and applying some discount, or whether the IPO price was not incorporating all of the
same news that market participants were impounding in the ADS price. Put simply,
given the large difference between the IPO price and the aftermarket prices, we cannot
use any conclusions about the efficiency of the aftermarket to make reliable inferences
about the efficiency of the IPO price.

         (6) Trading on a Major Securities Market

                   a. Aftermarket
    49. The court in DVI II, citing prior case law, stated on page 634, “Securities markets
like the NYSE and the NASDAQ are ‘open and developed,’ … and are therefore ‘well
suited for application of the fraud on the market theory,’…. Accordingly, the listing of a
security on a major exchange such as the NYSE or the NASDAQ weighs in favor of a
finding of market efficiency.” That is, major securities markets, such as the New York
Stock Exchange, have mechanisms in place to ensure conditions such as the rapid
dissemination of price and volume information that allow investors to trade easily and
with reliable information about recent trading. Market participants are then better able to
spot any potential deviations of the stock price from an efficient value and move to



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quickly eliminate any such inefficiencies. Alibaba’s ADSs traded on the New York
Stock Exchange during the Class Period and therefore satisfy this criterion.

                    b. IPO
     50. The IPO price was not set as a result of trading on a major securities market.
While Alibaba’s meeting the listing requirements of the NYSE is a positive factor in
terms of market efficiency, the fact that the IPO price was not set based on actual trading
on that market reduces the weight that this factor would play in terms of providing
evidence in favor of market efficiency.

        (7) Market Capitalization
     51. A large market capitalization is another factor that courts have found to weigh in
favor of finding an efficient market. As noted previously, Exhibit 7 shows Alibaba’s
market capitalization over the Class Period. Alibaba’s smallest market capitalization
over the Class Period was over $200 billion, while its average market capitalization
exceeded $240 billion.44 This large capitalization means that there would have been
opportunities for investors to make large profits if there were any apparent mispricing,
thus providing an incentive for investors to carefully analyze news and information about
Alibaba.

        (8) Bid-Ask Spread

                    a. Aftermarket
     52. A narrow bid-ask spread is a potential indicator of market efficiency because the
spread provides information about the cost of arbitrage, with a narrow spread meaning
that those costs are lower. Market makers typically work to keep a market functioning by
being continuously willing to buy at a certain price (the bid) and to sell at another price
(the ask). Market makers make a profit by keeping the bid price below the ask. For

44
  As with the float, this exceeded the market capitalization of over 90 percent of
companies publicly traded in the United States as of December 31, 2014.



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example, if the bid is $20.00, the ask may be $20.50. If a market maker receives one
market order to buy and one to sell, it buys at $20.00 from the seller and sells at $20.50 to
the purchaser. The market maker’s gross profit of $0.50 is reduced by the costs of
maintaining an inventory of securities (in case there are more buyers than sellers) and the
other costs of running a market-making operation. While the market maker earns $0.50
in this transaction, an arbitrageur who thinks that a stock is undervalued would pay $0.50
on their round-trip transaction, hoping that between the purchase and sale times the stock
rises by more than this amount. Thus, the spread between the bid and ask represent the
cost of arbitrage, and thus equals a degree of mispricing that arbitrageurs may not seek to
exploit because doing so will be unprofitable after taking into account the arbitrageur’s
transaction costs.45

     53. Exhibit 9 shows the daily bid-ask spread for Alibaba’s ADSs for each trading day
in the Class Period. The bid-ask spread averaged 0.028% of the same-day’s closing price
over the Class Period. This is a low figure, indicating that it would be profitable (in
expectation) for investors to trade in Alibaba ADSs if they felt that they were mispriced
by as little as 0.028%. This low level of the bid-ask spread supports a finding that
arbitrageurs would have an incentive to trade on any perceived mispricing, and therefore
would have an incentive to undertake the activities that lead to a stock trading in an
efficient market. To put this into context, Alibaba’s ADS price fell by 4.4% on January
28, 2015, and by 8.8% on January 29, 2015, both over one hundred times the average
bid-ask spread.46 Thus, the price impact of the corrective disclosures is well in excess of
the bid-ask spread, meaning that the market would have been expected to have reacted



45
   In reality, arbitrageurs may be able to trade “between the quotes” and not pay the full
bid-ask spread. However, it is still generally true that the larger the bid-ask spread, the
larger are the expected costs of arbitrage activities.
46
  Adjusting for market and industry movements per the event study described above, the
January 28 and January 29 price movements are 4.1% and 7.1%, respectively.




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quickly had it known of the allegedly omitted and/or misrepresented information.47
Another way to put this into context is that Alibaba’s mean bid-ask spread as a
percentage of its stock price was between the 25th and 26th smallest percentile of stocks
traded on the New York Stock Exchange over the Class Period (i.e., approximately three
quarters of those stocks had a larger mean bid-ask spread as a percent of their stock
price).

                      b. IPO
     54. There is no equivalent to the bid-ask spread for the IPO. Rather than investors
being able to purchase at the ask and sell at the bid, in an IPO investors can only purchase
(if they are able to make a purchase at all) at the IPO price. Thus, there is no arbitrage
opportunity directly in the IPO, and this factor cannot be said to support market
efficiency.

          (9) Float

                      a. Aftermarket
     55. Courts have considered the size of an issuer’s float (i.e., the shares outstanding
not held by insiders) as another indicator of efficiency for the issuer’s common stock. A
larger float suggests greater liquidity for shares, making it easier to purchase and sell
shares in the market. Exhibit 7 also shows the float, or the ADSs not held by insiders.

47
   The news that affected the ADS price on January 28, 2015 (i.e., the posting of the
White Paper) is entirely related to the allegations in this case. That price decline alone
demonstrates the impact of the allegations on Alibaba’s ADS price. Had the market
learned of this information, there would have been an immediate profit opportunity in
excess of trading costs, which would be expected to lead to a rapid price response.
Notably, the Complaint alleges that the “Registration Statement misled investors because
it failed to disclose” various information. (Complaint, ¶102.) The Complaint defines the
Registration Statement to include not only the initial registration statement but
amendments through September 15, 2014, as well as the Prospectus dated September 22,
2014. As the Complaint alleges that relevant information should have been disclosed on
September 15, 2014, as well as on earlier dates, the market would have had ample
opportunity to digest that information before trading began on September 19, 2014.



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Courts have often found that a float representing a large percentage of the shares
outstanding is an indicator of efficiency.48 This would be true because investors are only
able to trade shares that are in the float. Thus, investors’ ability to profit from any
apparent mispricing, and their incentives to examine a company’s stock price and news
about the company, will be related to the number of shares that they can attempt to trade
in order to make potential profits. Over 9% of Alibaba’s shares were in the public float
throughout the Class Period, meaning that market participants were able to trade ADSs
valued at over $27 billion, and thereby incorporate any information they had into the
market price.

                     b. IPO
      56. As all shares were held by insiders prior to the IPO, this factor cannot aid in
showing efficiency for the IPO price.

         (10)    Autocorrelation
      57. A final test is whether there is autocorrelation in Alibaba’s ADS prices, or
whether there is a predictable statistical pattern of positive and negative changes in the
ADS prices.49 For example, if a price rises on Monday, then if the market were able to
predict that the stock was more likely to move in the same direction (i.e., rise) than move
in the opposite direction on Tuesday, there would be evidence of positive autocorrelation.
Similarly, if the market were able to predict that the market would move in the opposite
direction on Tuesday to its movement on Monday, there would be evidence of negative
autocorrelation. Evidence of autocorrelation would be an indicator counter to market
efficiency and would invite the question of how severe that violation of market efficiency


48
     See, for example, Krogman 202 F.R.D. 467, p. 474.
49
  Autocorrelation, also known as serial correlation, is discussed as a test of potential
market efficiency in Eugene F. Fama, “Efficient Capital Markets: A Review of Theory
and Empirical Work,” Journal of Finance, 1970. (“More of the literature has, however,
been concerned with tests of serial covariances of returns.” p. 391.)




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would be. In particular, persistent autocorrelation beyond transaction costs would
represent a potential failure of investors to exploit profit opportunities in an ADS,
suggesting that investors may not be properly analyzing the company’s stock price
movements.

     58. In Exhibit 10a, I show the measure of first-degree, or one-day, autocorrelation in
the ADSs for the Class Period. When first-degree autocorrelation is present, then the size
and direction of the price movement of a security on one day can be statistically
estimated (though, of course, not precisely, but with some degree of uncertainty) in
advance based on the size and direction of the security’s price movement on the prior
trading day. As can be seen, there is no statistically significant degree of autocorrelation
at the standard 5% significance level over the Class Period.

     59. A second way to examine autocorrelation is by means of what is called a “runs
test.”50 To see how such a test works, imagine flipping a coin N times. We would expect
that if the coin were unbiased it would sometimes come up heads and sometimes tails;
sometimes there may be a single head followed by tails, and sometimes there may be a
string of heads in a row. Suppose first that in running this experiment the coin switched
back and forth between heads and tails on every flip. Then the number of runs in the N
flips would also be N, as every single flip would start a new run of heads or tails. This
would be a form of negative autocorrelation because a result in one direction would
indicate that we should expect the next result to be in the other direction. Now suppose
instead that the first N/2 flips were heads and the second N/2 flips were tails. In this

50
   See, for example, footnote 15 of Prof. Fama’s 1970 paper. (“For the daily price
changes, the actual number of runs of price changes of the same sign is less than the
expected number for 26 out of 30 stocks. Moreover, of the eight stocks for which the
actual number of runs is more than two standard errors less than the expected number
[i.e., is statistically significant at the five-percent level], five of the same stocks have
positive daily, first order serial correlations in Table 1 that are more than twice their
standard errors [i.e., are statistically significant at the five-percent level]. But in both
cases the statistical ‘significance’ of the results is largely a reflection of the large sample
sizes.”)




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case, we have only two runs, one of heads and one of tails. This would be a form of
positive autocorrelation, because with one exception right in the middle, one could
always predict a flip of the coin by assuming that it would be the same as the last flip.
Probability theory allows us to show that a fair coin would have approximately N/2 runs.
Probability theory also lets us determine how many runs represent a statistically
significant deviation from this expected number of runs.

     60. This theory has been applied to stock price movements by examining the number
of runs of increases or decreases in the stock price during some time period.51 If the
number of runs is sufficiently small, there is evidence of positive autocorrelation while if
the number of runs is sufficiently large, there is evidence of negative autocorrelation.
The number of runs needed to result in a statistically significant deviation from the
results of an unpredictable outcome can be determined by the use of probability and
statistical theory.

     61. The results of the runs test similarly point very strongly toward a lack of
autocorrelation, which weighs in favor of a finding of efficiency. Again, there is no
statistically significant evidence of autocorrelation over the Class Period. Results are
shown in Exhibit 10b.

     62. Thus, using two types of tests of autocorrelation (i.e., runs tests and tests based on
magnitudes of stock price returns), I find no statistically significant degree of
autocorrelation at the standard 5% significance level based on any of the tests. These
tests of autocorrelation thus provide support for a finding that Alibaba’s ADSs traded in
an efficient market.




51
   The analysis is actually run comparing the number of runs of returns, or percentage
price changes, above and below the median. Because stock prices tend to have a median
return of around zero, for present purposes one can imagine looking at runs of positive
and negative returns.




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        (11)    Summary
     63. The above analyses indicate that Alibaba’s ADSs traded in an efficient market
when they traded in the aftermarket. The market for Alibaba’s ADSs shows clear
evidence of efficiency under all five Cammer tests. It also does extremely well on the
Krogman tests. Adding my tests for autocorrelation, I find additional evidence consistent
with market efficiency. Looked at as a whole, the evidence strongly supports findings of
market efficiency for Alibaba’s ADSs during the Class Period.

     64. In contrast, the evidence for whether the IPO price was set in an “efficient”
manner is mixed and often contradictory. On the one hand, there were numerous news
stories and analyst reports on Alibaba even before the IPO. On the other, there was no
true market mechanism by which traders could directly influence the IPO price. Most
importantly, the IPO price was substantially below even the first price (i.e., the
September 19, 2014 opening price) in the aftermarket. Thus, in this case, it is difficult to
argue that the IPO price incorporated the same news that the market did, but just in a
different manner. Thus, I conclude that one cannot reliably say that the IPO price is
reflective of the price that would prevail in an efficient market.52



     VI.       TESTS OF MARKET EFFICIENCY FOR ALIBABA OPTIONS
     65. Counsel for Plaintiffs has also asked me to examine the efficiency for the markets
for Alibaba’s options. My understanding is that the proposed class in this action includes
purchasers of publicly traded calls and sellers of publicly traded puts.

     66. To begin, I note that options are derivative financial instruments because their
values are derived from stock price plus other inputs. A call option gives the holder the

52
  To be clear, had the information that Plaintiffs allege was withheld from the market
been publicly known, it may have affected demand for the IPO shares and thereby been
reflected in the IPO price. However, at this stage, without any discovery on the issue, I
do not believe that we have sufficient evidence to reliably conclude that that would or
would not have been the case.




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right, but not the obligation, to purchase shares at a pre-set price, while a put option gives
the holder the right, but not the obligation, to sell shares at a pre-set price. For example,
consider a call with an exercise price of $30, meaning that if the holder of the call
exercises the option, he or she pays $30 and receives one share of stock. If the stock is
trading at $35, the holder of the call option can make an immediate profit of $5 before
considering transaction costs by paying $30 to exercise the option and then selling the
share received for $35. If the stock is trading at $40, the holder of the call option can
make an immediate profit of $10 before transaction costs through the same mechanism.
Because the value of the call option is related to the immediate profit (and various other
variables that measure how that profit opportunity may change over time), the price of a
call option will tend to rise when the price of the underlying stock goes up and will tend
to fall when the price of the underlying stock goes down.

    67. A put option gives the holder the right, but not the obligation, to sell (to put) a
share of stock to the counterparty at a preset price. For example, a put with an exercise
price of $30 allows the person who purchased the put to force the seller of the put to
purchase a share of stock at a price of $30. If the stock trades at $25, the seller of the put
can spend $25 to purchase a share in the open market and then exercise the put and
receive $30 from the purchaser of the put. The seller has thus made an immediate profit
of $5 before transaction costs. If the price of the underlying stock falls to $20, the
immediate profit is then $10 ($30 exercise price less the $20 cost of purchasing a share of
stock) less transaction costs. Thus, the immediate profit on a put rises when the
underlying stock price falls and falls when the underlying stock price rises. Because the
price of a put is related to the immediate profit, the price of a put falls when the
underlying stock price rises. Thus, if the price of a stock is inflated, the price of a put on
the stock will tend to be too low, and parties that sell (or write) puts will receive too little
from those transactions.




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     68. There is a relationship, known as put-call parity, that provides bounds on the
relative prices of the stock, puts, and calls for a given company.53 Thus, if the market for
Alibaba’s ADSs is efficient, there is a mechanism to make the markets for its options
efficient as well. In addition, the academic finance literature has long held that
“informed traders choose to trade in leveraged option markets,”54 suggesting that option
markets may be as efficient if not more efficient than markets for stock in the same
company.

     69. The Chicago Board Options Exchange listed 2,638 unique Alibaba options over
the Class Period. These options can be grouped into 1,319 pairs of puts and calls with
identical strike prices and maturities. Of the 2,638 options, 81.6 percent had reported
volume on at least one day during the Class Period. The average volume traded during
the Class Period for these options was over 5,419 contracts, where each contract
represents 100 shares of Alibaba ADSs, meaning the equivalent of trading an average of
more than 541,900 Alibaba ADSs per option. The median number of contracts traded per
option was 333, representing over 33,300 Alibaba ADSs traded for the median options
during the Class Period.



53
   The put-call parity condition is based on a potential arbitrage opportunity if the relative
prices of the stock and the options are not in alignment. For example, an investor can
buy the stock and simultaneously write (sell) a call and purchase a put with identical
strike prices and maturities. When the options mature, the investor can be sure to either
sell the stock using the put (if the stock price has fallen) or have the call counterparty
purchase the stock. Either way, the investor will wind up with the strike price of the
option and no longer own the stock. Consequently, if the stock price is below the present
value of the strike price, then there is a potential arbitrage opportunity, assuming that the
difference is not eliminated through transaction costs. Consideration of the various
possible arbitrage opportunities results in the full put-call parity conditions.
54
   James S. Doran, Andy Fodor and Kevin Krieger, “Option Market Efficiency and
Analyst Recommendations,” Journal of Business Finance & Accounting, June/July 2010,
p. 584. In fact, the authors find “evidence of information incorporation into option
markets prior to equity markets…” (p. 584)




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     70. With regard to the testing of market efficiency, I rely on a test of the put-call
parity condition. The reason for not relying on the other tests is that while they may
provide circumstantial evidence about conditions related to market efficiency, the most
important such condition is whether Alibaba’s ADSs traded in an efficient market. If that
is true, then the conditions for properly pricing Alibaba’s options will also be present,
allowing us to proceed to the direct tests of efficiency.55

     71. For a dividend-paying stock, the put-call parity conditions are the following:

                        S – PV(div) – K ≤ C – P ≤ S – PV(K),

where S is the price of the stock, PV means the present value of a future amount, div is
the stream of expected future dividends until the maturity of the option, K is the strike
price, C is the price of a call, and P is the price of a put. (In the formula, the call and put
must both have the same strike price, K, and must also have the same maturity.)

     72. In addition to requiring the prices of the stock and the related calls and puts,
analyzing the put-call parity conditions requires the use of an interest rate (for the
present-value formula) and estimates of future dividends. For the interest rate, I use the
Treasury constant maturity rate.56 As Alibaba did not historically pay dividends, I
assume that the dividend yield, or the ratio of annual dividends to stock price, is zero.



55
   This is true because option-pricing formulas, such as the Black-Scholes formula,
provide a link between certain stock price information (the price and volatility of the
stock price, in combination with data on interest rates and the maturity of the option) and
prices of options. This distinguishes call and put options from bonds for which that link
is not easily captured by a simple mathematical equation.
56
   These data are available from
https://www.federalreserve.gov/datadownload/Choose.aspx?rel=H15. To obtain the
proper rate for each option series, I interpolate based on the rates for the Treasuries with
the closest maturities shorter and longer than the option examined. For example, the rate
for an option with a two-month maturity would be halfway between the Treasury rates on
one-month and three-month bills. For options with maturities less than one month, I used
the Treasury rates for one-month bills.




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   73. For the analysis of the put-call parity conditions, on each day in the Class Period,
I examine those option series that had reported bids and asks not equal to zero for both
the call and the put (the “Options Data Sample”). The Option Data Sample includes 76.5
percent of all options. The analysis shows that 4.09 percent of the Options Data Sample
satisfy the put-call parity conditions. Of course, there are transaction costs that may
explain some of this difference. In addition, some of the put and call values may be from
a point earlier in the day than the closing price of the stock, further explaining some of
the deviations from the put-call parity conditions. I deal with these issues below.

   74. First, put-call parity is based on arbitrage, or the ability to engage in at least three
trades: one for the call, one for the put, and one for the stock. To capture the costs of
trading, I include a trading cost solely for the stock transaction, conservatively assuming
that there are no transaction costs for the call or put and also assuming that there are no
costs to exit the arbitrage transaction. We also use these analyses not as actual trading
costs, but as measures of the magnitude of the deviation from put-call parity to see the
maximum degree of potential mispricing that would appear to not be fully arbitraged
away in the Alibaba options markets.

   75. If we assume transaction costs of one-half of a percent of the stock price, then the
4.09 percent of the Options Data Sample satisfying the put-call parity conditions rises to
81.21 percent; if transaction costs equal one percent of the stock price, then 96.04 percent
of the Options Sample Data satisfy the put-call parity conditions. If the transaction costs
are 1.5 percent of the stock price, then 98.99 percent of the Options Sample Data satisfy
the put-call parity conditions. Even if these transaction costs are higher than large
institutional investors would pay, the results show that nearly all of the violations of put-
call parity are small in magnitude. Put differently, if one believed that material news had
an effect of at least 1.5 percent of the stock price, then investors could rely on option
prices to generally respond to and reflect unexpected material new information about
Alibaba. Trading costs of 2.77 percent of the ADS price would eliminate all put-call




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parity violations in the Options Sample Data.57 See Exhibit 11a for the percent of options
satisfying the put-call parity condition assuming only transaction costs on the stock
transaction (i.e., not accounting for costs of the option transactions or for possible
asynchronous trading). As a check on the results, Exhibit 11b runs the same analysis but
further excluding days with zero reported option volume in either the call or put in an
option pair.

     76. It should again be noted that some of the apparent put-call violations may be due
to trading prices for the options that did not correspond in time to the closing price of the
stock. To examine this, I use the high and low price of Alibaba’s ADS each day in the
put-call parity analysis rather than the closing price. In particular, for each option pair, I
ask whether there exists some ADS price between the high and the low price for the day
that results in the put-call parity condition holding for that option pair. Under this
analysis, with even no trading costs, 97.46 percent of the Options Sample Data satisfy the
put-call parity conditions.

     77. As initially noted, due to the close connection between options and the stock on
which they are based, if the stock trades in an efficient market, it is highly likely that the
options on that stock will as well. This distinguishes options from other securities, such
as debt, that do not have a formula tying their price to that of the underlying stock.
Beyond this theoretical connection, analysis shows that most of the option data fit the
put-call parity conditions even in the absence of trading costs, and that relatively small


57
   Using the market model in the analysis of Alibaba’s ADS price response to news
discussed above, Alibaba’s daily raw and market-adjusted ADS price movements were
both over 10 percent in absolute magnitude from January 27 to January 29, 2015 (i.e,
both the return from January 27 to January 28 and the return from January 28 to 29 were
greater than 10 percent in absolute magnitude). This price movement was also
statistically significant according to the event-study analysis described above. Both the
raw and market-adjusted price movements are well over the 2.77 percent trading cost
figure discussed above. Thus, the news related to these disclosures should be sufficient
to move the prices of Alibaba’s options, meaning that the price impact of that news
would be observed in the markets for Alibaba’s ADSs, calls, and puts.




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trading costs or intraday price differences can explain the small violations of those
conditions. This further supports my conclusion that Alibaba’s puts and calls traded in
efficient markets.



     VII. DAMAGES FOR INVESTORS IN ALIBABA’S ADSS AND OPTIONS
          CAN BE CALCULATED THROUGH A COMMON METHODOLOGY
     78.    While I have not yet been asked to determine the level of inflation in
Alibaba’s ADSs and options, I have been asked to provide an opinion on whether such an
analysis can be performed on a Class-wide basis for each of the securities. As discussed
below, the answer is unambiguously that such a common methodology is not only
possible, but is the only appropriate way to measure damages in a fraud-on-the-market
securities class action. While the particular inflation series would be different for the
three securities (and, in fact, would be negative or represent deflation in the case of the
put options if Plaintiffs’ theory of liability is correct), each analysis would apply for one
security and could be applied to all the Class members with trades in that security.

     79.    A fraud-on-the-market securities class action assumes that members of the
class have overpaid (in the most common type of case) because the market price of the
security they purchased was artificially inflated. Thus, the proper form of analysis
depends not on what an individual investor believed, but on the degree, if any, by which
the market price of the security in question was inflated.58 As all investors face the same
market price, the proper analysis of damages will be the same across all investors in any
given security.

     80.    The starting point for damages for an investor is determined by the amount of
artificial inflation in a security at the time of their purchase less the inflation in that
58
  Certain investors, such as defendants, may be excluded from a class based on their
knowledge or beliefs, as the fraud-on-the-market theory applies to an investor who “buys
or sells stock [or another security] at the price set by the market[.]”Basic Inc. v. Levinson,
485 U.S. 224, 247, 108 S. Ct. 978, 99 L. Ed. 2d 194 (1988).




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security when sold. If an investor holds their purchase past the end of the class period,
then the starting point for damages is the amount of inflation at the time of purchase.
Further adjustments may be necessary if the amount of inflation declines for reasons
other than a corrective disclosure (e.g., if inflation changes due to market or company-
specific reasons unrelated to the allegations). In addition, the 1995 Private Securities
Litigation Reform Act provides a limitation on damages. Notably, all of the above
calculations are performed on a class-wide basis.

      81.    For common stock or ADSs, the inflation calculation referenced above is
based on an event study, or, in this matter, the analysis of the change in the market prices
of Alibaba’s ADSs, accounting for changes in market and/or industry effects, on the
date(s) of any corrective disclosure(s) based on the allegations in the case. For example,
the Complaint alleges that news on the evening of January 27, 2015 and before the
market opened on January 29, 2015 disclosed information relate to the allegations in this
matter.59

      82.    In addition, to the extent that there is material news unrelated to the
allegations on any corrective disclosure date, the effects of that news must be accounted
for to obtain the amount of the price movement due to the corrective information.60 The
news that affected the ADS price on January 28, 2015 included Alibaba’s
acknowledgement of the July 16 meeting as well as the company’s earnings
announcement. I note that the Amended Memorandum Decision and Order Granting

59
     Complaint, ¶¶15 and 17.
60
   For example, it is common to look at corrective disclosures that occur simultaneously
with or as part of an earnings announcement to see how much of the earnings miss is
attributable to the corrective disclosure or the effects that the corrective disclosure
reveals. I note that this share can be larger or smaller than the actual earnings surprise
(e.g., a company can miss earnings by ten cents a share due to negative effects of twelve
cents a share due to the corrective disclosure offset by two cents a share of unexpected
positive news unrelated to the allegations). Notably, this is a common procedure and has
a common effect on the inflation in the stock or ADS (and, from there to the options) for
all Class members.




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Defendants’ Motion to Dismiss dated June 27, 2016, p. 14, states that “Plaintiffs make
clear, then that their allegations about the Red Shield Program and Alibaba’s reliance on
counterfeit goods are not independent violations of Section 10(b) and Rule 10b-5. …
Rather, they are part and parcel of a single, unified allegation that the failure to disclose
the fact of the July 16 Meeting and the delivery of administrative guidance by the SAIC
violated the federal securities laws.” At this point, I have not investigated whether any,
some, or all of the earnings news related to changes in Alibaba’s practices regarding
reliance on counterfeit goods, as some of the analysis may depend on discovery and on
forensic accounting analyses.61 Notably, any such discovery would be relevant to all
class members, and any analyses are based on information obtained in discovery would
be relevant to the determination of inflation in a manner that is relevant to all members of
the Class.

     83.     For options, the inflation (or deflation) can be calculated with reference to the
inflation in the ADSs. An option-pricing formula, such as the Black-Scholes formula,
provides a relationship between the price of an option, the price of the underlying stock
(or ADS), and a parameter known as the volatility or the implied volatility of the stock or
ADS. In this case, one would use the actual trading prices of the ADSs and options to
back out the “implied” volatility from the formula. Then, the formula could be applied
using the “but-for” ADS price (i.e., the price of the ADS less the artificial inflation
caused by any misrepresentations) and that calculated implied volatility to obtain the but-
for option prices. The difference between the actual and but-for option prices would
represent the inflation or deflation in each option on each day in the Class Period.

     84.     While there may be questions about how to calculate inflation, those questions
will affect all members of the Class who purchased a given security in the same manner.
Consequently, the inflation in any security will be determined in a common manner for


61
  To be clear, I am not opining that these are necessary, but merely that as I have not yet
been asked to perform a full damages analysis, I am not offering an opinion as to the
exact details of what that analysis would entail.



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 all Class members. The resultant figures will then be applied to each Class member’s
transactions in a mechanical fashion to determine the appropriate claim for each member
 of the Class.




         I reserve the right to modify or extend my opinion in light of any new
 information, including submissions by any experts for Defendants, that becomes
 available to me.



                                                         tJ    David I. Tabak
                                                               March 9, 2018




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                                                                     David I. Tabak
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                                      EXHIBIT 1
                                    DAVID I. TABAK
                                  MANAGING DIRECTOR
Dr. Tabak earned his Ph.D. and M.A. degrees in Economics from Harvard University and his
B.S. in Economics and B.S. in Physics from the Massachusetts Institute of Technology. While at
Harvard, Dr. Tabak participated in teaching courses in micro- and macroeconomics and
American economic policy at the undergraduate and graduate levels and in the creation of an
undergraduate textbook and accompanying software package.

Dr. Tabak has appeared as an expert in state, federal, and bankruptcy court, and before
arbitration panels, including the National Association of Securities Dealers, the American
Arbitration Association, the International Dispute Resolution Centre, and the International
Chamber of Commerce International Court of Arbitration. He has published in his areas of
expertise in forums such as St. John’s Law Review and Shannon Pratt’s Business Valuation
Update, and has published peer-reviewed articles in Litigation Economics Review and the
Journal of Forensic Economics. Dr. Tabak is also the author of book chapters and has served as
a member of BV Q&A Update’s expert author panel and as a referee for peer-reviewed journals.
His publications have covered topics such as commercial disputes, economic analysis of market
efficiency, valuation discounts for lack of marketability, and the application of statistics in
litigation analyses. Dr. Tabak has been an invited presenter at the Securities and Exchange
Commission and has spoken at forums that provide continuing legal education credits or
continuing professional education credits for accountants and valuation professionals.

Dr. Tabak has been retained as an expert to address issues including allegations of valuations,
contract disputes, commercial damages, and disputes between brokers and customers. His non-
litigation work has included developing a risk-scoring model for a reinsurance company,
assisting financial institutions in new product development, analysis of potential insider trading
for a financial institution, and interpretation of statistical analyses of treatment effectiveness for a
program for at-risk youth.
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                                                                                     David I. Tabak


Education
                 Harvard University
                 Ph.D., Economics, 1996
                 M.A., Economics, 1992

                 Massachusetts Institute of Technology
                 B.S., Economics, 1990
                 B.S., Physics, 1990


Professional Experience
                 NERA Economic Consulting
2005-            Managing Director (f/k/a Senior Vice President)
                 Provide written and oral testimony. Conduct and supervise economic analyses,
                 with a focus on securities litigation and valuation cases.
2001-2005        Vice President
1998-2001        Senior Consultant
1996-1998        Senior Analyst

                 Harvard University
1991-1996        Teaching Fellow in Economics
                 Participated in teaching various courses from introductory principles of
                 economics to graduate macroeconomics. Ran coursewide tutorial program for the
                 largest class at Harvard for two academic years, with a staff of over fifty part-time
                 employees.

                 Worth Publishers
1991, 1993       Research Assistant/Independent Contractor
                 Worked on data collection, software analysis, and creation of a problem bank for
                 an educational economics software package.

                 National Bureau of Economic Research
1991             Research Assistant
                 Performed data collection and econometric analysis for a project on comparisons
                 of international growth rates.


Honors and Professional Activities
        Member, American Economic Association, 1993-present

        Referee, Journal of Forensic Economics, 2005, 2006, 2008, 2009, 2011, 2012, 2015




NERA Economic Consulting                                                                             2
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                                                                               David I. Tabak


      Referee, Litigation Economics Review, 2002, 2003, 2004

      William M. Mercer Securities Corporation, Registered Representative, Series 7 and 63,
      2000 - 2002

      Marsh & McLennan Securities Corporation, Registered Representative, Series 7 and 63,
      1998 - 2000

      Adjunct Member, Committee on International Trade, Association of the Bar of the City of
      New York, 1998 – 2001

      Harvard University Scholarship, 1990-1992

      Derek Bok Teaching Award, 1993, 1994, 1995, and 1996

      Allyn Young Teaching Award, 1996




NERA Economic Consulting                                                                        3
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                                                                                 David I. Tabak


Expert Reports and Testimony
Expert Report of David I. Tabak, Ph.D. before JAMS Arbitration in John Mariani, Jr. et al. v.
James Mariani et al., February 21, 2018.

Expert Report of David I. Tabak, Ph.D. before the Court of Chancery of the State of Delaware in
A. Schulman, Inc., et al. v. Citadel Plastics Holdings, LLC, et al., February 16, 2018.

Rebuttal Expert Report of David I. Tabak, Ph.D. before the United States District Court for the
Southern District of New York in In re Vale S.A. Securities Litigation, November 17, 2017.

Deposition testimony before the United States District Court for the Southern District of New
York in In re Vale S.A. Securities Litigation, October 26, 2017.

Report of David I. Tabak, PhD in Babscay Pty Ltd v. Slater & Gordon Limited, Federal Court
Proceeding VID 659 / 2017, Australia, October 26, 2017.

Deposition testimony before the Supreme Court of the State of New York, County of
Westchester, in Paraco Gas Corporation v. Ferrellgas, L.P., September 28, 2017.

Rebuttal Expert Report of David I. Tabak, Ph.D. before the Supreme Court of the State of New
York, County of Westchester, in Paraco Gas Corporation v. Ferrellgas, L.P., September 20,
2017.

Expert Report of David I. Tabak, Ph.D. before the United States District Court for the Southern
District of New York in In re Vale S.A. Securities Litigation, September 14, 2017.

Expert Report of David I. Tabak, Ph.D. before the Supreme Court of the State of New York,
County of Westchester, in Paraco Gas Corporation v. Ferrellgas, L.P., August 24, 2017.

Supplement to Reply Expert Report of David I. Tabak, Ph.D. before the United States District
Court for the District of Vermont in Louisiana Municipal Police Employees’ Retirement System
et al. v. Green Mountain Coffee Roasters, Inc. et al., August 9, 2017.

Deposition Testimony before the United States District Court for the District of Vermont in
Louisiana Municipal Police Employees’ Retirement System et al. v. Green Mountain Coffee
Roasters, Inc. et al., August 1, 2017.

Reply Expert Report of David I. Tabak, Ph.D. before the United States District Court for the
District of Vermont in Louisiana Municipal Police Employees’ Retirement System et al. v. Green
Mountain Coffee Roasters, Inc. et al., June 15, 2017.

Sur-Reply Expert report of David I. Tabak, Ph.D. before the United States District Court for the
District of New Jersey in Bing Li et al. v. Aeterna Zentaris et al., May 31, 2017.

Reply Expert Report of David I. Tabak, Ph.D. before the United States District Court for the
District of Vermont in Louisiana Municipal Police Employees’ Retirement System et al. v. Green
Mountain Coffee Roasters, Inc. et al., May 26, 2017.




NERA Economic Consulting                                                                           4
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                                                                                  David I. Tabak


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                                                                        Exhibit 2
                                                             Alibaba Group Holding Limited
                                                                  Materials Considered
                                         List of Stories from Factiva Dow Jones used in Exhibits 8a, 8c, and 8d


 Date         Time        Effective Date                                         Title                                                          News Source
  (1)          (2)              (3)                                               (4)                                                               (5)

9/18/2014    5:12:00 PM      9/19/2014        Alibaba IPO Priced at $68 a Share, Top of Range, Source Says                       Dow Jones Institutional News
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9/18/2014    7:42:00 PM      9/19/2014        Alibaba's IPO Priced at $68 a Share - Update -5-                                   Dow Jones Newswires Chinese (English)
9/18/2014    8:35:00 PM      9/19/2014        Alibaba's IPO: We Know the Price! Now How Does It Stack Up                         Dow Jones Newswires Chinese (English)
9/18/2014    8:35:00 PM      9/19/2014        Alibaba IPO Big Pay Day For Some Employees -3-                                     Dow Jones Newswires Chinese (English)
9/18/2014    8:35:00 PM      9/19/2014        Alibaba IPO Big Pay Day For Some Employees -2-                                     Dow Jones Newswires Chinese (English)
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9/19/2014   12:22:00 AM      9/19/2014        Alibaba Will Have a Fight on Its Hands Outside Asia -- Market Talk                 Dow Jones Institutional News
9/19/2014   12:37:00 AM      9/19/2014        Alibaba Will Have a Fight on Its Hands Outside Asia -- Market Talk                 Dow Jones Newswires Chinese (English)
9/19/2014   12:38:00 AM      9/19/2014        Alibaba Debuts Friday: Here's What You Need to Know                                Dow Jones Institutional News
9/19/2014    1:37:00 AM      9/19/2014        Alibaba Will Have a Fight on Its Hands Outside Asia -- Market Talk                 Dow Jones Newswires Chinese (English)
9/19/2014    1:51:00 AM      9/19/2014        Alibaba IPO to Give Yahoo Windfall                                                 Dow Jones Institutional News
9/19/2014    2:45:00 AM      9/19/2014        Alibaba IPO to Give Yahoo Windfall -2-                                             Dow Jones Newswires Chinese (English)
9/19/2014    2:45:00 AM      9/19/2014        Alibaba IPO to Give Yahoo Windfall                                                 Dow Jones Newswires Chinese (English)
9/19/2014    2:46:00 AM      9/19/2014        Alibaba IPO to Give Yahoo Windfall -3-                                             Dow Jones Newswires Chinese (English)
9/19/2014    3:04:00 AM      9/19/2014        Thriving Tmall Key to Alibaba's Growth: Morningstar -- Market Talk                 Dow Jones Institutional News
9/19/2014    3:08:00 AM      9/19/2014        Alibaba IPO Will Power Its Global Expansion, Says Gartner -- Market Talk           Dow Jones Institutional News
9/19/2014    3:27:00 AM      9/19/2014        Alibaba IPO Will Power Its Global Expansion, Says Gartner -- Market Talk           Dow Jones Newswires Chinese (English)
9/19/2014    4:03:00 AM      9/19/2014        Alibaba's IPO Priced at $68 a Share                                                Dow Jones Newswires Korean (English)
9/19/2014    4:27:00 AM      9/19/2014        Alibaba IPO Will Power Its Global Expansion, Says Gartner -- Market Talk           Dow Jones Newswires Chinese (English)
9/19/2014    5:07:00 AM      9/19/2014        Alibaba's Political Risk                                                           Dow Jones Newswires Korean (English)
9/19/2014    5:13:00 AM      9/19/2014        SoftBank's Alibaba Alchemy: How to Turn $20 Million Into $50 Billion               Dow Jones Institutional News
9/19/2014    5:30:00 AM      9/19/2014        Asia Week Review: Alibaba's Partners Haven't Got The Ali Bump -- Barron's Blog     Dow Jones Institutional News
9/19/2014    5:41:00 AM      9/19/2014        Legal Structure, Allocations on Mind of Asia Investors Ahead of Alibaba Debut      Dow Jones Institutional News
9/19/2014    5:47:00 AM      9/19/2014        Alibaba Debuts Friday: Here's What You Need to Know                                Dow Jones Institutional News
9/19/2014    7:06:00 AM      9/19/2014        Alibaba IPO Generates Sense of Missed Opportunity for Many in China                Dow Jones Institutional News
9/19/2014    8:18:00 AM      9/19/2014        Cantor: Alibaba Worth It If Growth Maintained -- Market Talk                       Dow Jones Institutional News
9/19/2014    8:35:00 AM      9/19/2014        ICE's Handling of Alibaba IPO to Be Watched -- Market Talk                         Dow Jones Institutional News
9/19/2014    8:35:00 AM      9/19/2014        ICE's Handling of Alibaba IPO to Be Watched -- Market Talk                         Dow Jones Institutional News
9/19/2014    9:03:00 AM      9/19/2014        Alibaba Started at Buy by Cantor Fitzgerald >BABA                                  Dow Jones Newswires Chinese (English)
9/19/2014    9:03:00 AM      9/19/2014        Alibaba Started at Buy by Cantor Fitzgerald >BABA                                  Dow Jones Institutional News
9/19/2014    9:24:00 AM      9/19/2014        Alibaba Shares Make New York Trading Debut                                         Dow Jones Institutional News
9/19/2014    9:29:00 AM      9/19/2014        BABA Shares Spread Awfully Thin Among 1,700 Entities, Says CNBC -- Barron's Blog   Dow Jones Institutional News
9/19/2014    9:35:00 AM      9/19/2014        The Daily Startup: Alibaba's Big Day                                               Dow Jones Institutional News
9/19/2014    9:44:00 AM      9/19/2014        Majority Of Alibaba Shares Placed With U.S. Investors -- Sources                   Dow Jones Institutional News
9/19/2014    9:44:00 AM      9/19/2014        Alibaba Gave Around 50% Of IPO Stock To 25 Investment Firms -- Sources             Dow Jones Institutional News
9/19/2014    9:46:00 AM      9/19/2014        Alibaba Had Over 1,700 Orders For Stock; Only About Half Got Shares -- Sources     Dow Jones Newswires Chinese (English)
9/19/2014    9:47:00 AM      9/19/2014        Alibaba Gave Around 50% Of IPO Stock To 25 Investment Firms -- Sources             Dow Jones Newswires Chinese (English)
9/19/2014    9:47:00 AM      9/19/2014        Majority Of Alibaba Shares Placed With U.S. Investors -- Sources                   Dow Jones Newswires Chinese (English)
9/19/2014    9:59:00 AM      9/19/2014        Details of Alibaba IPO Trickle Out                                                 Dow Jones Institutional News
9/19/2014   10:01:00 AM      9/19/2014        Payday Nears for Alibaba Bankers -- But It's Not as Much as You May Think          Dow Jones Institutional News
9/19/2014   10:06:00 AM      9/19/2014        Alibaba Group Holding (BABA) Ind: 80.00-83.00 Last 0.00                            Dow Jones Institutional News
9/19/2014   10:06:00 AM      9/19/2014        Alibaba Group Holding (BABA) Halt:                                                 Dow Jones Institutional News
9/19/2014   10:08:00 AM      9/19/2014        Alibaba IPO Indicated Opening Range $80-$83                                        Dow Jones Institutional News
9/19/2014   10:09:00 AM      9/19/2014        Alibaba IPO Indicated Opening Range $80-$83                                        Dow Jones Newswires Chinese (English)
9/19/2014   10:19:00 AM      9/19/2014        Alibaba Group Holding (BABA) Ind: 80.00-83.00 Last 0.00                            Dow Jones Institutional News
9/19/2014   10:21:00 AM      9/19/2014        Details of Alibaba IPO Trickle Out                                                 Dow Jones Newswires Chinese (English)
9/19/2014   10:22:00 AM      9/19/2014        Details of Alibaba IPO Trickle Out -3-                                             Dow Jones Newswires Chinese (English)
9/19/2014   10:22:00 AM      9/19/2014        Details of Alibaba IPO Trickle Out -2-                                             Dow Jones Newswires Chinese (English)
9/19/2014   10:24:00 AM      9/19/2014        Alibaba IPO Shares Now Indicated $82-$85                                           Dow Jones Newswires Chinese (English)
9/19/2014   10:29:00 AM      9/19/2014        Alibaba Group Holding (BABA) Ind: 80.00-83.00 Last 0.00                            Dow Jones Institutional News
9/19/2014   10:32:00 AM      9/19/2014        Alibaba IPO Shares New Indicated Range $84-$87                                     Dow Jones Newswires Chinese (English)
9/19/2014   10:43:00 AM      9/19/2014        Alibaba Group Holding (BABA) Ind: 80.00-83.00 Last 0.00                            Dow Jones Institutional News




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                                                                        Exhibit 2
                                                             Alibaba Group Holding Limited
                                                                  Materials Considered
                                         List of Stories from Factiva Dow Jones used in Exhibits 8a, 8c, and 8d


 Date         Time        Effective Date                                            Title                                                             News Source
  (1)          (2)              (3)                                                  (4)                                                                  (5)

9/19/2014   10:44:00 AM      9/19/2014        Alibaba IPO Shares New Indicated Opening Range $86-$88                                     Dow Jones Newswires Chinese (English)
9/19/2014   10:51:00 AM      9/19/2014        Alibaba Group Holding (BABA) Ind: 80.00-83.00 Last 0.00                                    Dow Jones Institutional News
9/19/2014   10:52:00 AM      9/19/2014        Alibaba Shares Seen Heading for Big Gains Once Trading Starts                              Dow Jones Institutional News
9/19/2014   10:58:00 AM      9/19/2014        Alibaba Group Holding (BABA) Ind: 80.00-83.00 Last 0.00                                    Dow Jones Institutional News
9/19/2014   11:00:00 AM      9/19/2014        Alibaba IPO Shares New Indicated Opening Range $88-$90                                     Dow Jones Newswires Chinese (English)
9/19/2014   11:04:00 AM      9/19/2014        Alibaba Group Holding (BABA) Ind: 80.00-83.00 Last 0.00                                    Dow Jones Institutional News
9/19/2014   11:05:00 AM      9/19/2014        Alibaba IPO Shares New Indicated Opening Range $89-$91                                     Dow Jones Newswires Chinese (English)
9/19/2014   11:09:00 AM      9/19/2014        Alibaba Shares Seen Heading for Big Gains Once Trading Starts                              Dow Jones Institutional News
9/19/2014   11:13:00 AM      9/19/2014        Alibaba Group Holding (BABA) Ind: 80.00-83.00 Last 0.00                                    Dow Jones Institutional News
9/19/2014   11:14:00 AM      9/19/2014        Alibaba IPO Shares New Indicated Opening Range $90-$91                                     Dow Jones Newswires Chinese (English)
9/19/2014   11:16:00 AM      9/19/2014        Alibaba Shares Seen Heading for Big Gains Once Trading Starts                              Dow Jones Newswires Chinese (English)
9/19/2014   11:21:00 AM      9/19/2014        Alibaba Group Holding (BABA) Ind: 80.00-83.00 Last 0.00                                    Dow Jones Institutional News
9/19/2014   11:21:00 AM      9/19/2014        Alibaba Shares Seen Heading for Big Gains Once Trading Starts -2-                          Dow Jones Newswires Chinese (English)
9/19/2014   11:23:00 AM      9/19/2014        Alibaba IPO Shares New Indicated Opening Range $91-$92                                     Dow Jones Newswires Chinese (English)
9/19/2014   11:26:00 AM      9/19/2014        Alibaba Shares Seen Heading for Big Gains Once Trading Starts -3-                          Dow Jones Newswires Chinese (English)
9/19/2014   11:27:00 AM      9/19/2014        Alibaba Group Holding (BABA) Ind: 80.00-83.00 Last 0.00                                    Dow Jones Institutional News
9/19/2014   11:28:00 AM      9/19/2014        Alibaba IPO Shares New Indicated Opening Range $92-$93                                     Dow Jones Newswires Chinese (English)
9/19/2014   11:38:00 AM      9/19/2014        Watch the Alibaba Effect on 5 Stocks in 5 Charts                                           Dow Jones Institutional News
9/19/2014   11:47:00 AM      9/19/2014        Alibaba Shares Seen Heading for Big Gains Once Trading Starts -4-                          Dow Jones Newswires Chinese (English)
9/19/2014   11:53:00 AM      9/19/2014        Alibaba Group Holding Begins Trading at $92.70                                             Dow Jones Institutional News
9/19/2014   11:53:00 AM      9/19/2014        Alibaba Group Holding (BABA) Resumed Trading                                               Dow Jones Institutional News
9/19/2014   11:54:00 AM      9/19/2014        Alibaba Group Holding Begins Trading at $92.70                                             Dow Jones Newswires Chinese (English)
9/19/2014   11:54:00 AM      9/19/2014        Alibaba Group Holding (BABA) Resumed Trading                                               Dow Jones Newswires Chinese (English)
9/19/2014   11:55:00 AM      9/19/2014        Alibaba Shares Trade Higher In Market Debut                                                Dow Jones Institutional News
9/19/2014   12:00:00 PM      9/19/2014        Alibaba Shares Trade Higher In Market Debut                                                Dow Jones Newswires Chinese (English)
9/19/2014   12:06:00 PM      9/19/2014        Alibaba IPO Sparks Celebrations in Company's Hometown                                      Dow Jones Institutional News
9/19/2014   12:08:00 PM      9/19/2014        Alibaba Shares Soar as Trading Begins                                                      Dow Jones Institutional News
9/19/2014   12:10:00 PM      9/19/2014        Alibaba Shares Trade Higher In Market Debut--Update                                        Dow Jones Institutional News
9/19/2014   12:15:00 PM      9/19/2014        Alibaba Shares Trade Higher In Market Debut -2-                                            Dow Jones Newswires Chinese (English)
9/19/2014   12:16:00 PM      9/19/2014        Three Reasons to Avoid Alibaba, One Reason Not to Worry, and a Bonus Red Flag              Dow Jones Institutional News
9/19/2014   12:23:00 PM      9/19/2014        Alibaba's Financial Health Profile Lines Up Well Against Other Tech Companies              Dow Jones Institutional News
9/19/2014   12:27:00 PM      9/19/2014        Alibaba Shares Trade Higher In Market Debut--Update                                        Dow Jones Newswires Chinese (English)
9/19/2014   12:40:00 PM      9/19/2014        Alibaba Shares Trade Higher In Market Debut--2nd Update                                    Dow Jones Institutional News
9/19/2014   12:41:00 PM      9/19/2014        Yahoo Falls as Alibaba Opens for Trade -- Market Talk                                      Dow Jones Institutional News
9/19/2014   12:41:00 PM      9/19/2014        Yahoo Falls as Alibaba Opens for Trade -- Market Talk                                      Dow Jones Institutional News
9/19/2014   12:55:00 PM      9/19/2014        Alibaba's Financial Health Profile Lines Up Well Against Other Tech Companies              Dow Jones Newswires Chinese (English)
9/19/2014    1:28:00 PM      9/19/2014        Alibaba Spurs Growth In Late-Stage Investments Into Chinese Startups                       Dow Jones Institutional News
9/19/2014    1:38:00 PM      9/19/2014        Celebrating Alibaba's Debut In Hangzhou: 'It's Going to Break $100!'                       Dow Jones Institutional News
9/19/2014    1:40:00 PM      9/19/2014        Press Release: Alibaba Group Celebrates Initial Public Offering and First Day of Trading onDow Jones Institutional News
9/19/2014    1:54:00 PM      9/19/2014        In Silicon Valley, Awe and Dread for Alibaba                                               Dow Jones Institutional News
9/19/2014    1:56:00 PM      9/19/2014        In Silicon Valley, Awe and Dread for Alibaba                                               Dow Jones Institutional News
9/19/2014    1:57:00 PM      9/19/2014        In Silicon Valley, Awe, Dread and Hope for Alibaba                                         Dow Jones Institutional News
9/19/2014    2:07:00 PM      9/19/2014        Alibaba: Now Comes the Hard Part--Heard on the Street                                      Dow Jones Institutional News
9/19/2014    2:31:00 PM      9/19/2014        Alibaba IPO Leaves Investors Wanting More                                                  Dow Jones Institutional News
9/19/2014    2:41:00 PM      9/19/2014        Alibaba IPO Leaves Investors Wanting More--Update                                          Dow Jones Institutional News
9/19/2014    3:04:00 PM      9/19/2014        Alibaba Has Been Busy in the Startup Space -- Market Talk                                  Dow Jones Institutional News
9/19/2014    3:04:00 PM      9/19/2014        Alibaba Has Been Busy in the Startup Space -- Market Talk                                  Dow Jones Institutional News
9/19/2014    3:15:00 PM      9/19/2014        Pilot Delays His Flight for Alibaba Debut, Nabs Shares at $94                              Dow Jones Institutional News
9/19/2014    3:17:00 PM      9/19/2014        Celebrating Alibaba's Debut In Hangzhou: 'It's Going to Break $100!&                       Dow Jones Newswires Chinese (English)
9/19/2014    3:17:00 PM      9/19/2014        Celebrating Alibaba's Debut In Hangzhou: 'It's Going to Break $100!&                       Dow Jones Newswires Chinese (English)
9/19/2014    3:18:00 PM      9/19/2014        Celebrating Alibaba's Debut In Hangzhou: 'It's Going to Break $100!&                       Dow Jones Newswires Chinese (English)
9/19/2014    3:21:00 PM      9/19/2014        Alibaba IPO to Give Yahoo Windfall                                                         Dow Jones Institutional News
9/19/2014    3:37:00 PM      9/19/2014        Yahoo's Alibaba Cash Still Growing -- Market Talk                                          Dow Jones Institutional News
9/19/2014    3:37:00 PM      9/19/2014        Yahoo's Alibaba Cash Still Growing -- Market Talk                                          Dow Jones Institutional News
9/19/2014    3:48:00 PM      9/19/2014        In Silicon Valley, Awe, Dread and Hope for Alibaba                                         Dow Jones Newswires Chinese (English)
9/19/2014    3:50:00 PM      9/19/2014        In Silicon Valley, Awe, Dread and Hope for Alibaba -2-                                     Dow Jones Newswires Chinese (English)
9/19/2014    4:06:00 PM      9/22/2014        Alibaba Favored Mutual Funds In Allotments: CNBC -- Barron's Blog                          Dow Jones Institutional News
9/19/2014    4:18:00 PM      9/22/2014        Crystal Ball: Send Us Your Prediction for Alibaba's Stock Price                            Dow Jones Institutional News
9/19/2014    5:07:00 PM      9/22/2014        Alibaba IPO to Give Yahoo Windfall                                                         Dow Jones Institutional News
9/19/2014    5:24:00 PM      9/22/2014        Alibaba Shares Rise Nearly $26 a Share in First Day--4th Update                            Dow Jones Institutional News
9/19/2014    5:33:00 PM      9/22/2014        Podcast: Alibaba's Red-Letter Day                                                          Dow Jones Institutional News
9/19/2014    5:35:00 PM      9/22/2014        Alibaba's IPO, By the Numbers                                                              Dow Jones Institutional News
9/19/2014    5:38:00 PM      9/22/2014        Alibaba IPO to Give Yahoo Windfall                                                         Dow Jones Institutional News
9/19/2014    5:50:00 PM      9/22/2014        Yahoo's Core Business Value Cut in Half to $6.8 Billion After Alibaba IPO                  Dow Jones Institutional News
9/19/2014    5:54:00 PM      9/22/2014        Alibaba's IPO, By the Numbers                                                              Dow Jones Institutional News
9/19/2014    5:57:00 PM      9/22/2014        Alibaba IPO Leaves Investors Wanting More -- 2nd Update                                    Dow Jones Institutional News
9/19/2014    6:04:00 PM      9/22/2014        Alibaba Shares Rise Nearly $26 a Share in First Day                                        Dow Jones Newswires Chinese (English)
9/19/2014    6:05:00 PM      9/22/2014        Alibaba Shares Rise Nearly $26 a Share in First Day -2-                                    Dow Jones Newswires Chinese (English)
9/19/2014    6:37:00 PM      9/22/2014        Goldman's Go-To Alibaba Guy Works Out the Kinks                                            Dow Jones Institutional News
9/19/2014    7:09:00 PM      9/22/2014        Alibaba IPO Leaves Investors Wanting More -2-                                              Dow Jones Newswires Chinese (English)
9/19/2014    7:09:00 PM      9/22/2014        Alibaba IPO Leaves Investors Wanting More                                                  Dow Jones Newswires Chinese (English)
9/19/2014    7:10:00 PM      9/22/2014        Alibaba IPO Leaves Investors Wanting More -3-                                              Dow Jones Newswires Chinese (English)
9/19/2014    7:14:00 PM      9/22/2014        Alibaba IPO Leaves Investors Wanting More -5-                                              Dow Jones Newswires Chinese (English)
9/19/2014    7:14:00 PM      9/22/2014        Alibaba IPO Leaves Investors Wanting More -4-                                              Dow Jones Newswires Chinese (English)
9/19/2014    8:15:00 PM      9/22/2014        Alibaba Debut Makes A Splash                                                               Dow Jones Institutional News
9/20/2014   12:04:00 AM      9/22/2014        Asian Trader: Why Alibaba Isn't In Your Fund -- Barron's                                   Dow Jones Institutional News
9/20/2014   12:09:00 AM      9/22/2014        A Return Visit To Earlier Stories: Best Way To Play Alibaba: Buy Yahoo! -- Barron's        Dow Jones Institutional News
9/20/2014    3:50:00 AM      9/22/2014        Alibaba Makes Big Splash With IPO                                                          Dow Jones Institutional News
9/20/2014    3:54:00 AM      9/22/2014        China Watches From the Bleachers As Alibaba Goes Public                                    Dow Jones Institutional News
9/21/2014    3:12:00 PM      9/22/2014        Can Alibaba Keep Growing Without Sacrificing High Profit Margins?                          Dow Jones Institutional News
9/21/2014    3:32:00 PM      9/22/2014        Alibaba IPO Signals Strength in U.S. Stocks                                                Dow Jones Institutional News




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                                                                        Exhibit 2
                                                             Alibaba Group Holding Limited
                                                                  Materials Considered
                                         List of Stories from Factiva Dow Jones used in Exhibits 8a, 8c, and 8d


 Date         Time        Effective Date                                           Title                                                           News Source
  (1)          (2)              (3)                                                 (4)                                                                (5)

9/21/2014    4:15:00 PM      9/22/2014        Alibaba Bankers Exercise 'Green Shoe' Option -- Sources                                Dow Jones Institutional News
9/21/2014    6:16:00 PM      9/22/2014        Strong Alibaba IPO Demand Seen as Positive Sign for Stocks -- Market Talk              Dow Jones Institutional News
9/21/2014    6:16:00 PM      9/22/2014        Strong Alibaba IPO Demand Seen as Positive Sign for Stocks -- Market Talk              Dow Jones Institutional News
9/21/2014    7:26:00 PM      9/22/2014        Alibaba Bankers Exercise 'Green Shoe' Option -- Sources                                Dow Jones Newswires Chinese (English)
9/21/2014    7:52:00 PM      9/22/2014        Can Alibaba Keep Growing Without Sacrificing High Profit Margins? -2-                  Dow Jones Newswires Chinese (English)
9/21/2014    7:52:00 PM      9/22/2014        Can Alibaba Keep Growing Without Sacrificing High Profit Margins?                      Dow Jones Newswires Chinese (English)
9/21/2014    7:53:00 PM      9/22/2014        Can Alibaba Keep Growing Without Sacrificing High Profit Margins? -4-                  Dow Jones Newswires Chinese (English)
9/21/2014    7:53:00 PM      9/22/2014        Can Alibaba Keep Growing Without Sacrificing High Profit Margins? -3-                  Dow Jones Newswires Chinese (English)
9/21/2014    7:54:00 PM      9/22/2014        Can Alibaba Keep Growing Without Sacrificing High Profit Margins? -5-                  Dow Jones Newswires Chinese (English)
9/21/2014    8:25:00 PM      9/22/2014        Alibaba IPO Signals Strength in U.S. Stocks                                            Dow Jones Newswires Chinese (English)
9/21/2014    8:25:00 PM      9/22/2014        Alibaba IPO Signals Strength in U.S. Stocks -2-                                        Dow Jones Newswires Chinese (English)
9/21/2014    8:26:00 PM      9/22/2014        Alibaba IPO Signals Strength in U.S. Stocks -3-                                        Dow Jones Newswires Chinese (English)
9/21/2014    8:27:00 PM      9/22/2014        Alibaba IPO Signals Strength in U.S. Stocks -4-                                        Dow Jones Newswires Chinese (English)
9/21/2014    8:34:00 PM      9/22/2014        Alibaba's IPO, By the Numbers                                                          Dow Jones Newswires Chinese (English)
9/21/2014    8:35:00 PM      9/22/2014        Alibaba's IPO, By the Numbers -3-                                                      Dow Jones Newswires Chinese (English)
9/21/2014    8:35:00 PM      9/22/2014        Alibaba's IPO, By the Numbers -2-                                                      Dow Jones Newswires Chinese (English)
9/21/2014    9:13:00 PM      9/22/2014        Yahoo's Core Business Value Cut in Half to $6.8 Billion After Alibaba IPO              Dow Jones Newswires Chinese (English)
9/21/2014    9:14:00 PM      9/22/2014        Yahoo's Core Business Value Cut in Half to $6.8 Billion After Alibaba IPO -2-          Dow Jones Newswires Chinese (English)
9/21/2014   10:11:00 PM      9/22/2014        Three Reasons to Avoid Alibaba, One Reason Not to Worry, and a Bonus Red Flag -2-      Dow Jones Newswires Chinese (English)
9/21/2014   10:11:00 PM      9/22/2014        Three Reasons to Avoid Alibaba, One Reason Not to Worry, and a Bonus Red Flag          Dow Jones Newswires Chinese (English)
9/21/2014   10:14:00 PM      9/22/2014        Alibaba Spurs Growth In Late-Stage Investments Into Chinese Startups -2-               Dow Jones Newswires Chinese (English)
9/21/2014   10:14:00 PM      9/22/2014        Alibaba Spurs Growth In Late-Stage Investments Into Chinese Startups                   Dow Jones Newswires Chinese (English)
9/21/2014   10:15:00 PM      9/22/2014        Alibaba Spurs Growth In Late-Stage Investments Into Chinese Startups -3-               Dow Jones Newswires Chinese (English)
9/21/2014   10:35:00 PM      9/22/2014        Three Reasons to Avoid Alibaba, One Reason Not to Worry, and a Bonus Red Flag          Dow Jones Newswires Chinese (English)
9/21/2014   10:36:00 PM      9/22/2014        Alibaba IPO Signals Strength in U.S. Stocks                                            Dow Jones Newswires Chinese (English)
9/21/2014   10:37:00 PM      9/22/2014        Alibaba IPO Signals Strength in U.S. Stocks                                            Dow Jones Newswires Chinese (English)
9/21/2014   10:58:00 PM      9/22/2014        Can Alibaba Keep Growing Without Sacrificing High Profit Margins?                      Dow Jones Newswires Chinese (English)
9/21/2014   11:43:00 PM      9/22/2014        MARKET TALK: Tencent Dn 1.9%; Alibaba Spotlight Fading                                 Dow Jones Newswires Chinese (English)
9/21/2014   11:43:00 PM      9/22/2014        Tencent Dn 1.9%; Alibaba Spotlight Fading                                              Dow Jones Newswires Chinese (English)
9/21/2014   11:46:00 PM      9/22/2014        Heard on the Street -- Alibaba Proxy Drain -- Market Talk                              Dow Jones Institutional News
9/22/2014   12:43:00 AM      9/22/2014        MARKET TALK: Tencent Dn 1.9%; Alibaba Spotlight Fading                                 Dow Jones Newswires Chinese (English)
9/22/2014    1:14:00 AM      9/22/2014        Not Everyone in Asia Is Sore About Their Alibaba Allocations -- Market Talk            Dow Jones Institutional News
9/22/2014    1:38:00 AM      9/22/2014        Not Everyone in Asia Is Sore About Their Alibaba Allocations -- Market Talk            Dow Jones Newswires Chinese (English)
9/22/2014    2:38:00 AM      9/22/2014        Not Everyone in Asia Is Sore About Their Alibaba Allocations -- Market Talk            Dow Jones Newswires Chinese (English)
9/22/2014    3:08:00 AM      9/22/2014        Can Alibaba Keep Growing Without Sacrificing High Profit Margins?                      Dow Jones Newswires Korean (English)
9/22/2014    5:14:00 AM      9/22/2014        Jefferies: Alibaba Drives Softbank, But It's Just One Of The Gems -- Barron's Blog     Dow Jones Institutional News
9/22/2014    5:17:00 AM      9/22/2014        Common Misconceptions about Alibaba                                                    Dow Jones Institutional News
9/22/2014    5:51:00 AM      9/22/2014        Asian Investors Come Up Short In Alibaba IPO                                           Dow Jones Institutional News
9/22/2014    6:06:00 AM      9/22/2014        Plenty More Upside for Alibaba, Says Principal -- Market Talk                          Dow Jones Newswires Chinese (English)
9/22/2014    7:06:00 AM      9/22/2014        Plenty More Upside for Alibaba, Says Principal -- Market Talk                          Dow Jones Newswires Chinese (English)
9/22/2014    7:30:00 AM      9/22/2014        Press Release: Alibaba Group Announces Exercise of Underwriters' Option to Purchase AddDow Jones Institutional News
9/22/2014    7:32:00 AM      9/22/2014        Alibaba Group Announces Exercise Of Underwriters' Option To Purchase Additional ADSs Dow Jones Newswires Chinese (English)
9/22/2014    7:34:00 AM      9/22/2014        Alibaba Group: Underwriters Haver Exercised Option To Purchase Added 48 Million ADSsDow Jones Newswires Chinese (English)
9/22/2014    7:35:00 AM      9/22/2014        Alibaba Pictures: Independent Audit Available by November                              Dow Jones Institutional News
9/22/2014    7:39:00 AM      9/22/2014        Alibaba Pictures: Independent Audit Available by November                              Dow Jones Newswires Chinese (English)
9/22/2014    8:17:00 AM      9/22/2014        Alibaba Worth $2.45B More Than at Friday's Close -- Market Talk                        Dow Jones Institutional News
9/22/2014    8:17:00 AM      9/22/2014        Alibaba Worth $2.45B More Than at Friday's Close -- Market Talk                        Dow Jones Institutional News
9/22/2014    8:22:00 AM      9/22/2014        Asian Investors Come Up Short In Alibaba IPO -2-                                       Dow Jones Newswires Chinese (English)
9/22/2014    8:22:00 AM      9/22/2014        Asian Investors Come Up Short In Alibaba IPO                                           Dow Jones Newswires Chinese (English)
9/22/2014    8:23:00 AM      9/22/2014        Asian Investors Come Up Short In Alibaba IPO -3-                                       Dow Jones Newswires Chinese (English)
9/22/2014    8:36:00 AM      9/22/2014        Alibaba Worth $2.45B More Than at Friday's Close -- Market Talk                        Dow Jones Newswires Chinese (English)
9/22/2014    8:41:00 AM      9/22/2014        Alibaba Worth $2.45B More Than at Friday's Close -- Market Talk                        Dow Jones Newswires Chinese (English)
9/22/2014    9:06:00 AM      9/22/2014        Alibaba Pictures: Results of Independent Audit Ready by Nov                            Dow Jones Newswires Chinese (English)
9/22/2014   10:19:00 AM      9/22/2014        Bernstein Downgrades Yahoo After Alibaba IPO -- Market Talk                            Dow Jones Institutional News
9/22/2014   10:19:00 AM      9/22/2014        Bernstein Downgrades Yahoo After Alibaba IPO -- Market Talk                            Dow Jones Institutional News
9/22/2014   11:51:00 AM      9/22/2014        What Happens to Yahoo's Stock Now that Alibaba Is Public?                              Dow Jones Institutional News
9/22/2014    1:54:00 PM      9/22/2014        $100 Too Rich for Alibaba? How About $125? -- Market Talk                              Dow Jones Institutional News
9/22/2014    1:54:00 PM      9/22/2014        $100 Too Rich for Alibaba? How About $125? -- Market Talk                              Dow Jones Institutional News
9/22/2014    3:03:00 PM      9/22/2014        Green Shoe Boosts Banker Fees on Alibaba IPO                                           Dow Jones Institutional News
9/22/2014    7:40:00 PM      9/23/2014        How Startups View Alibaba As An Active Investor                                        Dow Jones Institutional News
9/22/2014    9:51:00 PM      9/23/2014        Alibaba Deal Pummels Yahoo Stock                                                       Dow Jones Institutional News
9/23/2014   12:33:00 AM      9/23/2014        How Startups View Alibaba As An Active Investor -2-                                    Dow Jones Newswires Chinese (English)
9/23/2014   12:33:00 AM      9/23/2014        How Startups View Alibaba As An Active Investor                                        Dow Jones Newswires Chinese (English)
9/23/2014   12:35:00 AM      9/23/2014        How Startups View Alibaba As An Active Investor -4-                                    Dow Jones Newswires Chinese (English)
9/23/2014   12:35:00 AM      9/23/2014        How Startups View Alibaba As An Active Investor -3-                                    Dow Jones Newswires Chinese (English)
9/23/2014    1:11:00 AM      9/23/2014        Oh Alibaba, When Will We See Your Like Again? -- Market Talk                           Dow Jones Institutional News
9/23/2014    1:13:00 AM      9/23/2014        Alibaba the Investor: How Its Startups View the Company                                Dow Jones Institutional News
9/23/2014    1:43:00 AM      9/23/2014        Oh Alibaba, When Will We See Your Like Again? -- Market Talk                           Dow Jones Newswires Chinese (English)
9/23/2014    2:12:00 AM      9/23/2014        What Happens to Yahoo's Stock Now that Alibaba Is Public?                              Dow Jones Newswires Chinese (English)
9/23/2014    2:17:00 AM      9/23/2014        What Happens to Yahoo's Stock Now that Alibaba Is Public? -2-                          Dow Jones Newswires Chinese (English)
9/23/2014    2:43:00 AM      9/23/2014        Oh Alibaba, When Will We See Your Like Again? -- Market Talk                           Dow Jones Newswires Chinese (English)
9/23/2014    3:33:00 AM      9/23/2014        What Indians Are Selling on Alibaba -2-                                                Dow Jones Newswires Chinese (English)
9/23/2014    3:33:00 AM      9/23/2014        What Indians Are Selling on Alibaba                                                    Dow Jones Newswires Chinese (English)
9/23/2014    3:34:00 AM      9/23/2014        What Indians Are Selling on Alibaba -3-                                                Dow Jones Newswires Chinese (English)
9/23/2014    4:11:00 AM      9/23/2014        Alibaba's Jack Ma Is Richest Person in China, Survey Shows                             Dow Jones Institutional News
9/23/2014    4:47:00 AM      9/23/2014        Asia Roundup: China Techs Fall After Alibaba IPO -- Barron's Blog                      Dow Jones Institutional News
9/23/2014    5:29:00 AM      9/23/2014        Alibaba's Jack Ma Is Richest Person in China, Survey Shows                             Dow Jones Newswires Chinese (English)
9/23/2014    7:02:00 AM      9/23/2014        SoftBank's Alibaba Alchemy: How to Turn $20 Million Into $50 Billion                   Dow Jones Newswires Korean (English)
9/23/2014    8:00:00 AM      9/23/2014        Press Release: Alibaba Joins FIDO Alliance Board of Directors                          Dow Jones Institutional News
9/23/2014    8:08:00 AM      9/23/2014        The Expensive Search for India's Alibaba -- Heard on the Street                        Dow Jones Institutional News
9/23/2014    8:30:00 AM      9/23/2014        How Alibaba Makes Money from Ads                                                       Dow Jones Institutional News




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                                                                         Exhibit 2
                                                              Alibaba Group Holding Limited
                                                                   Materials Considered
                                          List of Stories from Factiva Dow Jones used in Exhibits 8a, 8c, and 8d


  Date         Time        Effective Date                                           Title                                                             News Source
   (1)          (2)              (3)                                                 (4)                                                                  (5)

 9/23/2014    9:03:00 AM      9/23/2014        Alibaba's Jack Ma Is China's Richest Person, Survey Shows--Update                         Dow Jones Institutional News
 9/23/2014    9:59:00 AM      9/23/2014        Alibaba's Jack Ma Is China's Richest Person, Survey Shows--Update -2-                     Dow Jones Newswires Chinese (English)
 9/23/2014    9:59:00 AM      9/23/2014        Alibaba's Jack Ma Is China's Richest Person, Survey Shows--Update                         Dow Jones Newswires Chinese (English)
 9/23/2014   10:00:00 AM      9/23/2014        Alibaba's Jack Ma Is China's Richest Person, Survey Shows--Update -4-                     Dow Jones Newswires Chinese (English)
 9/23/2014   10:00:00 AM      9/23/2014        Alibaba's Jack Ma Is China's Richest Person, Survey Shows--Update -3-                     Dow Jones Newswires Chinese (English)
 9/23/2014    8:02:00 PM      9/24/2014        Alibaba Not Worth Pursuing Above $83? Q3 Growth Robust -- Barron's Blog                   Dow Jones Institutional News
 9/23/2014    8:18:00 PM      9/24/2014        Expensive Search For Next Alibaba Among Indian Tech Stocks -- Heard On The Street         Dow Jones Institutional News
 9/23/2014    9:00:00 PM      9/24/2014        How Alibaba Makes Money from Ads -2-                                                      Dow Jones Newswires Chinese (English)
 9/23/2014    9:00:00 PM      9/24/2014        How Alibaba Makes Money from Ads                                                          Dow Jones Newswires Chinese (English)
 9/23/2014    9:01:00 PM      9/24/2014        How Alibaba Makes Money from Ads -3-                                                      Dow Jones Newswires Chinese (English)
 9/23/2014   11:12:00 PM      9/24/2014        Nikkei Down 0.3%; SoftBank, Yahoo Japan Weak Post Alibaba IPO -- Market Talk              Dow Jones Institutional News
 9/24/2014   12:37:00 AM      9/24/2014        SoftBank, Yahoo Japan Continue Fall After Alibaba Listing in NY -- Market Talk            Dow Jones Institutional News
 9/24/2014   12:42:00 AM      9/24/2014        Why Buy Softbank Now That Alibaba Is Public? -- Barron's Blog                             Dow Jones Institutional News
 9/24/2014    5:06:00 AM      9/24/2014        Alibaba's Jack Ma Is China's Richest Person, Survey Shows                                 Dow Jones Newswires Korean (English)
 9/24/2014    6:02:00 AM      9/24/2014        Common Misconceptions About Alibaba                                                       Dow Jones Newswires Korean (English)
 9/24/2014   11:25:00 AM      9/24/2014        Press Release: Citi Appointed Depositary Bank for Alibaba Group Holding Limited's Spons Dow Jones Institutional News
 9/24/2014   11:37:00 AM      9/24/2014        Citi Appointed Depositary Bank For Alibaba Group Holding Limited's Sponsored ADR Pro Dow Jones Newswires Chinese (English)
 9/25/2014    9:46:00 AM      9/25/2014        Alibaba Could Become a Victim of its Success                                              Dow Jones Institutional News
 9/25/2014   12:45:00 PM      9/25/2014        Yahoo Loses Some Analysts Backing After Alibaba IPO -- Market Talk                        Dow Jones Institutional News
 9/25/2014   12:45:00 PM      9/25/2014        Yahoo Loses Some Analysts Backing After Alibaba IPO -- Market Talk                        Dow Jones Institutional News
 9/25/2014    3:27:00 PM      9/25/2014        Third Stock Downgrade Hits Yahoo Since Alibaba IPO                                        Dow Jones Institutional News
 9/26/2014    1:15:00 AM      9/26/2014        Alibaba Gains First Index Inclusion -- Market Talk                                        Dow Jones Institutional News
 9/26/2014    1:15:00 AM      9/26/2014        Alibaba Gains First Index Inclusion -- Market Talk                                        Dow Jones Institutional News
 9/26/2014    4:00:00 AM      9/26/2014        Alibaba Could Become a Victim of its Success                                              Dow Jones Newswires Korean (English)
 9/26/2014    7:12:00 AM      9/26/2014        China's Yuan Hits New Half-Year High, This Time Due to Alibaba                            Dow Jones Institutional News
 9/26/2014    8:39:00 AM      9/26/2014        China's Yuan Hits New Half-Year High, This Time Due to Alibaba                            Dow Jones Newswires Chinese (English)
 9/26/2014   11:36:00 AM      9/26/2014        Alibaba Options Could Trade Like Facebook's -- Market Talk                                Dow Jones Institutional News
 9/26/2014   11:36:00 AM      9/26/2014        Alibaba Options Could Trade Like Facebook's -- Market Talk                                Dow Jones Institutional News
 9/26/2014    1:53:00 PM      9/26/2014        Alibaba Gives Bigger Share of IPO Incentive Fees to Credit Suisse, Morgan Stanley -- Sour Dow Jones Institutional News
 9/26/2014    2:01:00 PM      9/26/2014        Alibaba Gives Bigger Share of IPO Incentive Fees to Credit Suisse, Morgan Stanley -- Sour Dow Jones Newswires Chinese (English)
 9/26/2014    2:42:00 PM      9/26/2014        Alibaba Gives Bigger Incentive Fees to Credit Suisse, Morgan Stanley -- Update            Dow Jones Institutional News
 9/27/2014   12:05:00 AM      9/29/2014        The Striking Price: Alibaba Options Look Attractive -- Barron's                           Dow Jones Institutional News
 9/28/2014    2:17:00 AM      9/29/2014        SoftBank's Masayoshi Son Wants Dream Home for Alibaba Riches                              Dow Jones Institutional News
 9/28/2014    8:38:00 PM      9/29/2014        Alibaba Group Buys 15% Stake In Beijing Shiji Information Technology -- Filing            Dow Jones Institutional News
 9/28/2014    8:39:00 PM      9/29/2014        Alibaba Group Buys 15% Stake In Beijing Shiji Information Technology -- Filing            Dow Jones Newswires Chinese (English)
 9/28/2014    8:52:00 PM      9/29/2014        Alibaba Buys 15% Stake In Beijing Shiji Information Technology For About $457 Million Dow Jones Newswires Chinese (English)
 9/28/2014    9:31:00 PM      9/29/2014        Alibaba Buys Stake in Chinese Hotel-Tech Company - Update                                 Dow Jones Institutional News
 9/28/2014   10:46:00 PM      9/29/2014        Alibaba Acquisition Spree Picks up Pace -- Market Talk                                    Dow Jones Institutional News
 9/28/2014   11:01:00 PM      9/29/2014        Alibaba Buys Stake in Chinese Hotel-Tech Company -- 2nd Update                            Dow Jones Institutional News
 9/28/2014   11:04:00 PM      9/29/2014        Alibaba Acquisition Spree Picks up Pace -- Market Talk                                    Dow Jones Newswires Chinese (English)
 9/28/2014   11:35:00 PM      9/29/2014        Beijing Shiji Info Tech Limits up on Alibaba Investment -- Market Talk                    Dow Jones Institutional News
 9/28/2014   11:56:00 PM      9/29/2014        Beijing Shiji Info Tech Limits up on Alibaba Investment -- Market Talk                    Dow Jones Newswires Chinese (English)
 9/29/2014   12:04:00 AM      9/29/2014        Alibaba Acquisition Spree Picks up Pace -- Market Talk                                    Dow Jones Newswires Chinese (English)
 9/29/2014   12:56:00 AM      9/29/2014        Beijing Shiji Info Tech Limits up on Alibaba Investment -- Market Talk                    Dow Jones Newswires Chinese (English)
 9/29/2014    1:56:00 AM      9/29/2014        Alibaba Affiliate Wins Approval to Start Private Bank                                     Dow Jones Institutional News
 9/29/2014    5:13:00 AM      9/29/2014        Alibaba Buys Stake in Chinese Hotel-Tech Company                                          Dow Jones Newswires Korean (English)
 9/29/2014    6:04:00 AM      9/29/2014        SoftBank Loses Some Luster After Alibaba IPO                                              Dow Jones Institutional News
 9/29/2014    8:02:00 AM      9/29/2014        Alibaba Group Started at Positive by Susquehanna >BABA                                    Dow Jones Institutional News
 9/29/2014    8:04:00 AM      9/29/2014        Alibaba Group Started at Positive by Susquehanna >BABA                                    Dow Jones Newswires Chinese (English)
 9/29/2014   10:56:00 AM      9/29/2014        Alibaba Helps Fuel Surge in U.S. IPOs                                                     Dow Jones Institutional News
 9/29/2014   12:44:00 PM      9/29/2014        Short Sellers in 'No Rush' to Bet Against Alibaba                                         Dow Jones Institutional News
 9/29/2014    1:00:00 PM      9/29/2014        Short Sellers in 'No Rush' to Bet Against Alibaba                                         Dow Jones Institutional News
 9/29/2014    3:30:00 PM      9/29/2014        Short Sellers in 'No Rush' to Bet Against Alibaba                                         Dow Jones Institutional News
 9/29/2014    9:48:00 PM      9/30/2014        Short Sellers in 'No Rush' to Bet Against Alibaba                                         Dow Jones Newswires Chinese (English)
 9/29/2014    9:49:00 PM      9/30/2014        Short Sellers in 'No Rush' to Bet Against Alibaba -2-                                     Dow Jones Newswires Chinese (English)
 9/29/2014   10:39:00 PM      9/30/2014        Press Release: Alibaba Group Announces Strategic Investment in Shiji Information TechnolDow Jones Institutional News
 9/29/2014   10:40:00 PM      9/30/2014        Alibaba Group Announces Strategic Investment In Shiji Information Technology              Dow Jones Newswires Chinese (English)
 9/29/2014   10:41:00 PM      9/30/2014        Alibaba to Get 15% Stake in Beijing Shiji Information Technology                          Dow Jones Newswires Chinese (English)
 9/29/2014   10:41:00 PM      9/30/2014        Alibaba: Taobao to Invest RMB2.81 Billion in Beijing Shiji Information Technology Co      Dow Jones Newswires Chinese (English)
 9/29/2014   10:43:00 PM      9/30/2014        Alibaba Will Have One Seat on Board of Shiji Information Technology                       Dow Jones Newswires Chinese (English)
 9/29/2014   10:44:00 PM      9/30/2014        Alibaba: Investment Aimed at Bolstering Online Travel Market Service Capabilities         Dow Jones Newswires Chinese (English)
 9/29/2014   10:48:00 PM      9/30/2014        Short Sellers in 'No Rush' to Bet Against Alibaba                                         Dow Jones Newswires Chinese (English)
 9/29/2014   10:49:00 PM      9/30/2014        Short Sellers in 'No Rush' to Bet Against Alibaba -2-                                     Dow Jones Newswires Chinese (English)
 9/29/2014   11:17:00 PM      9/30/2014        Option Traders Bullish on Alibaba                                                         Dow Jones Institutional News
 9/30/2014    1:04:00 AM      9/30/2014        Next Battleground for Alibaba, Tencent: Financial Services                                Dow Jones Institutional News
 9/30/2014    3:28:00 AM      9/30/2014        Next Battleground for Alibaba, Tencent: Financial Services                                Dow Jones Newswires Chinese (English)
 9/30/2014    3:29:00 AM      9/30/2014        Next Battleground for Alibaba, Tencent: Financial Services -3-                            Dow Jones Newswires Chinese (English)
 9/30/2014    3:29:00 AM      9/30/2014        Next Battleground for Alibaba, Tencent: Financial Services -2-                            Dow Jones Newswires Chinese (English)
 10/1/2014   12:25:00 PM      10/1/2014        Mixed Alibaba Options Activity as Shares Decline -- Market Talk                           Dow Jones Institutional News
 10/1/2014    1:24:00 PM      10/1/2014        Wayfair IPO Marks First Test For E-Commerce Offering In Alibaba's Wake                    Dow Jones Institutional News
 10/2/2014    4:15:00 PM      10/3/2014        Press Release: KraneShares CSI China Internet ETF (Nasdaq Ticker: KWEB) will own AlibDow Jones Institutional News
 10/5/2014    1:09:00 PM      10/6/2014        Alibaba IPO's Short-Lived Halo Effect -- Heard on the Street                              Dow Jones Institutional News
 10/6/2014    1:26:00 AM      10/6/2014        Alibaba IPO's Short-Lived Halo Effect -- Heard on the Street                              Dow Jones Newswires Chinese (English)
 10/7/2014    4:33:00 AM      10/7/2014        Heard on the Street: Flipkart's Alibaba Worship -- Market Talk                            Dow Jones Institutional News
 10/9/2014    3:30:00 PM      10/9/2014        Alibaba Seems So Long Ago: IPOs Hit Rough Patch                                           Dow Jones Institutional News
 10/9/2014    6:27:00 PM     10/10/2014        Alibaba Invests in Control-Tech Company Peel Technologies -- Market Talk                  Dow Jones Institutional News
 10/9/2014    6:27:00 PM     10/10/2014        Alibaba Invests in Control-Tech Company Peel Technologies -- Market Talk                  Dow Jones Institutional News
10/10/2014    3:52:00 PM     10/10/2014        After Going Big, Early Alibaba Backer GGV Capital Goes Small for Totspot                  Dow Jones Institutional News
10/13/2014    2:52:00 AM     10/13/2014        Artificially Inflated Smartphone Sales Lead to Questions for Alibaba                      Dow Jones Institutional News
10/13/2014    3:47:00 AM     10/13/2014        Artificially Inflated Smartphone Sales Lead to Questions for Alibaba                      Dow Jones Newswires Chinese (English)
10/13/2014    3:49:00 AM     10/13/2014        Artificially Inflated Smartphone Sales Lead to Questions for Alibaba -2-                  Dow Jones Newswires Chinese (English)




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                                                                         Exhibit 2
                                                              Alibaba Group Holding Limited
                                                                   Materials Considered
                                          List of Stories from Factiva Dow Jones used in Exhibits 8a, 8c, and 8d


  Date         Time        Effective Date                                           Title                                                            News Source
   (1)          (2)              (3)                                                 (4)                                                                 (5)

10/14/2014    3:32:00 AM     10/14/2014        Philips, Alibaba Launch Smart Air Purifier in China                                    Dow Jones Institutional News
10/14/2014    3:47:00 AM     10/14/2014        Philips, Alibaba Launch Smart Air Purifier in China                                    Dow Jones Institutional News
10/14/2014    4:00:00 AM     10/14/2014        Philips, Alibaba Launch Smart Air Purifier in China                                    Dow Jones Newswires Chinese (English)
10/14/2014    4:05:00 AM     10/14/2014        Press Release: Costco Makes China Market Debut Through Alibaba Group's Tmall Global PDow Jones Institutional News
10/14/2014    4:07:00 AM     10/14/2014        Costco Makes China Market Debut Through Alibaba Group's Tmall Global Platform          Dow Jones Newswires Chinese (English)
10/14/2014    6:36:00 AM     10/14/2014        Costco Makes First Foray into China Via Alibaba                                        Dow Jones Institutional News
10/14/2014    7:00:00 AM     10/14/2014        Costco Makes First Foray into China Via Alibaba                                        Dow Jones Newswires Chinese (English)
10/14/2014   12:13:00 PM     10/14/2014        Alibaba Started at Buy by UBS >BABA                                                    Dow Jones Institutional News
10/15/2014   10:55:00 PM     10/16/2014        Alibaba Financial Affiliate: Alipay Mobile App Has 190 Million Active Users            Dow Jones Institutional News
10/15/2014   10:57:00 PM     10/16/2014        Alibaba Financial Affiliate: Alipay Mobile App Has 190 Million Active Users            Dow Jones Newswires Chinese (English)
10/16/2014    3:35:00 AM     10/16/2014        Alibaba Financial Services Affiliate CEO: No current Plans to Do IPO                   Dow Jones Institutional News
10/16/2014    3:39:00 AM     10/16/2014        Alibaba Financial Services Affiliate CEO: No Timetable For Any IPO                     Dow Jones Newswires Chinese (English)
10/16/2014    3:39:00 AM     10/16/2014        Alibaba Financial Services Affiliate CEO: No current Plans to Do IPO                   Dow Jones Newswires Chinese (English)
10/16/2014    4:16:00 AM     10/16/2014        Alibaba's Alipay Turns to Faces, Fingerprints for Security                             Dow Jones Institutional News
10/16/2014    7:19:00 AM     10/16/2014        Alibaba's Alipay Turns to Faces, Fingerprints for Security                             Dow Jones Newswires Chinese (English)
10/16/2014    7:20:00 AM     10/16/2014        Alibaba's Alipay Turns to Faces, Fingerprints for Security -3-                         Dow Jones Newswires Chinese (English)
10/16/2014    7:20:00 AM     10/16/2014        Alibaba's Alipay Turns to Faces, Fingerprints for Security -2-                         Dow Jones Newswires Chinese (English)
10/16/2014   11:48:00 AM     10/16/2014        Will Yahoo Use Alibaba Bounty to Play Catch-Up? -- Market Talk                         Dow Jones Institutional News
10/16/2014   11:48:00 AM     10/16/2014        Will Yahoo Use Alibaba Bounty to Play Catch-Up? -- Market Talk                         Dow Jones Institutional News
10/16/2014    8:00:00 PM     10/17/2014        Alibaba Partners With Quixey, Aims for "Deep Mobile Search" in China                   Dow Jones Institutional News
10/16/2014   10:11:00 PM     10/17/2014        Alibaba Partners With Quixey, Aims for "Deep Mobile Search" in China                   Dow Jones Newswires Chinese (English)
10/16/2014   10:12:00 PM     10/17/2014        Alibaba Partners With Quixey, Aims for "Deep Mobile Search" in China -2-               Dow Jones Newswires Chinese (English)
10/16/2014   10:14:00 PM     10/17/2014        Alibaba Partners With Quixey, Aims for "Deep Mobile Search" in China -3-               Dow Jones Newswires Chinese (English)
10/16/2014   10:16:00 PM     10/17/2014        Alibaba Partners With Quixey, Aims for "Deep Mobile Search" in China -5-               Dow Jones Newswires Chinese (English)
10/16/2014   10:16:00 PM     10/17/2014        Alibaba Partners With Quixey, Aims for "Deep Mobile Search" in China -4-               Dow Jones Newswires Chinese (English)
10/16/2014   10:18:00 PM     10/17/2014        Alibaba Partners With Quixey, Aims for "Deep Mobile Search" in China                   Dow Jones Newswires Chinese (English)
10/16/2014   11:38:00 PM     10/17/2014        Alibaba Promotes Cloud Computing at Hangzhou Conference -- Market Talk                 Dow Jones Institutional News
10/17/2014   12:08:00 AM     10/17/2014        Alibaba Promotes Cloud Computing at Hangzhou Conference -- Market Talk                 Dow Jones Newswires Chinese (English)
10/17/2014    5:11:00 AM     10/17/2014        Alibaba Technology Head Touts Promise of Cloud Business -- Market Talk                 Dow Jones Institutional News
10/17/2014    5:47:00 AM     10/17/2014        Alibaba Technology Head Touts Promise of Cloud Business -- Market Talk                 Dow Jones Newswires Chinese (English)
10/17/2014    7:55:00 AM     10/17/2014        Alibaba Heads Into the Cloud                                                           Dow Jones Institutional News
10/17/2014   10:19:00 AM     10/17/2014        Alibaba Heads Into the Cloud                                                           Dow Jones Newswires Chinese (English)
10/17/2014   10:20:00 AM     10/17/2014        Alibaba Heads Into the Cloud -2-                                                       Dow Jones Newswires Chinese (English)
10/17/2014   10:21:00 AM     10/17/2014        Alibaba Heads Into the Cloud -3-                                                       Dow Jones Newswires Chinese (English)
10/17/2014   11:44:00 AM     10/17/2014        SEC Had Above-Average Number of Comments on Alibaba IPO -- Market Talk                 Dow Jones Institutional News
10/17/2014   11:44:00 AM     10/17/2014        SEC Had Above-Average Number of Comments on Alibaba IPO -- Market Talk                 Dow Jones Institutional News
10/17/2014    6:02:00 PM     10/20/2014        Five Comments About Structure That The SEC Had For Alibaba                             Dow Jones Institutional News
10/19/2014   11:05:00 PM     10/20/2014        Why Alibaba Chairman Jack Ma Invested in Hundsun                                       Dow Jones Institutional News
10/20/2014   12:52:00 AM     10/20/2014        Why Alibaba Chairman Jack Ma Invested in Hundsun                                       Dow Jones Newswires Chinese (English)
10/20/2014   12:53:00 AM     10/20/2014        Why Alibaba Chairman Jack Ma Invested in Hundsun -2-                                   Dow Jones Newswires Chinese (English)
10/20/2014    3:33:00 AM     10/20/2014        Five Questions SEC Posed to Alibaba -4-                                                Dow Jones Newswires Chinese (English)
10/20/2014    3:33:00 AM     10/20/2014        Five Questions SEC Posed to Alibaba -3-                                                Dow Jones Newswires Chinese (English)
10/20/2014    3:33:00 AM     10/20/2014        Five Questions SEC Posed to Alibaba -2-                                                Dow Jones Newswires Chinese (English)
10/20/2014    3:33:00 AM     10/20/2014        Five Questions SEC Posed to Alibaba                                                    Dow Jones Newswires Chinese (English)
10/20/2014   11:09:00 AM     10/20/2014        Why Alibaba's Jack Ma Invested in Hundsun                                              Dow Jones Top Global Market Stories
10/20/2014   11:23:00 AM     10/20/2014        Why Alibaba's Jack Ma Invested in Hundsun                                              Dow Jones Top North American Equities Stories
10/21/2014    8:13:00 AM     10/21/2014        Press Release: Alibaba Group Will Announce September Quarter 2014 Results on NovembeDow Jones Institutional News
10/21/2014    8:14:00 AM     10/21/2014        Alibaba Group Will Announce Sept Qtr 2014 Results On Nov 4, 2014                       Dow Jones Newswires Chinese (English)
10/21/2014    9:01:00 AM     10/21/2014        Press Release: Alibaba.com and Bigcommerce Streamline Sourcing to Selling for Online BuDow Jones Institutional News
10/21/2014    4:43:00 PM     10/22/2014        Yahoo's Alibaba IPO Riches: $6.3 Billion                                               Dow Jones Institutional News
10/21/2014    4:57:00 PM     10/22/2014        Yahoo Details Alibaba Payout -- Market Talk                                            Dow Jones Institutional News
10/21/2014    4:57:00 PM     10/22/2014        Yahoo Details Alibaba Payout -- Market Talk                                            Dow Jones Institutional News
10/22/2014   10:56:00 PM     10/23/2014        Alibaba Going Hollywood? -- Barron's Blog                                              Dow Jones Institutional News
10/23/2014    7:35:00 AM     10/23/2014        Yahoo Set to Deliver an Alibaba Tax Shield -- Barron's                                 Dow Jones Institutional News
10/23/2014    7:50:00 AM     10/23/2014        Yahoo Set to Deliver an Alibaba Tax Shield -- Barron's                                 Dow Jones Institutional News
10/23/2014    8:58:00 AM     10/23/2014        Alibaba Started at Overweight by Barclays >BABA                                        Dow Jones Institutional News
10/23/2014    8:59:00 AM     10/23/2014        Alibaba Started at Overweight by Barclays >BABA                                        Dow Jones Newswires Chinese (English)
10/23/2014    3:07:00 PM     10/23/2014        Alibaba Poised to Set Fresh Closing High For First Time Since Debut                    Dow Jones Institutional News
10/23/2014    6:27:00 PM     10/24/2014        Barclays Analysts Initiate Alibaba at Buy, Target $107 -- Market Talk                  Dow Jones Institutional News
10/24/2014    9:27:00 AM     10/24/2014        Alibaba Started at Outperform by BMO >BABA                                             Dow Jones Newswires Chinese (English)
10/24/2014    9:27:00 AM     10/24/2014        Alibaba Started at Outperform by BMO >BABA                                             Dow Jones Institutional News
10/27/2014   12:25:00 AM     10/27/2014        Alibaba: Jefferies, BMO Start At Buy, But Valuations Vary -- Barron's Blog             Dow Jones Institutional News
10/27/2014    9:00:00 AM     10/27/2014        China Venture Fundraising Plummets in 3Q Amid Alibaba Euphoria                         Dow Jones Institutional News
10/27/2014    9:25:00 AM     10/27/2014        Alibaba Started at Buy by Jefferies >BABA                                              Dow Jones Institutional News
10/27/2014    9:26:00 AM     10/27/2014        Alibaba Started at Buy by Jefferies >BABA                                              Dow Jones Newswires Chinese (English)
10/27/2014    7:56:00 PM     10/28/2014        Alibaba: Option Volume Up, Profit-Taking At $102 -- Barron's Blog                      Dow Jones Institutional News
10/27/2014    9:34:00 PM     10/28/2014        China Venture Fundraising Plummets in 3Q Amid Alibaba Euphoria                         Dow Jones Newswires Chinese (English)
10/27/2014    9:34:00 PM     10/28/2014        China Venture Fundraising Plummets in 3Q Amid Alibaba Euphoria -2-                     Dow Jones Newswires Chinese (English)
10/27/2014    9:36:00 PM     10/28/2014        China Venture Fundraising Plummets in 3Q Amid Alibaba Euphoria -3-                     Dow Jones Newswires Chinese (English)
10/27/2014    9:43:00 PM     10/28/2014        China Venture Fundraising Plummets in 3Q Amid Alibaba Euphoria                         Dow Jones Newswires Chinese (English)
10/27/2014   10:55:00 PM     10/28/2014        Press Release: Alibaba Group Announces New "Alitrip" Brand and Domain Name, Shares SDow Jones Institutional News
10/27/2014   10:57:00 PM     10/28/2014        Alibaba Exec Chairman Ma: To Invest More in U.S.                                       Dow Jones Institutional News
10/27/2014   10:59:00 PM     10/28/2014        Alibaba Group Announces New "Alitrip" Brand And Domain Name, Shares Strategy To En Dow Jones Newswires Chinese (English)
10/27/2014   11:00:00 PM     10/28/2014        Alibaba Group Says Its Online Travel Business, Taobao Travel Will Become Independent BDow Jones Newswires Chinese (English)
10/27/2014   11:03:00 PM     10/28/2014        Alibaba Exec Chairman Ma: To Invest More in U.S.                                       Dow Jones Newswires Chinese (English)
10/27/2014   11:04:00 PM     10/28/2014        Alibaba Exec Chairman Ma: Alipay Financial Payment Service Has 300M Active Users       Dow Jones Newswires Chinese (English)
10/27/2014   11:12:00 PM     10/28/2014        Alibaba Exec Chairman Ma: Interested in Cooperation With Apple on Financial Payment Dow Jones Newswires Chinese (English)
10/27/2014   11:18:00 PM     10/28/2014        Alibaba Exec Chairman Ma: China Will Be Biggest Movie Market in the World              Dow Jones Newswires Chinese (English)
10/27/2014   11:19:00 PM     10/28/2014        Alibaba's Ma: To Put More Resources in Education                                       Dow Jones Newswires Chinese (English)
10/27/2014   11:20:00 PM     10/28/2014        Alibaba Ma: Looking for Partners in the Movie Business                                 Dow Jones Newswires Chinese (English)
10/27/2014   11:20:00 PM     10/28/2014        Alibaba Ma: Lots of Opportunities in China Education                                   Dow Jones Newswires Chinese (English)




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                                                                         Exhibit 2
                                                              Alibaba Group Holding Limited
                                                                   Materials Considered
                                          List of Stories from Factiva Dow Jones used in Exhibits 8a, 8c, and 8d


  Date         Time        Effective Date                                          Title                                                          News Source
   (1)          (2)              (3)                                                (4)                                                               (5)

10/27/2014   11:20:00 PM     10/28/2014        Alibaba's Jack Ma Demurs on eBay Acquisition Query -- Market Talk                   Dow Jones Institutional News
10/27/2014   11:22:00 PM     10/28/2014        Alibaba Exec Chairman Ma: See Great Opportunities in E-Commerce in U.S.             Dow Jones Newswires Chinese (English)
10/27/2014   11:36:00 PM     10/28/2014        Alibaba Interested in Apple Payment Partnership: Jack Ma -- Market Talk             Dow Jones Institutional News
10/27/2014   11:42:00 PM     10/28/2014        Alibaba's Jack Ma Demurs on eBay Acquisition Query -- Market Talk                   Dow Jones Newswires Chinese (English)
10/27/2014   11:50:00 PM     10/28/2014        Alibaba Interested in Apple Payment Partnership: Jack Ma -- Market Talk             Dow Jones Newswires Chinese (English)
10/27/2014   11:58:00 PM     10/28/2014        Apple CEO Cook Says Would Love to Partner With Alibaba, Possibly on Apple Pay       Dow Jones Newswires Chinese (English)
10/28/2014   12:22:00 AM     10/28/2014        Apple Would Love to Partner With Alibaba on Mobile Payment -- Market Talk           Dow Jones Institutional News
10/28/2014   12:33:00 AM     10/28/2014        Alibaba Hunting for U.S. Investments, Says Jack Ma -- Market Talk                   Dow Jones Institutional News
10/28/2014   12:45:00 AM     10/28/2014        Apple Would Love to Partner With Alibaba on Mobile Payment -- Market Talk           Dow Jones Newswires Chinese (English)
10/28/2014   12:45:00 AM     10/28/2014        Alibaba Shows Interest In Apple Payments                                            Dow Jones Institutional News
10/28/2014   12:46:00 AM     10/28/2014        Alibaba Interested in Payment Partnership With Apple                                Dow Jones Institutional News
10/28/2014    1:08:00 AM     10/28/2014        Alibaba Hunting for U.S. Investments, Says Jack Ma -- Market Talk                   Dow Jones Newswires Chinese (English)
10/28/2014    1:18:00 AM     10/28/2014        Alibaba-Apple Payment Alliance Would Face Hurdles                                   Dow Jones Top Global Market Stories
10/28/2014    1:21:00 AM     10/28/2014        Alibaba Shows Interest In Apple Payments -2-                                        Dow Jones Newswires Chinese (English)
10/28/2014    1:21:00 AM     10/28/2014        Alibaba Shows Interest In Apple Payments                                            Dow Jones Newswires Chinese (English)
10/28/2014    1:35:00 AM     10/28/2014        Alibaba Shows Interest In Apple Payments -3-                                        Dow Jones Newswires Chinese (English)
10/28/2014    2:04:00 AM     10/28/2014        Alibaba Interested in Payment Partnership With Apple -- Update                      Dow Jones Institutional News
10/28/2014    2:42:00 AM     10/28/2014        Alibaba's Jack Ma Says Hong Kong Protests Not Just Political                        Dow Jones Institutional News
10/28/2014    2:51:00 AM     10/28/2014        Alibaba Interested in Payment Partnership With Apple -- Update                      Dow Jones Newswires Chinese (English)
10/28/2014    5:03:00 AM     10/28/2014        Alibaba Eyes Payments Tie-Up With Apple                                             Dow Jones Newswires Korean (English)
10/28/2014    6:39:00 AM     10/28/2014        Alibaba-Apple Payment Alliance Would Face Hurdles                                   Dow Jones Top North American Equities Stories
10/28/2014   10:41:00 AM     10/28/2014        Alibaba-Apple Payment Alliance Would Face Hurdles                                   Dow Jones Institutional News
10/28/2014   11:11:00 AM     10/28/2014        Why RBC Quit Its Lucrative Role on Giant Alibaba IPO                                Dow Jones Institutional News
10/28/2014   11:49:00 AM     10/28/2014        Yahoo at 14-Year High as Alibaba Tops $100 -- Market Talk                           Dow Jones Institutional News
10/28/2014   11:49:00 AM     10/28/2014        Yahoo at 14-Year High as Alibaba Tops $100 -- Market Talk                           Dow Jones Institutional News
10/28/2014    3:06:00 PM     10/28/2014        Alibaba's Market Value Tops Wal-Mart's -- Market Talk                               Dow Jones Institutional News
10/28/2014    3:06:00 PM     10/28/2014        Alibaba's Market Value Tops Wal-Mart's -- Market Talk                               Dow Jones Institutional News
10/28/2014    6:38:00 PM     10/29/2014        Slip-Up Cost RBC Role in Alibaba IPO                                                Dow Jones Institutional News
10/28/2014    8:44:00 PM     10/29/2014        Alibaba-Apple Payment Alliance Would Face Hurdles                                   Dow Jones Newswires Chinese (English)
10/28/2014    8:45:00 PM     10/29/2014        Alibaba-Apple Payment Alliance Would Face Hurdles -3-                               Dow Jones Newswires Chinese (English)
10/28/2014    8:45:00 PM     10/29/2014        Alibaba-Apple Payment Alliance Would Face Hurdles -2-                               Dow Jones Newswires Chinese (English)
10/28/2014    8:52:00 PM     10/29/2014        Alibaba-Apple Payment Alliance Would Face Hurdles                                   Dow Jones Newswires Chinese (English)
10/29/2014   12:57:00 AM     10/29/2014        Alibaba vs Amazon: 3rd Party Hosting Wins, Deutsche Says $112 -- Barron's Blog      Dow Jones Institutional News
10/29/2014    1:48:00 AM     10/29/2014        Alibaba: Do I Hear $120? Yes, Nomura Just Said That -- Barron's Blog                Dow Jones Institutional News
10/29/2014    3:39:00 AM     10/29/2014        Xiaomi's US$1 Billion Loan Draws 29 Banks, More Than Alibaba's $8B Loan Last Year   Dow Jones Institutional News
10/29/2014    3:41:00 AM     10/29/2014        Xiaomi's US$1 Billion Loan Draws 29 Banks, More Than Alibaba's $8B Loan Last Year   Dow Jones Newswires Chinese (English)
10/29/2014    4:50:00 AM     10/29/2014        Alibaba: $125? Yes, Really, Says Pacific Crest -- Barron's Blog                     Dow Jones Institutional News
10/29/2014    6:23:00 AM     10/29/2014        Alibaba Group Holding Started at Buy by Citigroup                                   Dow Jones Institutional News
10/29/2014    6:27:00 AM     10/29/2014        Alibaba Group Holding Started at Buy by Citigroup                                   Dow Jones Newswires Chinese (English)
10/29/2014    7:08:00 AM     10/29/2014        Alibaba vs Amazon: 3rd Party Hosting Wins                                           Dow Jones Top North American Equities Stories
10/29/2014    7:47:00 AM     10/29/2014        Goldman, Alibaba's IPO "Stabilization Agent", Says Hold -- Barron's Blog            Dow Jones Institutional News
10/29/2014    8:28:00 AM     10/29/2014        Alibaba Started at Outperform by Pacific Crest >BABA                                Dow Jones Institutional News
10/29/2014    8:28:00 AM     10/29/2014        Alibaba Started at Outperform by Pacific Crest >BABA                                Dow Jones Newswires Chinese (English)
10/29/2014    8:31:00 AM     10/29/2014        Alibaba Started at Overweight by JPMorgan >BABA                                     Dow Jones Institutional News
10/29/2014    8:31:00 AM     10/29/2014        Alibaba Started at Buy by Morgan Stanley >BABA                                      Dow Jones Institutional News
10/29/2014    8:31:00 AM     10/29/2014        Alibaba Started at Buy by Deutsche Bank >BABA                                       Dow Jones Institutional News
10/29/2014    8:32:00 AM     10/29/2014        Alibaba Started at Buy by Citigroup >BABA                                           Dow Jones Institutional News
10/29/2014    8:32:00 AM     10/29/2014        Alibaba Started at Outperform by Credit Suisse >BABA                                Dow Jones Institutional News
10/29/2014    8:32:00 AM     10/29/2014        Alibaba Started at Outperform by Credit Suisse >BABA                                Dow Jones Newswires Chinese (English)
10/29/2014    8:32:00 AM     10/29/2014        Alibaba Started at Overweight by JPMorgan >BABA                                     Dow Jones Newswires Chinese (English)
10/29/2014    8:32:00 AM     10/29/2014        Alibaba Started at Buy by Morgan Stanley >BABA                                      Dow Jones Newswires Chinese (English)
10/29/2014    8:32:00 AM     10/29/2014        Alibaba Started at Buy by Deutsche Bank >BABA                                       Dow Jones Newswires Chinese (English)
10/29/2014    8:33:00 AM     10/29/2014        Alibaba Started at Buy by Citigroup >BABA                                           Dow Jones Newswires Chinese (English)
10/29/2014    8:47:00 AM     10/29/2014        Alibaba Started at Neutral by Goldman Sachs >BABA                                   Dow Jones Institutional News
10/29/2014    8:47:00 AM     10/29/2014        Alibaba Started at Neutral by Goldman Sachs >BABA                                   Dow Jones Newswires Chinese (English)
10/29/2014    8:51:00 AM     10/29/2014        Alibaba Started at Buy by Evercore Partners >BABA                                   Dow Jones Institutional News
10/29/2014    8:52:00 AM     10/29/2014        Alibaba Started at Buy by Evercore Partners >BABA                                   Dow Jones Newswires Chinese (English)
10/29/2014    8:52:00 AM     10/29/2014        Alibaba Started at Buy by Topeka Capital Markets >BABA                              Dow Jones Institutional News
10/29/2014    8:53:00 AM     10/29/2014        Alibaba Started at Buy by Topeka Capital Markets >BABA                              Dow Jones Newswires Chinese (English)
10/29/2014    8:57:00 AM     10/29/2014        Alibaba Underwriters Join Its Other Cheerleaders -- Market Talk                     Dow Jones Institutional News
10/29/2014    8:57:00 AM     10/29/2014        Alibaba Underwriters Join Its Other Cheerleaders -- Market Talk                     Dow Jones Institutional News
10/29/2014    8:59:00 AM     10/29/2014        Alibaba Started at Buy by Stifel Nicolaus >BABA                                     Dow Jones Institutional News
10/29/2014    9:01:00 AM     10/29/2014        Alibaba Started at Buy by Stifel Nicolaus >BABA                                     Dow Jones Newswires Chinese (English)
10/29/2014    9:15:00 AM     10/29/2014        Alibaba Started at Outperform by Raymond James >BABA                                Dow Jones Institutional News
10/29/2014    9:16:00 AM     10/29/2014        Goldman Only Goes Neutral on Alibaba -- Market Talk                                 Dow Jones Institutional News
10/29/2014    9:16:00 AM     10/29/2014        Alibaba Underwriters Join Its Other Cheerleaders -- Market Talk                     Dow Jones Newswires Chinese (English)
10/29/2014    9:16:00 AM     10/29/2014        Alibaba Started at Outperform by Raymond James >BABA                                Dow Jones Newswires Chinese (English)
10/29/2014    9:32:00 AM     10/29/2014        Alibaba Started at Buy by SunTrust Robinson Humphrey >BABA                          Dow Jones Institutional News
10/29/2014    9:33:00 AM     10/29/2014        Alibaba Started at Buy by SunTrust Robinson Humphrey >BABA                          Dow Jones Newswires Chinese (English)
10/29/2014    9:34:00 AM     10/29/2014        Alibaba Started at Outperform by RBC >BABA                                          Dow Jones Institutional News
10/29/2014    9:35:00 AM     10/29/2014        Alibaba Started at Outperform by RBC >BABA                                          Dow Jones Newswires Chinese (English)
10/29/2014   10:57:00 AM     10/29/2014        Alibaba Finds More Friends on Wall Street                                           Dow Jones Institutional News
10/29/2014    3:34:00 PM     10/29/2014        Alibaba vs Amazon: 3rd Party Hosting Wins                                           Dow Jones Top Global Market Stories
10/29/2014    4:47:00 PM     10/30/2014        Alibaba Started at Outperform by Wells Fargo >BABA                                  Dow Jones Institutional News
10/29/2014    4:50:00 PM     10/30/2014        Alibaba Started at Outperform by Wells Fargo >BABA                                  Dow Jones Newswires Chinese (English)
10/29/2014    5:38:00 PM     10/30/2014        Alibaba's Jack Ma Romances Hollywood                                                Dow Jones Institutional News
10/29/2014    7:47:00 PM     10/30/2014        Alibaba Retreats On Wall Street's Choral Fantasy -- Barron's Blog                   Dow Jones Institutional News
10/29/2014    8:37:00 PM     10/30/2014        Alibaba's Jack Ma Romances Hollywood                                                Dow Jones Newswires Chinese (English)
10/29/2014    8:38:00 PM     10/30/2014        Alibaba's Jack Ma Romances Hollywood -2-                                            Dow Jones Newswires Chinese (English)
10/29/2014    9:18:00 PM     10/30/2014        Alibaba's Underwriters Are Bullish on the Stock -2-                                 Dow Jones Newswires Chinese (English)
10/29/2014    9:18:00 PM     10/30/2014        Alibaba's Underwriters Are Bullish on the Stock                                     Dow Jones Newswires Chinese (English)




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                                                                         Exhibit 2
                                                              Alibaba Group Holding Limited
                                                                   Materials Considered
                                          List of Stories from Factiva Dow Jones used in Exhibits 8a, 8c, and 8d


  Date         Time        Effective Date                                           Title                                                            News Source
   (1)          (2)              (3)                                                 (4)                                                                 (5)

10/29/2014    9:19:00 PM     10/30/2014        Alibaba's Underwriters Are Bullish on the Stock -3-                                    Dow Jones Newswires Chinese (English)
10/29/2014   10:51:00 PM     10/30/2014        Nomura Rates Alibaba a Buy With 20%-Plus Upside -- Market Talk                         Dow Jones Institutional News
10/29/2014   10:59:00 PM     10/30/2014        Nomura Rates Alibaba a Buy With 20%-Plus Upside -- Market Talk                         Dow Jones Newswires Chinese (English)
10/29/2014   11:00:00 PM     10/30/2014        Press Release: Youku Tudou and Alibaba Group Collaborate to Innovate Online Video MarkDow Jones Institutional News
10/29/2014   11:04:00 PM     10/30/2014        Youku Tudou, Alibaba to Collaborate on Online Video Marketing                          Dow Jones Newswires Chinese (English)
10/30/2014    2:04:00 AM     10/30/2014        No Surprise, Alibaba Bookrunners Are Bullish on Alibaba -- Market Talk                 Dow Jones Institutional News
10/30/2014    2:33:00 AM     10/30/2014        No Surprise, Alibaba Bookrunners Are Bullish on Alibaba -- Market Talk                 Dow Jones Newswires Chinese (English)
10/30/2014    6:03:00 AM     10/30/2014        After Alibaba, Xiaomi Lures 29 Banks for Loan                                          Dow Jones Newswires Korean (English)
10/30/2014    7:32:00 AM     10/30/2014        Alibaba Set for 30% Annual Growth -- Barron's                                          Dow Jones Institutional News
10/30/2014   10:54:00 AM     10/30/2014        Alibaba's Jack Ma Romances Hollywood                                                   Dow Jones Top North American Equities Stories
10/30/2014   11:29:00 AM     10/30/2014        Alibaba's Jack Ma Romances Hollywood                                                   Dow Jones Top Global Market Stories
10/31/2014    7:05:00 AM     10/31/2014        Alibaba Set for 30% Annual Growth -- Barron's                                          Dow Jones Institutional News
 11/1/2014   12:06:00 AM      11/3/2014        Why Alibaba Will Flatten Its Rival --Barron's                                          Dow Jones Institutional News
 11/2/2014    7:02:00 AM      11/3/2014        Investors Eagerly Await Alibaba's Results                                              Dow Jones Institutional News
 11/2/2014    5:30:00 PM      11/3/2014        Alibaba Profit, Revenue Seen Rising 45% in First Results After IPO -- Earnings Preview Dow Jones Institutional News
 11/2/2014    6:49:00 PM      11/3/2014        Alibaba Profit, Revenue Seen Rising 45% in First Results After IPO -- Earnings Preview Dow Jones Institutional News
 11/2/2014    8:30:00 PM      11/3/2014        How Alibaba Plans To Help U.S. Exporters -- WSJ.D Live Report                          Dow Jones Institutional News
 11/2/2014    9:08:00 PM      11/3/2014        Investors Eagerly Await Alibaba's Results                                              Dow Jones Newswires Chinese (English)
 11/2/2014    9:09:00 PM      11/3/2014        Investors Eagerly Await Alibaba's Results -4-                                          Dow Jones Newswires Chinese (English)
 11/2/2014    9:09:00 PM      11/3/2014        Investors Eagerly Await Alibaba's Results -3-                                          Dow Jones Newswires Chinese (English)
 11/2/2014    9:09:00 PM      11/3/2014        Investors Eagerly Await Alibaba's Results -2-                                          Dow Jones Newswires Chinese (English)
 11/2/2014    9:16:00 PM      11/3/2014        Alibaba Profit, Revenue Seen Rising 45% in First Results After IPO -2-                 Dow Jones Newswires Chinese (English)
 11/2/2014    9:16:00 PM      11/3/2014        Alibaba Profit, Revenue Seen Rising 45% in First Results After IPO                     Dow Jones Newswires Chinese (English)
 11/3/2014   12:01:00 AM      11/3/2014        How Alibaba Plans To Help U.S. Exporters -- WSJ.D Live Report                          Dow Jones Newswires Chinese (English)
 11/3/2014   12:02:00 AM      11/3/2014        How Alibaba Plans To Help U.S. Exporters -- WSJ.D Live Report -3-                      Dow Jones Newswires Chinese (English)
 11/3/2014   12:02:00 AM      11/3/2014        How Alibaba Plans To Help U.S. Exporters -- WSJ.D Live Report -2-                      Dow Jones Newswires Chinese (English)
 11/3/2014   12:03:00 AM      11/3/2014        How Alibaba Plans To Help U.S. Exporters -- WSJ.D Live Report -4-                      Dow Jones Newswires Chinese (English)
 11/3/2014    1:06:00 AM      11/3/2014        Investors Eagerly Await Alibaba's Results -4-                                          Dow Jones Newswires Chinese (English)
 11/3/2014    5:34:00 AM      11/3/2014        How Alibaba Plans to Help U.S. Exporters                                               Dow Jones Newswires Korean (English)
 11/3/2014   12:49:00 PM      11/3/2014        Investors Eagerly Await Alibaba's Results                                              Dow Jones Top North American Equities Stories
 11/3/2014   12:52:00 PM      11/3/2014        Don't First Look at Alibaba's EPS, Revenue -- Market Talk                              Dow Jones Institutional News
 11/3/2014   12:52:00 PM      11/3/2014        Don't First Look at Alibaba's EPS, Revenue -- Market Talk                              Dow Jones Institutional News
 11/3/2014    1:49:00 PM      11/3/2014        Investors Eagerly Await Alibaba's Results                                              Dow Jones Top Global Market Stories
 11/3/2014    3:07:00 PM      11/3/2014        Wedbush: 30% Growth for Alibaba -- Barron's Blog                                       Dow Jones Institutional News
 11/3/2014    4:18:00 PM      11/4/2014        Options Market Expecting Good News from Alibaba                                        Dow Jones Institutional News
 11/3/2014    9:17:00 PM      11/4/2014        Deutsche: Alibaba Hosts 3rd Parties -- And Merchants Like It -- Barron's Blog          Dow Jones Institutional News
 11/4/2014    2:46:00 AM      11/4/2014        Alibaba Revenue Seen Rising 45% in First Results After IPO                             Dow Jones Newswires Chinese (English)
 11/4/2014    2:48:00 AM      11/4/2014        Alibaba Revenue Seen Rising 45% in First Results After IPO -2-                         Dow Jones Newswires Chinese (English)
 11/4/2014    2:51:00 AM      11/4/2014        Alibaba Revenue Seen Rising 45% in First Results After IPO -2-                         Dow Jones Newswires Chinese (English)
 11/4/2014    7:00:00 AM      11/4/2014        Press Release: Alibaba Group Announces September Quarter 2014 Results                  Dow Jones Institutional News
 11/4/2014    7:03:00 AM      11/4/2014        Alibaba Group Holding 2Q Rev $2.74B >BABA                                              Dow Jones Newswires Chinese (English)
 11/4/2014    7:03:00 AM      11/4/2014        Alibaba Group Holding 2Q Mobile Rev $606M>BABA                                         Dow Jones Newswires Chinese (English)
 11/4/2014    7:03:00 AM      11/4/2014        Alibaba Group Holding 2Q Net $494M >BABA                                               Dow Jones Newswires Chinese (English)
 11/4/2014    7:03:00 AM      11/4/2014        Alibaba Group Holding 2Q EPS 20c >BABA                                                 Dow Jones Newswires Chinese (English)
 11/4/2014    7:04:00 AM      11/4/2014        Alibaba Group: 217M Monthly Active Users On Mobile Commerce Apps In September          Dow Jones Newswires Chinese (English)
 11/4/2014    7:04:00 AM      11/4/2014        Alibaba Group: Annual Active Buyers Increased 52% >BABA                                Dow Jones Newswires Chinese (English)
 11/4/2014    7:04:00 AM      11/4/2014        Alibaba Group Holding 2Q Gross Merchandise Volume Up 49%>BABA                          Dow Jones Newswires Chinese (English)
 11/4/2014    7:04:00 AM      11/4/2014        Alibaba Group Holding: Annual Active Buyers Increase 52% Year-on-Year                  Dow Jones Newswires Chinese (English)
 11/4/2014    7:04:00 AM      11/4/2014        Alibaba Group: Significant 3Q Growth Across Key Operating Metrics >BABA                Dow Jones Newswires Chinese (English)
 11/4/2014    7:04:00 AM      11/4/2014        Alibaba Group Holding 2Q Adj EPS 45c >BABA                                             Dow Jones Newswires Chinese (English)
 11/4/2014    7:05:00 AM      11/4/2014        Alibaba Group Holding 2Q Adj EBITDA $1.38B>BABA                                        Dow Jones Newswires Chinese (English)
 11/4/2014    7:05:00 AM      11/4/2014        Alibaba Group Holding 2Q Income From Ops $708M>BABA                                    Dow Jones Newswires Chinese (English)
 11/4/2014    7:06:00 AM      11/4/2014        Alibaba 3Q China Retail Marketplaces Gross Merchandise Volume Rose 49% >BABA           Dow Jones Newswires Chinese (English)
 11/4/2014    7:06:00 AM      11/4/2014        Alibaba Group: $95B In Mobile GMV For 12 Months Ended September                        Dow Jones Newswires Chinese (English)
 11/4/2014    7:07:00 AM      11/4/2014        Strong Initial Results From Alibaba -- Market Talk                                     Dow Jones Institutional News
 11/4/2014    7:07:00 AM      11/4/2014        Strong Initial Results From Alibaba -- Market Talk                                     Dow Jones Institutional News
 11/4/2014    7:08:00 AM      11/4/2014        Alibaba Group 3Q Non-GAAP Ebitda $1.38B >BABA                                          Dow Jones Newswires Chinese (English)
 11/4/2014    7:09:00 AM      11/4/2014        Alibaba Group 3Q Net Cash Provided By Operating Activities $955M >BABA                 Dow Jones Newswires Chinese (English)
 11/4/2014    7:09:00 AM      11/4/2014        Alibaba Group 3Q Free Cash Flow $1.46B >BABA                                           Dow Jones Newswires Chinese (English)
 11/4/2014    7:09:00 AM      11/4/2014        Alibaba Group 3Q Mobile Revenue $606M >BABA                                            Dow Jones Newswires Chinese (English)
 11/4/2014    7:09:00 AM      11/4/2014        Alibaba Group 3Q Capital Spending $553M >BABA                                          Dow Jones Newswires Chinese (English)
 11/4/2014    7:09:00 AM      11/4/2014        Alibaba 3Q-End Cash, Equivalents, Short-Term Investments $17.9B                        Dow Jones Newswires Chinese (English)
 11/4/2014    7:12:00 AM      11/4/2014        Alibaba Revenue Rises 54%                                                              Dow Jones Institutional News
 11/4/2014    7:18:00 AM      11/4/2014        Alibaba's Profit Falls, Revenue Jumps                                                  Dow Jones Top North American Equities Stories
 11/4/2014    7:19:00 AM      11/4/2014        Alibaba Group: Net Declined As Share-Based Compensation More Than Tripled Due to GraDow Jones Institutional News
 11/4/2014    7:20:00 AM      11/4/2014        Alibaba Profit Falls, Revenue Jumps                                                    Dow Jones Institutional News
 11/4/2014    7:23:00 AM      11/4/2014        Alibaba's Profit Falls, Revenue Jumps                                                  Dow Jones Top News & Commentary
 11/4/2014    7:24:00 AM      11/4/2014        Alibaba's Profit Falls, Revenue Jumps                                                  Dow Jones Top Global Market Stories
 11/4/2014    7:25:00 AM      11/4/2014        Alibaba Revenue Rises 54%--Update                                                      Dow Jones Institutional News
 11/4/2014    7:26:00 AM      11/4/2014        Alibaba Group Holding 2Q Rev $2.74B >BABA                                              Dow Jones Newswires Chinese (English)
 11/4/2014    7:27:00 AM      11/4/2014        Alibaba 3Q China Retail Marketplaces Gross Merchandise Volume Rose 49% >BABA           Dow Jones Newswires Chinese (English)
 11/4/2014    7:28:00 AM      11/4/2014        Alibaba Group 3Q Free Cash Flow $1.46B >BABA                                           Dow Jones Newswires Chinese (English)
 11/4/2014    7:28:00 AM      11/4/2014        Strong Initial Results From Alibaba -- Market Talk                                     Dow Jones Newswires Chinese (English)
 11/4/2014    7:32:00 AM      11/4/2014        Alibaba: Q3 Beat, No Growth Slowdown, Mobile Gained; Margin Weaker -- Barron's Blog Dow Jones Institutional News
 11/4/2014    7:35:00 AM      11/4/2014        Alibaba Profit Falls, Revenue Jumps                                                    Dow Jones Institutional News
 11/4/2014    7:37:00 AM      11/4/2014        Alibaba Revenue Rises 54%                                                              Dow Jones Newswires Chinese (English)
 11/4/2014    7:40:00 AM      11/4/2014        Alibaba: Mobile GMV Accounts For 35.8% of Total GMV                                    Dow Jones Institutional News
 11/4/2014    7:41:00 AM      11/4/2014        Alibaba: Mobile GMV Accounts For 35.8% of Total GMV                                    Dow Jones Newswires Chinese (English)
 11/4/2014    7:54:00 AM      11/4/2014        Alibaba Reports 54% Rise In Revenue--2nd Update                                        Dow Jones Institutional News
 11/4/2014    7:56:00 AM      11/4/2014        Alibaba Revenue Rises 54% -2-                                                          Dow Jones Newswires Chinese (English)
 11/4/2014    8:12:00 AM      11/4/2014        Alibaba's Mobile Monetization Rate Rises -- Market Talk                                Dow Jones Institutional News




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                                                                         Exhibit 2
                                                              Alibaba Group Holding Limited
                                                                   Materials Considered
                                          List of Stories from Factiva Dow Jones used in Exhibits 8a, 8c, and 8d


  Date         Time        Effective Date                                           Title                                                            News Source
   (1)          (2)              (3)                                                 (4)                                                                 (5)

 11/4/2014    8:12:00 AM      11/4/2014        Alibaba's Mobile Monetization Rate Rises -- Market Talk                                Dow Jones Institutional News
 11/4/2014    8:21:00 AM      11/4/2014        Alibaba Revenue Rises 54%                                                              Dow Jones Newswires Chinese (English)
 11/4/2014    8:25:00 AM      11/4/2014        Alibaba's Mobile Monetization Rate Rises -- Market Talk                                Dow Jones Newswires Chinese (English)
 11/4/2014    8:27:00 AM      11/4/2014        Alibaba Q3: Mobile Monetization Rate Jumped; No Guidance -- Barron's Blog              Dow Jones Institutional News
 11/4/2014    8:28:00 AM      11/4/2014        Alibaba Reports 54% Rise In Revenue--3rd Update                                        Dow Jones Institutional News
 11/4/2014    8:44:00 AM      11/4/2014        Alibaba M&A Strategy Focused on Long Term -- Market Talk                               Dow Jones Institutional News
 11/4/2014    8:44:00 AM      11/4/2014        Alibaba M&A Strategy Focused on Long Term -- Market Talk                               Dow Jones Institutional News
 11/4/2014    9:16:00 AM      11/4/2014        Alibaba M&A Strategy Focused on Long Term -- Market Talk                               Dow Jones Newswires Chinese (English)
 11/4/2014    9:19:00 AM      11/4/2014        Alibaba Reports 54% Rise In Revenue-- Update -2-                                       Dow Jones Newswires Chinese (English)
 11/4/2014    9:19:00 AM      11/4/2014        Alibaba Reports 54% Rise In Revenue-- Update                                           Dow Jones Newswires Chinese (English)
 11/4/2014    9:21:00 AM      11/4/2014        Alibaba Reports 54% Rise In Revenue-- Update -3-                                       Dow Jones Newswires Chinese (English)
 11/4/2014    9:31:00 AM      11/4/2014        No 'Wow Factor' From Alibaba's Report -- Market Talk                                   Dow Jones Institutional News
 11/4/2014    9:31:00 AM      11/4/2014        No 'Wow Factor' From Alibaba's Report -- Market Talk                                   Dow Jones Institutional News
 11/4/2014   10:17:00 AM      11/4/2014        China's Online Firm Alibaba Sees Revenue Soar                                          Dow Jones Institutional News
 11/4/2014   10:51:00 AM      11/4/2014        Alibaba's Big Earnings Gap -- Heard on the Street                                      Dow Jones Institutional News
 11/4/2014   11:28:00 AM      11/4/2014        Alibaba's Profit Falls, Revenue Jumps -- 4th Update                                    Dow Jones Institutional News
 11/4/2014   11:38:00 AM      11/4/2014        Alibaba's Rise Looks Like Boon for Fidelity, T. Rowe Price -- Barron's Blog            Dow Jones Institutional News
 11/4/2014   11:43:00 AM      11/4/2014        Alibaba's Profit Falls, Revenue Jumps -- 4th Update                                    Dow Jones Institutional News
 11/4/2014   12:02:00 PM      11/4/2014        Cantor Raises Alibaba Price Target to $110 -- Market Talk                              Dow Jones Institutional News
 11/4/2014   12:02:00 PM      11/4/2014        Cantor Raises Alibaba Price Target to $110 -- Market Talk                              Dow Jones Institutional News
 11/4/2014    1:04:00 PM      11/4/2014        Alibaba's Profit Falls, Revenue Jumps--5th Update                                      Dow Jones Institutional News
 11/4/2014    1:19:00 PM      11/4/2014        Alibaba's Profit Falls, Revenue Jumps--5th Update                                      Dow Jones Institutional News
 11/4/2014    3:05:00 PM      11/4/2014        Susquehanna Another Alibaba Target Hiker -- Market Talk                                Dow Jones Institutional News
 11/4/2014    3:05:00 PM      11/4/2014        Susquehanna Another Alibaba Target Hiker -- Market Talk                                Dow Jones Institutional News
 11/4/2014    3:25:00 PM      11/4/2014        Alibaba's Analysts Say Buy!                                                            Dow Jones Institutional News
 11/4/2014    3:54:00 PM      11/4/2014        5 Things to Read Today: Midterm Elections 2014, Alibaba's Profit Falls and More        Dow Jones Institutional News
 11/4/2014    7:45:00 PM      11/5/2014        Alibaba's Analysts Say Buy! -3-                                                        Dow Jones Newswires Chinese (English)
 11/4/2014    7:45:00 PM      11/5/2014        Alibaba's Analysts Say Buy! -2-                                                        Dow Jones Newswires Chinese (English)
 11/4/2014    7:45:00 PM      11/5/2014        Alibaba's Analysts Say Buy!                                                            Dow Jones Newswires Chinese (English)
 11/4/2014    7:46:00 PM      11/5/2014        Alibaba's Analysts Say Buy! -5-                                                        Dow Jones Newswires Chinese (English)
 11/4/2014    7:46:00 PM      11/5/2014        Alibaba's Analysts Say Buy! -4-                                                        Dow Jones Newswires Chinese (English)
 11/4/2014    7:51:00 PM      11/5/2014        Alibaba's Analysts Say Buy!                                                            Dow Jones Newswires Chinese (English)
 11/4/2014    7:52:00 PM      11/5/2014        Alibaba's Wide Divide On Earnings -- Heard On The Street                               Dow Jones Institutional News
 11/4/2014    8:29:00 PM      11/5/2014        Alibaba's Big Earnings Gap                                                             Dow Jones Top Global Market Stories
 11/4/2014    9:49:00 PM      11/5/2014        Alibaba's Big Earnings Gap -- Heard on the Street -2-                                  Dow Jones Newswires Chinese (English)
 11/4/2014    9:49:00 PM      11/5/2014        Alibaba's Big Earnings Gap -- Heard on the Street                                      Dow Jones Newswires Chinese (English)
 11/4/2014    9:50:00 PM      11/5/2014        Alibaba Revenue Lifted by User, Mobile Growth                                          Dow Jones Institutional News
 11/4/2014    9:50:00 PM      11/5/2014        Alibaba's Big Earnings Gap -- Heard on the Street -3-                                  Dow Jones Newswires Chinese (English)
 11/4/2014   10:19:00 PM      11/5/2014        Don't Be Fooled by the Profit Drop, Alibaba Results Are Good -- Market Talk            Dow Jones Institutional News
 11/4/2014   10:44:00 PM      11/5/2014        Don't Be Fooled by the Profit Drop, Alibaba Results Are Good -- Market Talk            Dow Jones Newswires Chinese (English)
 11/5/2014   12:40:00 AM      11/5/2014        Softbank Slumps On Sprint, But How About Alibaba Bump? -- Barron's Blog                Dow Jones Institutional News
 11/5/2014    3:45:00 AM      11/5/2014        Alibaba: Post Q3, Wall Street Tweaks Up TP To $112 -- Barron's Blog                    Dow Jones Institutional News
 11/5/2014    6:34:00 AM      11/5/2014        Alibaba's Big Earnings Gap                                                             Dow Jones Top North American Equities Stories
 11/7/2014    6:30:00 AM      11/7/2014        Press Release: Alibaba Group Will Host Sixth Annual 11.11 Shopping Festival            Dow Jones Institutional News
 11/9/2014    6:01:00 PM     11/10/2014        Crucial Business Day Looms for Alibaba                                                 Dow Jones Institutional News
 11/9/2014   10:26:00 PM     11/10/2014        Crucial Business Day Looms for Alibaba -2-                                             Dow Jones Newswires Chinese (English)
 11/9/2014   10:26:00 PM     11/10/2014        Crucial Business Day Looms for Alibaba                                                 Dow Jones Newswires Chinese (English)
 11/9/2014   10:27:00 PM     11/10/2014        Crucial Business Day Looms for Alibaba -3-                                             Dow Jones Newswires Chinese (English)
 11/9/2014   10:28:00 PM     11/10/2014        Crucial Business Day Looms for Alibaba -6-                                             Dow Jones Newswires Chinese (English)
 11/9/2014   10:28:00 PM     11/10/2014        Crucial Business Day Looms for Alibaba -5-                                             Dow Jones Newswires Chinese (English)
 11/9/2014   10:28:00 PM     11/10/2014        Crucial Business Day Looms for Alibaba -4-                                             Dow Jones Newswires Chinese (English)
 11/9/2014   11:37:00 PM     11/10/2014        Quiet Before Storm At Alibaba Delivery Firm                                            Dow Jones Institutional News
 11/9/2014   11:44:00 PM     11/10/2014        Quiet Before Storm At Alibaba Delivery Firm                                            Dow Jones Top Global Market Stories
 11/9/2014   11:52:00 PM     11/10/2014        Alibaba Buffs a Key Business Metric                                                    Dow Jones Institutional News
11/10/2014    2:13:00 AM     11/10/2014        Quiet Before Storm At Alibaba Delivery Firm                                            Dow Jones Newswires Chinese (English)
11/10/2014    2:14:00 AM     11/10/2014        Quiet Before Storm At Alibaba Delivery Firm -2-                                        Dow Jones Newswires Chinese (English)
11/10/2014    3:43:00 AM     11/10/2014        Should Alibaba's Singles' Day Volume Be 25% Smaller?                                   Dow Jones Institutional News
11/10/2014    5:14:00 AM     11/10/2014        Alibaba: Singles Day, What To Expect This Year? -- Barron's Blog                       Dow Jones Institutional News
11/10/2014    5:51:00 AM     11/10/2014        Should Alibaba's Singles' Day Volume Be 25% Smaller?                                   Dow Jones Newswires Chinese (English)
11/10/2014    5:56:00 AM     11/10/2014        Should Alibaba's Singles' Day Volume Be 25% Smaller? -2-                               Dow Jones Newswires Chinese (English)
11/10/2014    6:34:00 AM     11/10/2014        Quiet Before Storm At Alibaba Delivery Firm                                            Dow Jones Top North American Equities Stories
11/10/2014    6:34:00 AM     11/10/2014        Crucial Business Day Looms for Alibaba                                                 Dow Jones Top North American Equities Stories
11/10/2014    1:32:00 PM     11/10/2014        Press Release: Alibaba Group Generated US$2 Billion in GMV in First Hour of 11.11 Shop Dow Jones Institutional News
11/10/2014    1:34:00 PM     11/10/2014        Alibaba Group Generated $2 Billion In GMV In First Hour Of Nov. 11 Shopping Festival Dow Jones Newswires Chinese (English)
11/10/2014    3:14:00 PM     11/10/2014        Crucial Business Day Looms for Alibaba                                                 Dow Jones Top Global Market Stories
11/10/2014   11:10:00 PM     11/11/2014        How to Invest in Alibaba As Shares Keep Rising -- Barron's Asia                        Dow Jones Institutional News
11/11/2014   12:15:00 AM     11/11/2014        Alibaba: Further Mobile Gains On Singles' Day; 86% Market Share -- Barron's Blog       Dow Jones Institutional News
11/11/2014   12:35:00 AM     11/11/2014        Alibaba: Singles Day Transaction Volume Tops 2013 Record of RMB36.2 Billion            Dow Jones Institutional News
11/11/2014   12:37:00 AM     11/11/2014        Alibaba: Singles Day Transaction Volume Tops 2013 Record of RMB36.2 Billion            Dow Jones Newswires Chinese (English)
11/11/2014    1:12:00 AM     11/11/2014        Alibaba Breaks Singles' Day Record                                                     Dow Jones Institutional News
11/11/2014    1:24:00 AM     11/11/2014        Alibaba Breaks Singles' Day Record                                                     Dow Jones Top Global Market Stories
11/11/2014    1:51:00 AM     11/11/2014        Alibaba Breaks Singles' Day Record                                                     Dow Jones Newswires Chinese (English)
11/11/2014    1:52:00 AM     11/11/2014        Alibaba Breaks Singles' Day Record -2-                                                 Dow Jones Newswires Chinese (English)
11/11/2014    1:55:00 AM     11/11/2014        Alibaba Breaks Singles' Day Record -2-                                                 Dow Jones Newswires Chinese (English)
11/11/2014    3:12:00 AM     11/11/2014        Alibaba Exec: Would Be Good for Alibaba Financial Affiliate to Become Public Company Dow Jones Institutional News
11/11/2014    3:16:00 AM     11/11/2014        Alibaba Exec: Would Be Good for Alibaba Financial Affiliate to Become Public Company Dow Jones Newswires Chinese (English)
11/11/2014    3:17:00 AM     11/11/2014        Alibaba Exec: IPO Possible in Future, Focus now Is on Other Things                     Dow Jones Newswires Chinese (English)
11/11/2014    3:17:00 AM     11/11/2014        Alibaba Exec: IPO Possible in Future, Focus now Is on Other Things                     Dow Jones Newswires Chinese (English)
11/11/2014    4:19:00 AM     11/11/2014        Alibaba Exec: Talks With Apple Focusing on Payments in China Market                    Dow Jones Newswires Chinese (English)
11/11/2014    4:20:00 AM     11/11/2014        Alibaba Exec: Alipay Providing Back-End Services For Apple Pay a Possible Scenario     Dow Jones Newswires Chinese (English)
11/11/2014    4:20:00 AM     11/11/2014        Alibaba Exec: Alibaba Financial Affiliate in Talks With Apple About Possible Payment C Dow Jones Newswires Chinese (English)




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                                                                         Exhibit 2
                                                              Alibaba Group Holding Limited
                                                                   Materials Considered
                                          List of Stories from Factiva Dow Jones used in Exhibits 8a, 8c, and 8d


  Date         Time        Effective Date                                           Title                                                             News Source
   (1)          (2)              (3)                                                 (4)                                                                  (5)

11/11/2014    4:23:00 AM     11/11/2014        Alibaba Exec: Seeking Alliances in Many Areas Including Entertainment                    Dow Jones Newswires Chinese (English)
11/11/2014    4:24:00 AM     11/11/2014        Alibaba Exec: Discussing Possible Alliances With Many Messaging Apps Including Line Dow Jones Newswires Chinese (English)
11/11/2014    4:24:00 AM     11/11/2014        Alibaba Exec: No Specific Limit to Budget For Acquisitions                               Dow Jones Newswires Chinese (English)
11/11/2014    4:25:00 AM     11/11/2014        Alibaba Exec: Room For Growth Given Low E-Commerce Penetration in China                  Dow Jones Newswires Chinese (English)
11/11/2014    4:44:00 AM     11/11/2014        Alibaba Exec: No Timeframe for Possible IPO of Financial Affiliate                       Dow Jones Newswires Chinese (English)
11/11/2014    5:56:00 AM     11/11/2014        Alibaba, Apple Talks on Payments Tie-Up Focused on China -- Update                       Dow Jones Institutional News
11/11/2014    6:14:00 AM     11/11/2014        Alibaba, Apple Talks on Payments Tie-Up Focused on China                                 Dow Jones Top Global Market Stories
11/11/2014    6:24:00 AM     11/11/2014        Alibaba Breaks Singles' Day Record                                                       Dow Jones Top North American Equities Stories
11/11/2014    6:24:00 AM     11/11/2014        Alibaba, Apple Talks on Payments Tie-Up Focused on China                                 Dow Jones Top North American Equities Stories
11/11/2014    7:30:00 AM     11/11/2014        Alibaba, Apple Talks on Payments Tie-Up Focused on China -- Update                       Dow Jones Newswires Chinese (English)
11/11/2014    7:30:00 AM     11/11/2014        Alibaba, Apple Talks on Payments Tie-Up Focused on China -- Update                       Dow Jones Newswires Chinese (English)
11/11/2014    8:33:00 AM     11/11/2014        Press Release: Alibaba Group Generated US$8 Billion in GMV with a Few Hours Left of 11Dow Jones Institutional News
11/11/2014    8:35:00 AM     11/11/2014        Alibaba Group Generated US$8 B In GMV With A Few Hours Left Of 11.11 Shopping FestDow Jones Newswires Chinese (English)
11/11/2014    8:41:00 AM     11/11/2014        Alibaba Puts Thanksgiving Weekend in Perspective -- Market Talk                          Dow Jones Institutional News
11/11/2014    8:41:00 AM     11/11/2014        Alibaba Puts Thanksgiving Weekend in Perspective -- Market Talk                          Dow Jones Institutional News
11/11/2014    9:01:00 AM     11/11/2014        Alibaba Puts Thanksgiving Weekend in Perspective -- Market Talk                          Dow Jones Newswires Chinese (English)
11/11/2014   10:17:00 AM     11/11/2014        Alibaba's Jack Ma: We Will Take Alipay Public -CNBC                                      Dow Jones Institutional News
11/11/2014   10:24:00 AM     11/11/2014        Alibaba's Jack Ma: We Will Take Alipay Public -CNBC                                      Dow Jones Newswires Chinese (English)
11/11/2014   10:59:00 AM     11/11/2014        Alibaba's Jack Ma: We Will Take Alipay Public -CNBC                                      Dow Jones Top Global Market Stories
11/11/2014   11:00:00 AM     11/11/2014        Alibaba's Ma: We Will Take Alipay Public                                                 Dow Jones Institutional News
11/11/2014   11:02:00 AM     11/11/2014        Alibaba's Jack Ma: We Will Take Alipay Public -CNBC                                      Dow Jones Newswires Chinese (English)
11/11/2014   11:04:00 AM     11/11/2014        Alibaba's Jack Ma: We Will Take Alipay Public -CNBC                                      Dow Jones Top North American Equities Stories
11/11/2014   11:15:00 AM     11/11/2014        Alibaba's Ma: We Will Take Alipay Public                                                 Dow Jones Institutional News
11/11/2014   11:16:00 AM     11/11/2014        Alibaba: Singles Day Shopping Event Transaction Volume Totals $9.3B                      Dow Jones Institutional News
11/11/2014   11:19:00 AM     11/11/2014        Alibaba: Singles Day Shopping Event Transaction Volume Totals $9.3B                      Dow Jones Newswires Chinese (English)
11/11/2014   11:22:00 AM     11/11/2014        Alibaba Breaks Singles' Day Record -- Update                                             Dow Jones Institutional News
11/11/2014   11:22:00 AM     11/11/2014        Alibaba Breaks Singles' Day Record                                                       Dow Jones Top News & Commentary
11/11/2014   11:32:00 AM     11/11/2014        Alibaba Breaks Singles' Day Record -- 2nd Update                                         Dow Jones Institutional News
11/11/2014   11:43:00 AM     11/11/2014        Alibaba Makes the Most of Singles Day, and Plans to IPO Alipay                           Dow Jones Institutional News
11/11/2014   11:45:00 AM     11/11/2014        Alibaba Breaks Singles' Day Record -- Update                                             Dow Jones Newswires Chinese (English)
11/11/2014    1:49:00 PM     11/11/2014        Press Release: Alibaba Group Generated US$9.3 Billion in GMV on 11.11 Shopping Festiv Dow Jones Institutional News
11/11/2014    7:59:00 PM     11/12/2014        Alibaba Breaks Singles' Day Record -- Update                                             Dow Jones Newswires Chinese (English)
11/11/2014    8:00:00 PM     11/12/2014        Alibaba Breaks Singles' Day Record -- Update -2-                                         Dow Jones Newswires Chinese (English)
11/11/2014    8:00:00 PM     11/12/2014        Alibaba Breaks Singles' Day Record -- Update -3-                                         Dow Jones Newswires Chinese (English)
11/11/2014    8:01:00 PM     11/12/2014        Alibaba Breaks Singles' Day Record -- Update -4-                                         Dow Jones Newswires Chinese (English)
11/11/2014    8:02:00 PM     11/12/2014        Alibaba Breaks Singles' Day Record -- Update -5-                                         Dow Jones Newswires Chinese (English)
11/11/2014    8:04:00 PM     11/12/2014        Alibaba Breaks Singles' Day Record -- Update                                             Dow Jones Newswires Chinese (English)
11/12/2014    3:06:00 AM     11/12/2014        Alibaba Establishes Singles' Day Record                                                  Dow Jones Newswires Korean (English)
11/12/2014   10:03:00 AM     11/12/2014        Alibaba Now Bigger Than P&G, GE and Wells Fargo                                          Dow Jones Institutional News
11/12/2014    6:50:00 PM     11/13/2014        Alibaba Now Bigger Than P&G, GE and Wells Fargo                                          Dow Jones Newswires Chinese (English)
11/13/2014    8:39:00 AM     11/13/2014        Press Release: Alibaba Group Announces Proposed Offering of Senior Unsecured Notes       Dow Jones Institutional News
11/13/2014    8:40:00 AM     11/13/2014        Alibaba Group Announces Proposed Offering Of Senior Unsecured Notes                      Dow Jones Newswires Chinese (English)
11/13/2014    8:41:00 AM     11/13/2014        Alibaba Says Principal Amount, Interest Rates, Maturity Dates and Other Terms Haven't Be Dow Jones Newswires Chinese (English)
11/13/2014    8:43:00 AM     11/13/2014        Alibaba to Use Net Proceeds Primarily to Refinance Existing Credit Facilities>BABA       Dow Jones Newswires Chinese (English)
11/13/2014    8:52:00 AM     11/13/2014        Press Release: Fitch Assigns First-Time 'A+' Rating to Alibaba, Proposed Notes           Dow Jones Institutional News
11/13/2014    8:59:00 AM     11/13/2014        S&P Rates Alibaba Group 'A+' With Stbl Otlk; Notes Rated 'A+'                            Dow Jones Institutional News
11/13/2014    9:03:00 AM     11/13/2014        Moody's Assigns First-time A1 Ratings To Alibaba; Outlook Stable                         Dow Jones Institutional News
11/13/2014    9:27:00 AM     11/13/2014        Alibaba Group: To Offer Unsecured Notes in U.S.                                          Dow Jones Institutional News
11/13/2014   10:02:00 AM     11/13/2014        Alibaba to Tap Bond Market for Up to $8 Billion                                          Dow Jones Top News & Commentary
11/13/2014   10:02:00 AM     11/13/2014        Alibaba to Offer Unsecured Notes to Refinance Some of its Debt                           Dow Jones Institutional News
11/13/2014   10:21:00 AM     11/13/2014        Alibaba to Offer Unsecured Notes to Refinance Some of its Debt                           Dow Jones Newswires Chinese (English)
11/13/2014    1:35:00 PM     11/13/2014        Alibaba Looking to Raise as Much as $8 Billion in Bond Offering -- Source                Dow Jones Institutional News
11/13/2014    1:36:00 PM     11/13/2014        Alibaba Looking to Raise as Much as $8 Billion in Bond Offering -- Source                Dow Jones Institutional News
11/13/2014    1:38:00 PM     11/13/2014        Alibaba Looking to Raise as Much as $8 Billion in Bond Offering -- Source                Dow Jones Newswires Chinese (English)
11/13/2014    1:39:00 PM     11/13/2014        Alibaba Holding Roadshow Next Week, Bond Sale to Follow -- Investors                     Dow Jones Newswires Chinese (English)
11/13/2014    2:12:00 PM     11/13/2014        Alibaba Looks to Raise as Much as $8 Billion in Bond Offering                            Dow Jones Institutional News
11/13/2014    2:19:00 PM     11/13/2014        Alibaba Plans $8 Billion Bond Sale                                                       Dow Jones Top North American Equities Stories
11/13/2014    2:19:00 PM     11/13/2014        Alibaba Plans $8 Billion Bond Sale                                                       Dow Jones Top Global Market Stories
11/13/2014    2:23:00 PM     11/13/2014        Alibaba to Tap Bond Market for Up to $8 Billion--Update                                  Dow Jones Institutional News
11/13/2014    2:23:00 PM     11/13/2014        Alibaba to Tap Bond Market for Up to $8 Billion--Update                                  Dow Jones Institutional News
11/13/2014    2:33:00 PM     11/13/2014        Alibaba Looks to Raise as Much as $8 Billion in Bond Offering                            Dow Jones Newswires Chinese (English)
11/13/2014    3:34:00 PM     11/13/2014        While Alibaba Gets High Grade, Twitter in Junk -- Market Talk                            Dow Jones Institutional News
11/13/2014    3:34:00 PM     11/13/2014        While Alibaba Gets High Grade, Twitter in Junk -- Market Talk                            Dow Jones Institutional News
11/13/2014    6:56:00 PM     11/14/2014        Alibaba to Tap Bond Market for Up to $8 Billion--Update -2-                              Dow Jones Newswires Chinese (English)
11/13/2014    6:56:00 PM     11/14/2014        Alibaba to Tap Bond Market for Up to $8 Billion--Update                                  Dow Jones Newswires Chinese (English)
11/13/2014    6:57:00 PM     11/14/2014        Alibaba to Tap Bond Market for Up to $8 Billion--Update -3-                              Dow Jones Newswires Chinese (English)
11/13/2014    6:58:00 PM     11/14/2014        Alibaba to Tap Bond Market for Up to $8 Billion--Update -4-                              Dow Jones Newswires Chinese (English)
11/13/2014    7:11:00 PM     11/14/2014        Alibaba Plans $8 Billion Bond Sale                                                       Dow Jones Institutional News
11/13/2014    8:13:00 PM     11/14/2014        Sina Q3 Beat On Alibaba Stake Sale, Q4 Outlook Miss -- Barron's Blog                     Dow Jones Institutional News
11/14/2014    8:01:00 AM     11/14/2014        Fitch's 'Inside Credit': U.S .Banking Outlook, Bond Market Liquidity & Alibaba's Rating Dow Jones Institutional News
11/14/2014    4:13:00 PM     11/17/2014        Third Point Reports Alibaba Group Holding Ltd. Stake Worth $639 Million As of Sept. 30 -Dow Jones Institutional News
11/14/2014    4:36:00 PM     11/17/2014        Paulson & Co. Alibaba Stake Valued at $169 Million at Quarter's End -- Filing            Dow Jones Institutional News
11/14/2014    4:44:00 PM     11/17/2014        Soros Takes Stakes in Yahoo, Alibaba                                                     Dow Jones Top News & Commentary
11/14/2014    4:44:00 PM     11/17/2014        Soros Takes Stakes in Yahoo, Alibaba                                                     Dow Jones Institutional News
11/14/2014    4:54:00 PM     11/17/2014        Third Point Discloses Size of Alibaba Stake -- Market Talk                               Dow Jones Institutional News
11/14/2014    4:54:00 PM     11/17/2014        Third Point Discloses Size of Alibaba Stake -- Market Talk                               Dow Jones Institutional News
11/14/2014    5:04:00 PM     11/17/2014        Loeb's Third Point Took Big Stake in Alibaba During Third Quarter                        Dow Jones Institutional News
11/14/2014    5:04:00 PM     11/17/2014        Loeb's Third Point Took Big Stake in Alibaba During Third Quarter                        Dow Jones Top News & Commentary
11/14/2014    5:09:00 PM     11/17/2014        Soros Takes Stakes in Yahoo, Alibaba                                                     Dow Jones Top North American Equities Stories
11/14/2014    5:19:00 PM     11/17/2014        Soros Takes Stakes in Yahoo, Alibaba                                                     Dow Jones Top North American Financial Services
11/14/2014    5:19:00 PM     11/17/2014        Soros Takes Stakes in Yahoo, Alibaba                                                     Dow Jones Top Global Market Stories




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                                                                         Exhibit 2
                                                              Alibaba Group Holding Limited
                                                                   Materials Considered
                                          List of Stories from Factiva Dow Jones used in Exhibits 8a, 8c, and 8d


  Date         Time        Effective Date                                            Title                                                              News Source
   (1)          (2)              (3)                                                  (4)                                                                   (5)

11/14/2014    5:29:00 PM     11/17/2014        Loeb's Third Point Took Big Stake in Alibaba During Third Quarter                           Dow Jones Top North American Financial Services
11/14/2014    5:29:00 PM     11/17/2014        Loeb's Third Point Took Big Stake in Alibaba During Third Quarter                           Dow Jones Top North American Equities Stories
11/14/2014    5:34:00 PM     11/17/2014        Loeb's Third Point Took Big Stake in Alibaba During Third Quarter                           Dow Jones Top Global Market Stories
11/14/2014    7:05:00 PM     11/17/2014        Alibaba Has Big-Name Fans                                                                   Dow Jones Institutional News
11/17/2014    1:43:00 AM     11/17/2014        Q&A: Alibaba Senior Executive On Apple, M&A and U.S. Plans                                  Dow Jones Institutional News
11/17/2014    8:55:00 PM     11/18/2014        Q&A: Alibaba Senior Executive On Apple, M&A and U.S. Plans -2-                              Dow Jones Newswires Chinese (English)
11/17/2014    8:55:00 PM     11/18/2014        Q&A: Alibaba Senior Executive On Apple, M&A and U.S. Plans                                  Dow Jones Newswires Chinese (English)
11/17/2014    8:56:00 PM     11/18/2014        Q&A: Alibaba Senior Executive On Apple, M&A and U.S. Plans -4-                              Dow Jones Newswires Chinese (English)
11/17/2014    8:56:00 PM     11/18/2014        Q&A: Alibaba Senior Executive On Apple, M&A and U.S. Plans -3-                              Dow Jones Newswires Chinese (English)
11/18/2014    5:02:00 AM     11/18/2014        Q&A: Alibaba Senior Executive On Apple, M&A and U.S. Plans                                  Dow Jones Newswires Korean (English)
11/18/2014   11:30:00 AM     11/18/2014        Press Release: Federal-Mogul Motorparts Alibaba Tmall Flagship Store Goes 'Live'            Dow Jones Institutional News
11/18/2014    1:24:00 PM     11/18/2014        Alibaba: Record Singles Day; HSBC's TP $148, "Facebook The Best Comp" -- Barron's BloDow Jones Institutional News
11/18/2014    1:24:00 PM     11/18/2014        UPDATE Alibaba: Record Singles Day; HSBC's TP $148 -- Barron's Blog                         Dow Jones Institutional News
11/19/2014   12:31:00 AM     11/19/2014        SoftBank Slips 1.2% After Alibaba Falls 3.0% in New York -- Market Talk                     Dow Jones Institutional News
11/19/2014    4:34:00 AM     11/19/2014        Alibaba and Tencent Make Movie Push                                                         Dow Jones Institutional News
11/19/2014    4:34:00 AM     11/19/2014        Alibaba and Tencent Make Movie Push                                                         Dow Jones Top News & Commentary
11/19/2014    4:49:00 AM     11/19/2014        Alibaba and Tencent Make Movie Push                                                         Dow Jones Top Global Market Stories
11/19/2014    4:49:00 AM     11/19/2014        Alibaba and Tencent Make Movie Push                                                         Dow Jones Institutional News
11/19/2014    6:31:00 AM     11/19/2014        Alibaba and Tencent Make Movie Push                                                         Dow Jones Newswires Chinese (English)
11/19/2014    6:34:00 AM     11/19/2014        Alibaba and Tencent Make Movie Push                                                         Dow Jones Top North American Equities Stories
11/20/2014    9:24:00 AM     11/20/2014        A.M. Roundup: Alibaba Selling First Bond; Caesars Proposes a REIT -- Barron's Blog          Dow Jones Institutional News
11/20/2014   10:01:00 AM     11/20/2014        Alibaba Could Upsize Debut Bond Deal To About $10B -- Investor                              Dow Jones Institutional News
11/20/2014   10:03:00 AM     11/20/2014        Alibaba Could Upsize Debut Bond Deal To About $10B -- Investor                              Dow Jones Newswires Chinese (English)
11/20/2014   10:05:00 AM     11/20/2014        Alibaba Final Pricing On Bond Expected Later Today                                          Dow Jones Newswires Chinese (English)
11/20/2014   10:05:00 AM     11/20/2014        Alibaba Received More Than $55B In Orders For Bond Sale -- Sources                          Dow Jones Newswires Chinese (English)
11/20/2014   10:15:00 AM     11/20/2014        High Demand for Alibaba's Bond Debut -- Barron's Blog                                       Dow Jones Institutional News
11/20/2014   10:19:00 AM     11/20/2014        Alibaba Launches $8 Billion Bond Sale                                                       Dow Jones Top North American Equities Stories
11/20/2014   10:24:00 AM     11/20/2014        Alibaba Launches $8 Billion Bond Sale                                                       Dow Jones Top Global Market Stories
11/20/2014   10:33:00 AM     11/20/2014        Demand Brisk for Alibaba's Debut Bond Sale -- Market Talk                                   Dow Jones Institutional News
11/20/2014   10:33:00 AM     11/20/2014        Demand Brisk for Alibaba's Debut Bond Sale -- Market Talk                                   Dow Jones Institutional News
11/20/2014   10:33:00 AM     11/20/2014        Demand Brisk for Alibaba's Debut Bond Sale -- Market Talk                                   Dow Jones Institutional News
11/20/2014   10:39:00 AM     11/20/2014        Alibaba Could Increase Size of Debut Bond Deal to About $10 Billion                         Dow Jones Newswires Chinese (English)
11/20/2014   11:02:00 AM     11/20/2014        Alibaba Lowers Yields on Debut Bonds -- Market Talk                                         Dow Jones Institutional News
11/20/2014   11:02:00 AM     11/20/2014        Alibaba Lowers Yields on Debut Bonds -- Market Talk                                         Dow Jones Institutional News
11/20/2014   11:02:00 AM     11/20/2014        Alibaba Lowers Yields on Debut Bonds -- Market Talk                                         Dow Jones Institutional News
11/20/2014    1:05:00 PM     11/20/2014        Alibaba Launches $8 Billion Bond Sale -- 2nd Update                                         Dow Jones Institutional News
11/20/2014    2:18:00 PM     11/20/2014        Alibaba Launches First Bond Sale -- Barron's Blog                                           Dow Jones Institutional News
11/20/2014    4:38:00 PM     11/21/2014        How Alibaba's New Bond Deal Stacks Up                                                       Dow Jones Institutional News
11/20/2014    4:43:00 PM     11/21/2014        Why Do So Many Want Alibaba Bonds? -- Barron's Blog                                         Dow Jones Institutional News
11/20/2014    7:00:00 PM     11/21/2014        How Alibaba's New Bond Deal Stacks Up                                                       Dow Jones Newswires Chinese (English)
11/20/2014   10:08:00 PM     11/21/2014        Alibaba Becomes Wall Street's Favorite Customer                                             Dow Jones Newswires Chinese (English)
11/20/2014   11:03:00 PM     11/21/2014        Press Release: Alibaba Group Announces Pricing of Offering of US$8.0 Billion of Senior UDow Jones Institutional News
11/20/2014   11:06:00 PM     11/21/2014        Alibaba Group Announces Pricing Of Offering Of US$8.0 Billion Of Senior Unsecured NotDow Jones Newswires Chinese (English)
11/21/2014    9:08:00 AM     11/21/2014        A.M. Roundup: Big Fees from Alibaba; China's rate Cut; Gross Gets $500M from Soros -- BDow Jones Institutional News
11/21/2014    1:13:00 PM     11/21/2014        WSJ: Big Bank Fees from Alibaba Bond Sale -- Barron's Blog                                  Dow Jones Institutional News
11/21/2014    3:44:00 PM     11/21/2014        Alibaba Becomes Wall Street's Favorite Customer                                             Dow Jones Top North American Equities Stories
11/21/2014    6:40:00 PM     11/24/2014        Alibaba, After Record IPO, Bags Debt-Market Trophies Too -- Market Talk                     Dow Jones Institutional News
11/21/2014    6:40:00 PM     11/24/2014        Alibaba, After Record IPO, Bags Debt-Market Trophies Too -- Market Talk                     Dow Jones Institutional News
11/23/2014    8:04:00 PM     11/24/2014        Alibaba Becomes Wall Street's Favorite Customer                                             Dow Jones Top Global Market Stories
11/23/2014    8:18:00 PM     11/24/2014        Alibaba, After Record IPO, Bags Debt-Market Trophies Too -- Market Talk                     Dow Jones Newswires Chinese (English)
11/23/2014    8:44:00 PM     11/24/2014        Alibaba, After Record IPO, Bags Debt-Market Trophies Too -- Market Talk                     Dow Jones Newswires Chinese (English)
11/24/2014    8:39:00 PM     11/25/2014        China Xinjiang Uygur Autonomous Region Reached Cooperation with Alibaba                     Dow Jones Newswires Chinese (English)
11/25/2014    9:31:00 AM     11/25/2014        Press Release: Critical Alerts For Alibaba, Ulta Salon Cosmetics & Fragrance Inc., Marriott Dow Jones Institutional News
11/26/2014    6:31:00 AM     11/26/2014        Alibaba Looks to Invest More in India                                                       Dow Jones Institutional News
11/26/2014    7:47:00 AM     11/26/2014        Alibaba Looks to Invest More in India                                                       Dow Jones Newswires Chinese (English)
11/26/2014    4:36:00 PM     11/28/2014        An Emerging Market ETF to Address the Alibaba Index Problem -- Barron's Blog                Dow Jones Institutional News
11/27/2014    3:24:00 AM     11/28/2014        Alibaba Launches Internet TVs In China With Haier                                           Dow Jones Institutional News
11/27/2014    4:32:00 AM     11/28/2014        Alibaba Launches Internet TVs In China With Haier                                           Dow Jones Newswires Chinese (English)
 12/1/2014    1:49:00 AM      12/1/2014        Fitch Assigns Alibaba's USD Notes Final 'A+' Ratings                                        Dow Jones Institutional News
 12/1/2014    1:50:00 AM      12/1/2014        Fitch Assigns Alibaba's USD Notes Final 'A+' Ratings                                        Dow Jones Newswires Chinese (English)
 12/5/2014    3:59:00 AM      12/5/2014        L'Occitane Launches Online Store on Alibaba's Tmall Site                                    Dow Jones Institutional News
 12/5/2014    8:54:00 AM      12/5/2014        L'Occitane Launches Online Store on Alibaba's Tmall Site                                    Dow Jones Newswires Chinese (English)
 12/7/2014    8:00:00 PM      12/8/2014        Alibaba: Alipay Processing More Transactions Through Mobile Devices                         Dow Jones Institutional News
 12/7/2014    9:42:00 PM      12/8/2014        Alibaba: Alipay Processing More Transactions Through Mobile Devices                         Dow Jones Newswires Chinese (English)
 12/9/2014   11:35:00 PM     12/10/2014        Alibaba Pictures: 1H14 Net Profit to Fall by Up to HK$390 Million                           Dow Jones Institutional News
 12/9/2014   11:37:00 PM     12/10/2014        Alibaba Pictures: 1H14 Net Profit to Fall by Up to HK$390 Million                           Dow Jones Newswires Chinese (English)
 12/9/2014   11:45:00 PM     12/10/2014        Alibaba Pictures to Make Up to HK$323 Million in Provisions for Film Operations in 1H ReDow Jones Newswires Chinese (English)
 12/9/2014   11:46:00 PM     12/10/2014        Alibaba Pictures to Hire Independent Consultant to Advise on Internal Control               Dow Jones Newswires Chinese (English)
 12/9/2014   11:47:00 PM     12/10/2014        Alibaba Pictures to Seek Trading Resumption After Releasing 1H Results on Dec. 19           Dow Jones Newswires Chinese (English)
 12/9/2014   11:47:00 PM     12/10/2014        Alibaba Pictures to Set Up Internal Audit Team to Strengthen Internal Control               Dow Jones Newswires Chinese (English)
 12/9/2014   11:48:00 PM     12/10/2014        Alibaba Pictures to Hire Independent Consultant to Advise on Internal Control               Dow Jones Newswires Chinese (English)
12/10/2014   12:07:00 AM     12/10/2014        Independent Probe Finds Misstated Reports on Taxes, Convertible Bonds at Alibaba Picture Dow Jones Newswires Chinese (English)
12/10/2014   12:24:00 AM     12/10/2014        Alibaba Pictures Expects First-Half Net Profit to Fall                                      Dow Jones Top Global Market Stories
12/10/2014   12:30:00 AM     12/10/2014        Alibaba Pictures Expects First-Half Net Profit to Fall                                      Dow Jones Institutional News
12/10/2014   12:45:00 AM     12/10/2014        Alibaba Pictures Expects First-Half Net Profit to Fall                                      Dow Jones Institutional News
12/10/2014    1:16:00 AM     12/10/2014        Alibaba Pictures Expects First-Half Net Profit to Fall on Accounting Irregularities         Dow Jones Newswires Chinese (English)
12/10/2014    1:24:00 AM     12/10/2014        Israeli Researchers Find Security Flaws on Alibaba's International Marketplace              Dow Jones Institutional News
12/10/2014    3:47:00 AM     12/10/2014        Israeli Researchers Find Security Flaws on Alibaba's International Marketplace              Dow Jones Newswires Chinese (English)
12/10/2014    6:02:00 AM     12/10/2014        Alibaba Movie Unit Misstated Taxes, Auditor Analysis Finds -- Update                        Dow Jones Institutional News
12/11/2014    8:55:00 AM     12/11/2014        Founder Accused Ahead Of Alibaba Backed Momo's IPO: Theft, Graft, Indency?! -- BarronDow Jones Institutional News
12/15/2014   12:27:00 AM     12/15/2014        Alibaba's Taxi App Soars, Goldman Sees Great Promise In O2O -- Barron's Blog                Dow Jones Institutional News




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                                                                         Exhibit 2
                                                              Alibaba Group Holding Limited
                                                                   Materials Considered
                                          List of Stories from Factiva Dow Jones used in Exhibits 8a, 8c, and 8d


  Date         Time        Effective Date                                            Title                                                             News Source
   (1)          (2)              (3)                                                  (4)                                                                  (5)

12/15/2014    3:24:00 AM     12/15/2014        China Dongxiang: 2014 Profit to Rise on Alibaba Investment                                Dow Jones Newswires Chinese (English)
12/15/2014    3:50:00 AM     12/15/2014        China Dongxiang: 2014 Profit to Rise on Alibaba Investment                                Dow Jones Newswires Chinese (English)
12/15/2014    6:39:00 PM     12/16/2014        Jintian Pharmaceutical: Joins Electronic Platform Operated by Alibaba Health Information TDow Jones Institutional News
12/15/2014    6:40:00 PM     12/16/2014        Jintian Pharmaceutical: Joins Electronic Platform Operated by Alibaba Health Information TDow Jones Newswires Chinese (English)
12/15/2014    7:12:00 PM     12/16/2014        Jintian Pharmaceutical to Supply Medicine Through Alibaba Health                          Dow Jones Newswires Chinese (English)
12/15/2014    7:30:00 PM     12/16/2014        China Dongxiang: Higher Profits Related to Investment in Alibaba Group Holding            Dow Jones Newswires Chinese (English)
12/15/2014    8:01:00 PM     12/16/2014        China Dongxiang: 2014 Profit to Surge on Alibaba Investment                               Dow Jones Newswires Chinese (English)
12/15/2014    8:30:00 PM     12/16/2014        China Dongxiang Profit Nearly Quadruples on Alibaba Investment -- Market Talk             Dow Jones Institutional News
12/15/2014    9:42:00 PM     12/16/2014        Bullish on China? Put Your Chips on Alibaba -- Barron's Asia                              Dow Jones Institutional News
12/16/2014   10:59:00 AM     12/16/2014        Alibaba Was the Most-Searched IPO of 2014                                                 Dow Jones Institutional News
12/17/2014    7:53:00 PM     12/18/2014        Alibaba: Alipay Wallet Can Compete With UnionPay, Says Deutsche -- Barron's Blog          Dow Jones Institutional News
12/17/2014   10:51:00 PM     12/18/2014        Uber Partners With Baidu, But Alibaba, Tencent Hard To Beat -- Barron's Blog              Dow Jones Institutional News
12/18/2014    4:35:00 AM     12/18/2014        Alibaba's Jack Ma and Dalian Wanda's Wang Jianlin in Battle to Top China's Rich List -- ThDow Jones Institutional News
12/18/2014    5:02:00 AM     12/18/2014        Alibaba's Jack Ma and Dalian Wanda's Wang Jianlin in Battle to Top China&apos             Dow Jones Newswires Chinese (English)
12/21/2014   10:22:00 PM     12/22/2014        Alibaba Pictures Narrows Gain; Auditors No Qualified Opinion                              Dow Jones Newswires Chinese (English)
12/21/2014   10:22:00 PM     12/22/2014        MARKET TALK: Alibaba Pictures Narrows Gain; Auditors No Qualified Opinion                 Dow Jones Newswires Chinese (English)
12/21/2014   11:22:00 PM     12/22/2014        MARKET TALK: Alibaba Pictures Narrows Gain; Auditors No Qualified Opinion                 Dow Jones Newswires Chinese (English)
12/22/2014    7:03:00 AM     12/22/2014        Alibaba's Jack Ma and Dalian Wanda's Wang Jianlin in Battle to Top China&                 Dow Jones Newswires Korean (English)
12/22/2014    1:02:00 PM     12/22/2014        A Year of IPO Records... From A (Alibaba) to J (Juno Therapeutics)                        Dow Jones Institutional News
12/22/2014    1:50:00 PM     12/22/2014        Alibaba's Tmall Global Site Stumbles                                                      Dow Jones Institutional News
12/22/2014    1:50:00 PM     12/22/2014        Alibaba's Tmall Global Site Stumbles                                                      Dow Jones Top News & Commentary
12/22/2014    2:05:00 PM     12/22/2014        Alibaba's Tmall Global Site Stumbles                                                      Dow Jones Institutional News
12/22/2014    6:41:00 PM     12/23/2014        Alibaba Enters Russell Global Indexes; When Will It Enter MSCI? -- Barron's Blog          Dow Jones Institutional News
12/22/2014    7:17:00 PM     12/23/2014        Foreign Brands Struggle To Enter China Via Alibaba: WSJ -- Barron's Blog                  Dow Jones Institutional News
12/22/2014    8:21:00 PM     12/23/2014        Alibaba's Tmall Global Site Stumbles                                                      Dow Jones Newswires Chinese (English)
12/22/2014    9:54:00 PM     12/23/2014        Alibaba's Shopping Site No Gold Mine for Foreign Brands                                   Dow Jones Institutional News
12/26/2014    3:00:00 AM     12/26/2014        A Year of IPO Records... From A (Alibaba) to J (Juno Therapeutics)                        Dow Jones Newswires Korean (English)
  1/7/2015   10:12:00 PM       1/8/2015        China Internet: Alibaba, Tencent, Baidu To Continue Buying Spree, R&D -- Barron's Blog Dow Jones Institutional News
  1/8/2015    9:48:00 AM       1/8/2015        Starboard Warns Yahoo on Acquisitions and Alibaba Stake -- Market Talk                    Dow Jones Institutional News
  1/8/2015    9:48:00 AM       1/8/2015        Starboard Warns Yahoo on Acquisitions and Alibaba Stake -- Market Talk                    Dow Jones Institutional News
  1/8/2015    9:52:00 AM       1/8/2015        Starboard Reiterates Demand for AOL Merger, Alibaba Spin-off                              Dow Jones Institutional News
  1/9/2015    2:20:00 AM       1/9/2015        Alibaba Founder Jack Ma Apologizes for Criticizing Rival JD.com                           Dow Jones Institutional News
 1/10/2015    3:44:00 AM      1/12/2015        Alibaba, Affiliate Zhejiang Ant to Invest $575 Million in India's One97 Communications -- Dow Jones Institutional News
 1/11/2015    6:50:00 PM      1/12/2015        Alibaba to Invest About $575 Million in Indian Online-Shopping Service, Paytm             Dow Jones Newswires Chinese (English)
 1/11/2015    9:50:00 PM      1/12/2015        Alibaba At $130? Daiwa Thinks So -- Barron's Blog                                         Dow Jones Institutional News
 1/11/2015   10:13:00 PM      1/12/2015        Daiwa Says Alibaba Is Its Top China E-Commerce Pick -- Market Talk                        Dow Jones Institutional News
 1/11/2015   10:31:00 PM      1/12/2015        Daiwa Says Alibaba Is Its Top China E-Commerce Pick -- Market Talk                        Dow Jones Newswires Chinese (English)
 1/11/2015   10:54:00 PM      1/12/2015        India: SunEdison To Invest In Solar, Alibaba In E-Payment -- Barron's Blog                Dow Jones Institutional News
 1/11/2015   11:31:00 PM      1/12/2015        Daiwa Says Alibaba Is Its Top China E-Commerce Pick -- Market Talk                        Dow Jones Newswires Chinese (English)
 1/12/2015    4:25:00 AM      1/12/2015        Alibaba Pays to Play in India -- Heard on the Street                                      Dow Jones Institutional News
 1/12/2015    7:19:00 AM      1/12/2015        Will Alibaba Appear in More ETFs? -- Market Talk                                          Dow Jones Institutional News
 1/12/2015   12:20:00 PM      1/12/2015        FTSE Mulls Index Changes to Allow Alibaba Inclusion -- Barron's Blog                      Dow Jones Institutional News
 1/12/2015    2:54:00 PM      1/12/2015        Alibaba Pays to Play in India                                                             Dow Jones Top Global Market Stories
 1/12/2015    6:18:00 PM      1/13/2015        Alibaba Pays to Play in India -- Heard on the Street                                      Dow Jones Newswires Chinese (English)
 1/12/2015    7:51:00 PM      1/13/2015        Alibaba Health Information Technology Ltd: Settles Legal Dispute With Oracle              Dow Jones Institutional News
 1/12/2015    7:52:00 PM      1/13/2015        Alibaba Health Information Technology Ltd: Settles Legal Dispute With Oracle              Dow Jones Newswires Chinese (English)
 1/12/2015    7:53:00 PM      1/13/2015        Alibaba Health Information Technology Ltd: Oracle Will Refund Company US$11 Million Dow Jones Newswires Chinese (English)
 1/12/2015    7:54:00 PM      1/13/2015        Alibaba Health Information Technology Ltd: Expects a Pretax Loss of HK$34.1 Million on Dow Jones Newswires Chinese (English)
 1/12/2015    7:58:00 PM      1/13/2015        Alibaba Health Information Technology Ltd: Settles Legal Dispute With Oracle              Dow Jones Newswires Chinese (English)
 1/12/2015    7:59:00 PM      1/13/2015        Alibaba Health Information Technology Ltd: Expects a Pretax Loss of HK$34.1 Million on Dow Jones Newswires Chinese (English)
 1/12/2015    7:59:00 PM      1/13/2015        Alibaba Health Information Technology Ltd: Oracle Will Refund Company US$11 Million Dow Jones Newswires Chinese (English)
 1/12/2015    8:52:00 PM      1/13/2015        Alibaba Health Information Technology Settles Legal Dispute With Oracle                   Dow Jones Institutional News
 1/12/2015    9:27:00 PM      1/13/2015        Alibaba Health Information Technology Settles Legal Dispute With Oracle                   Dow Jones Newswires Chinese (English)
 1/13/2015    3:47:00 AM      1/13/2015        Alibaba to Block Sales of Some Children's Products in U.S. -- Consumer Safety Group Rep Dow Jones Institutional News
 1/13/2015    3:50:00 AM      1/13/2015        Alibaba to Block Sales of Some Children's Products in U.S. -- Consumer Safety Gro         Dow Jones Newswires Chinese (English)
 1/13/2015    3:52:00 AM      1/13/2015        Alibaba Block Follows Pact With U.S. Consumer Safety Group                                Dow Jones Newswires Chinese (English)
 1/13/2015    3:52:00 AM      1/13/2015        Alibaba Block Applies to Products That Were Deemed Unsafe in U.S.                         Dow Jones Newswires Chinese (English)
 1/13/2015    3:57:00 AM      1/13/2015        Alibaba Block Follows Pact With U.S. Consumer Safety Group                                Dow Jones Newswires Chinese (English)
 1/13/2015    5:12:00 AM      1/13/2015        US Safety Commission to Hold Alibaba's 'Feet to the Fire' -- Market Talk                  Dow Jones Institutional News
 1/13/2015    5:34:00 AM      1/13/2015        US Safety Commission to Hold Alibaba's 'Feet to the Fire' -- Market Talk                  Dow Jones Newswires Chinese (English)
 1/13/2015    6:51:00 AM      1/13/2015        Alibaba To Block Sales of Unsafe Children's Products in U.S.                              Dow Jones Newswires Chinese (English)
 1/13/2015   11:49:00 AM      1/13/2015        Online Commerce Co Alibaba Group And CPSC Working Together On Consumer Safety Dow Jones Institutional News
 1/13/2015   11:50:00 AM      1/13/2015        Online Commerce Co Alibaba Group And CPSC Working Together On Consumer Safety Dow Jones Newswires Chinese (English)
 1/13/2015   11:53:00 AM      1/13/2015        Alibaba Enages in Voluntary Collabaration With U.S. Consumer Product Safety CommissioDow Jones Newswires Chinese (English)
 1/13/2015   11:54:00 AM      1/13/2015        Alibaba to Cooperate With CPSC in Making Illegal or Recalled Products in U.S. UnavailablDow Jones Newswires Chinese (English)
 1/13/2015   11:59:00 AM      1/13/2015        Press Release: Online Commerce Company Alibaba Group and CPSC Working Together OnDow Jones Institutional News
 1/13/2015   10:00:00 PM      1/14/2015        Mainlanders Buying Baiyunshan on Tie-Up With Alibaba's Ma -- Market Talk                  Dow Jones Institutional News
 1/13/2015   10:33:00 PM      1/14/2015        Mainlanders Buying Baiyunshan on Tie-Up With Alibaba's Ma -- Market Talk                  Dow Jones Newswires Chinese (English)
 1/13/2015   11:01:00 PM      1/14/2015        Alibaba Buys Controlling Stake in Chinese Internet Marketing Firm AdChina                 Dow Jones Institutional News
 1/13/2015   11:02:00 PM      1/14/2015        Alibaba Buys Controlling Stake in Chinese Internet Marketing Firm AdChina                 Dow Jones Newswires Chinese (English)
 1/13/2015   11:15:00 PM      1/14/2015        Alibaba Buys Controlling Stake in Chinese Internet Marketing Firm                         Dow Jones Institutional News
 1/13/2015   11:22:00 PM      1/14/2015        Alibaba Partners With Maker of Generic Viagra and Herbal Tea -- Market Talk               Dow Jones Institutional News
 1/13/2015   11:24:00 PM      1/14/2015        Alibaba Buys Controlling Stake in Chinese Internet Marketing Firm                         Dow Jones Top Global Market Stories
 1/13/2015   11:30:00 PM      1/14/2015        Alibaba Buys Controlling Stake in Chinese Internet Marketing Firm                         Dow Jones Institutional News
 1/13/2015   11:33:00 PM      1/14/2015        Mainlanders Buying Baiyunshan on Tie-Up With Alibaba's Ma -- Market Talk                  Dow Jones Newswires Chinese (English)
 1/13/2015   11:41:00 PM      1/14/2015        Alibaba Buys Controlling Stake in Chinese Internet Marketing Firm                         Dow Jones Newswires Chinese (English)
 1/14/2015    1:48:00 AM      1/14/2015        Kuaidi Group Investors Include Softbank, Alibaba, Tiger Global - Sources                  Dow Jones Newswires Chinese (English)
 1/14/2015    2:46:00 AM      1/14/2015        Alibaba-Backed Ride-Hailing App Kuaidi Raising Over $500M -- Market Talk                  Dow Jones Institutional News
 1/14/2015    6:39:00 AM      1/14/2015        Alibaba Buys Controlling Stake in Chinese Internet Marketing Firm                         Dow Jones Top North American Equities Stories
 1/14/2015    8:30:00 PM      1/15/2015        Press Release: KuaiDi Dache, China's Leading Mobile Taxi Booking App, Secures US$600 Dow Jones Institutional News
 1/14/2015    8:39:00 PM      1/15/2015        Kuaidi Investors in Latest Round Include Alibaba, Tiger Global                            Dow Jones Newswires Chinese (English)




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        Case 1:15-md-02631-CM-SDA Document 54-1 Filed 03/12/18 Page 77 of 101


                                                                        Exhibit 2
                                                             Alibaba Group Holding Limited
                                                                  Materials Considered
                                         List of Stories from Factiva Dow Jones used in Exhibits 8a, 8c, and 8d


 Date         Time        Effective Date                                           Title                                                            News Source
  (1)          (2)              (3)                                                 (4)                                                                 (5)

1/15/2015    4:09:00 AM      1/15/2015        Press Release: Alibaba Group Will Announce December Quarter 2014 Results on January 2 Dow Jones Institutional News
1/15/2015    8:23:00 PM      1/16/2015        Guangzhou Baiyunshan Pharmaceutical Clarifies Strategic Partnership With Alibaba Health Dow Jones Institutional News
1/15/2015    8:25:00 PM      1/16/2015        Guangzhou Baiyunshan Pharmaceutical Clarifies Strategic Partnership With Alibaba Health Dow Jones Newswires Chinese (English)
1/15/2015    8:33:00 PM      1/16/2015        Guangzhou Baiyunshan Pharmaceutical Clarifies Strategic Partnership With Alibaba Health Dow Jones Institutional News
1/15/2015    9:08:00 PM      1/16/2015        Guangzhou Baiyunshan Pharmaceutical Clarifies Strategic Partnership With Alibaba Health Dow Jones Newswires Chinese (English)
1/16/2015    6:39:00 AM      1/16/2015        MSCI Move Would Affect Chinese Internet Sector Including Alibaba                        Dow Jones Newswires Chinese (English)
1/16/2015   10:49:00 AM      1/16/2015        MSCI Green-Lights Alibaba Inclusion Proviso -- Barron's Blog                            Dow Jones Institutional News
1/18/2015    9:00:00 PM      1/20/2015        Finally, MSCI Includes Alibaba, Baidu In China Index; A-Shares Next? -- Barron's Blog Dow Jones Institutional News
1/19/2015    3:17:00 AM      1/20/2015        MSCI Shakeup Could Drive $75B to Likes of Alibaba, Baidu -- Market Talk                 Dow Jones Institutional News
1/19/2015    3:42:00 AM      1/20/2015        MSCI Shakeup Could Drive $75B to Likes of Alibaba, Baidu -- Market Talk                 Dow Jones Newswires Chinese (English)
1/19/2015    4:42:00 AM      1/20/2015        MSCI Shakeup Could Drive $75B to Likes of Alibaba, Baidu -- Market Talk                 Dow Jones Newswires Chinese (English)
1/19/2015    4:46:00 AM      1/20/2015        Alibaba-Backed Group Discount Site Meituan.com Raises $700 Million                      Dow Jones Institutional News
1/19/2015    4:48:00 AM      1/20/2015        Alibaba-Backed Group Discount Site Meituan.com Raises $700 Million                      Dow Jones Newswires Chinese (English)
1/19/2015   11:27:00 PM      1/20/2015        Finally, MSCI Includes Alibaba, Baidu In China Index; A-Shares Next? -- Barron's B      Dow Jones Newswires Korean (English)
1/20/2015    2:00:00 AM      1/20/2015        Alibaba Invests in Israeli Startup Visualead                                            Dow Jones Institutional News
1/20/2015    2:01:00 AM      1/20/2015        Alibaba's Visualead Investment Under $10M - Source                                      Dow Jones Newswires Chinese (English)
1/20/2015    2:01:00 AM      1/20/2015        Alibaba Invests in Israeli Startup Visualead                                            Dow Jones Newswires Chinese (English)
1/20/2015    2:03:00 AM      1/20/2015        Visualead to Partner With Alibaba in Enabling Merchants to Generate QR Codes            Dow Jones Newswires Chinese (English)
1/20/2015    2:17:00 AM      1/20/2015        Alibaba Invests in Israeli Startup Visualead                                            Dow Jones Newswires Chinese (English)
1/20/2015    3:10:00 AM      1/20/2015        Alibaba Invests in Israeli Startup Visualead -- Update                                  Dow Jones Institutional News
1/20/2015    4:33:00 AM      1/20/2015        Alibaba Invests in Israeli Startup Visualead -- Update                                  Dow Jones Newswires Chinese (English)
1/20/2015    5:59:00 AM      1/20/2015        Alibaba Stake Puts Focus on China Investment Into Israeli Tech -- Market Talk           Dow Jones Institutional News
1/20/2015    9:44:00 AM      1/20/2015        A Primer on Visualead, the Israeli Start-up Alibaba Just Invested in                    Dow Jones Institutional News
1/20/2015   11:52:00 AM      1/20/2015        Alibaba Invests in Israeli Startup Visualead -- 2nd Update                              Dow Jones Institutional News
1/21/2015    2:33:00 AM      1/21/2015        Alibaba: Q4 Margin Likely Weak, IPO Lock-Up Expires In March -- Barron's Blog           Dow Jones Institutional News
1/21/2015    3:30:00 AM      1/21/2015        Alibaba: Q4 Margin Likely Weak, IPO Lock-Up Expires In March -- Barron's Blog           Dow Jones Newswires Chinese (English)
1/21/2015   10:40:00 PM      1/22/2015        New China Investment Rules Help Alibaba, but May Hurt Tencent -- Market Talk            Dow Jones Institutional News
1/21/2015   10:40:00 PM      1/22/2015        New China Investment Rules Help Alibaba, but May Hurt Tencent -- Market Talk            Dow Jones Institutional News
1/22/2015   12:10:00 AM      1/22/2015        New China Investment Rules Help Alibaba, but May Hurt Tencent -- Market Talk            Dow Jones Newswires Chinese (English)
1/22/2015   12:41:00 AM      1/22/2015        Alibaba: Q4 Margin Likely Weak, IPO Lock-Up Expires In March -- Barron's Blog           Dow Jones Newswires Korean (English)
1/22/2015    1:10:00 AM      1/22/2015        New China Investment Rules Help Alibaba, but May Hurt Tencent -- Market Talk            Dow Jones Newswires Chinese (English)
1/22/2015    6:52:00 PM      1/23/2015        Tencent, Baidu And Alibaba Offer Limited Near-Term Upside: Nomura -- Barron's Blog Dow Jones Institutional News
1/25/2015   10:56:00 PM      1/26/2015        Alibaba Q4 Preview: Watch For Mobile Mix And Rates, International Expansion -- Barron'sDow Jones Institutional News
1/26/2015    6:25:00 PM      1/27/2015        Yahoo Holders Await Plan for Alibaba Assets                                             Dow Jones Institutional News
1/26/2015    6:40:00 PM      1/27/2015        Yahoo Holders Await Plan for Alibaba Assets                                             Dow Jones Institutional News
1/26/2015    7:07:00 PM      1/27/2015        Alibaba Pictures Group: Expect to Swing to 2014 Loss of up to HK$600 Mln                Dow Jones Institutional News
1/26/2015    7:12:00 PM      1/27/2015        Alibaba Pictures Group: Expect to Swing to 2014 Loss of up to HK$600 Mln                Dow Jones Newswires Chinese (English)
1/26/2015    7:13:00 PM      1/27/2015        Alibaba Pictures Group: Expected Loss Partly Due to Significant Drop in Revenue         Dow Jones Newswires Chinese (English)
1/26/2015    7:53:00 PM      1/27/2015        Yahoo Holders Await Plan for Alibaba Assets                                             Dow Jones Newswires Chinese (English)
1/26/2015    8:24:00 PM      1/27/2015        Yahoo Holders Await Plan for Alibaba Assets                                             Dow Jones Top Global Market Stories
1/26/2015    8:33:00 PM      1/27/2015        How to Trade Yahoo! As Big Alibaba News Nears -- Barron's Asia                          Dow Jones Institutional News
1/26/2015    9:45:00 PM      1/27/2015        Chinese Movie Star Zhao Wei Buys 9.18% Stake in Alibaba Pictures --Stock Exchange       Dow Jones Institutional News
1/26/2015    9:47:00 PM      1/27/2015        Chinese Movie Star Zhao Wei Buys 9.18% Stake in Alibaba Pictures --Stock Exchange       Dow Jones Newswires Chinese (English)
1/26/2015    9:48:00 PM      1/27/2015        Chinese Movie Star Zhao Wei Buys Stake in Alibaba Pictures for Around HK$3.09 Bln--StoDow Jones Newswires Chinese (English)
1/26/2015    9:50:00 PM      1/27/2015        Chinese Movie Star Zhao Wei Buys Stake in Alibaba Pictures for Around HK$3.09 Bln--StoDow Jones Newswires Chinese (English)
1/26/2015    9:51:00 PM      1/27/2015        Zhao Wei Buys 1.93 Bln Shares of Alibaba Pictures at Average Price of HK$1.60 Each --St Dow Jones Newswires Chinese (English)
1/26/2015   10:03:00 PM      1/27/2015        Shares of Alibaba Pictures Jump as Much as 12% in Early Morning Session                 Dow Jones Newswires Chinese (English)
1/26/2015   10:29:00 PM      1/27/2015        Chinese Movie Star Zhao Wei Buys Stake in Alibaba Pictures                              Dow Jones Top Global Market Stories
1/26/2015   10:30:00 PM      1/27/2015        Chinese Movie Star Zhao Wei Buys Stake in Alibaba Pictures                              Dow Jones Institutional News
1/26/2015   10:36:00 PM      1/27/2015        Chinese Movie Star Zhao Wei Buys $399 Mln Stake in Alibaba Pictures -Stock Exchange Dow Jones Newswires Chinese (English)
1/26/2015   10:44:00 PM      1/27/2015        Alibaba Pictures Jumps on Movie Star's Investment -- Market Talk                        Dow Jones Institutional News
1/26/2015   10:45:00 PM      1/27/2015        Chinese Movie Star Zhao Wei Buys Stake in Alibaba Pictures                              Dow Jones Institutional News
1/27/2015    2:12:00 AM      1/27/2015        Alibaba Pictures Warns of Loss, Actress Buys Stake                                      Dow Jones Institutional News
1/27/2015    5:53:00 AM      1/27/2015        Alibaba Pictures Warns of Loss, Actress Buys Stake -- Update                            Dow Jones Institutional News
1/27/2015    6:24:00 AM      1/27/2015        Yahoo Holders Await Plan for Alibaba Assets                                             Dow Jones Top North American Equities Stories
1/27/2015    6:49:00 AM      1/27/2015        Chinese Movie Star Zhao Wei Buys Stake in Alibaba Pictures                              Dow Jones Top North American Equities Stories
1/27/2015    9:14:00 AM      1/27/2015        Yahoo Holders Await Plan for Alibaba Assets                                             Dow Jones Top Energy Stories
1/27/2015    4:06:00 PM      1/28/2015        Press Release: Yahoo Announces Plan for Tax-Free Spin-Off of Remaining Stake in Alibab Dow Jones Institutional News
1/27/2015    4:09:00 PM      1/28/2015        Yahoo to Spin Off Remaining Holdings in Alibaba Into Newly Formed Independent InvestmDow Jones Newswires Chinese (English)
1/27/2015    4:10:00 PM      1/28/2015        Yahoo: SpinCo Will Own Yahoo's Remaining 384M Shares of Alibaba, Valued at $40 BillioDow Jones Newswires Chinese (English)
1/27/2015    4:14:00 PM      1/28/2015        Yahoo to Spin Off Alibaba Stake                                                         Dow Jones Institutional News
1/27/2015    4:20:00 PM      1/28/2015        Yahoo to Spin Off Alibaba Stake                                                         Dow Jones Top News & Commentary
1/27/2015    4:22:00 PM      1/28/2015        Yahoo Spins Off Alibaba Stake -- Market Talk                                            Dow Jones Institutional News
1/27/2015    4:22:00 PM      1/28/2015        Yahoo Spins Off Alibaba Stake -- Market Talk                                            Dow Jones Institutional News
1/27/2015    4:24:00 PM      1/28/2015        Yahoo to Spin Off Alibaba Stake                                                         Dow Jones Top North American Equities Stories
1/27/2015    4:24:00 PM      1/28/2015        Yahoo to Spin Off Alibaba Stake                                                         Dow Jones Top Global Market Stories
1/27/2015    4:29:00 PM      1/28/2015        Yahoo to Spin Off Alibaba Stake                                                         Dow Jones Institutional News
1/27/2015    4:30:00 PM      1/28/2015        Yahoo to Spin Off Alibaba Stake -- Update                                               Dow Jones Institutional News
1/27/2015    4:43:00 PM      1/28/2015        Yahoo to Spin Off Alibaba Stake                                                         Dow Jones Newswires Chinese (English)
1/27/2015    4:44:00 PM      1/28/2015        Yahoo to Spin Off Alibaba Stake -- 2nd Update                                           Dow Jones Institutional News
1/27/2015    4:45:00 PM      1/28/2015        Yahoo to Spin Off Alibaba Stake -- Update                                               Dow Jones Institutional News
1/27/2015    4:59:00 PM      1/28/2015        Yahoo to Spin Off Alibaba Stake -- 2nd Update                                           Dow Jones Institutional News
1/27/2015    5:00:00 PM      1/28/2015        Yahoo to Spin Off Remaining Alibaba Stake -- 3rd Update                                 Dow Jones Institutional News
1/27/2015    5:15:00 PM      1/28/2015        Yahoo to Spin Off Remaining Alibaba Stake -- 3rd Update                                 Dow Jones Institutional News
1/27/2015    5:23:00 PM      1/28/2015        Yahoo to Spin Off Remaining Alibaba Stake -- 4th Update                                 Dow Jones Institutional News
1/27/2015    5:37:00 PM      1/28/2015        Yahoo's Spin of Alibaba Likely First Step of Two-Step Deal -- Market Talk               Dow Jones Institutional News
1/27/2015    5:37:00 PM      1/28/2015        Yahoo's Spin of Alibaba Likely First Step of Two-Step Deal -- Market Talk               Dow Jones Institutional News
1/27/2015    5:38:00 PM      1/28/2015        Yahoo to Spin Off Remaining Alibaba Stake -- 4th Update                                 Dow Jones Institutional News
1/27/2015    5:39:00 PM      1/28/2015        Yahoo to Spin Off Remaining Alibaba Stake -- 4th Update                                 Dow Jones Institutional News
1/27/2015    5:45:00 PM      1/28/2015        Yahoo to Spin Off Alibaba Stake -- 2nd Update                                           Dow Jones Newswires Chinese (English)
1/27/2015    5:47:00 PM      1/28/2015        Yahoo Lifts Veil With Alibaba Spin -- Heard on the Street                               Dow Jones Institutional News




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                                                                        Exhibit 2
                                                             Alibaba Group Holding Limited
                                                                  Materials Considered
                                         List of Stories from Factiva Dow Jones used in Exhibits 8a, 8c, and 8d


 Date         Time        Effective Date                                            Title                                                             News Source
  (1)          (2)              (3)                                                  (4)                                                                  (5)

1/27/2015    5:54:00 PM      1/28/2015        Yahoo to Spin Off Remaining Alibaba Stake -- 4th Update                                   Dow Jones Institutional News
1/27/2015    5:57:00 PM      1/28/2015        Yahoo Lifts Veil With Alibaba Spin -- Heard on the Street                                 Dow Jones Institutional News
1/27/2015    6:59:00 PM      1/28/2015        Yahoo Lifts Veil With Alibaba Spin                                                        Dow Jones Top Energy Stories
1/27/2015    7:27:00 PM      1/28/2015        Yahoo's Spin of Alibaba Likely First Step of Two-Step Deal -- Market Talk                 Dow Jones Newswires Chinese (English)
1/27/2015    7:29:00 PM      1/28/2015        Yahoo Lifts Veil With Alibaba Spin                                                        Dow Jones Top Global Market Stories
1/27/2015    7:46:00 PM      1/28/2015        Yahoo Lifts Veil With Alibaba Spin -- Heard On The Street                                 Dow Jones Institutional News
1/27/2015    8:10:00 PM      1/28/2015        Will Yahoo's Spin of Its Alibaba Stake Satisfy Starboard?                                 Dow Jones Institutional News
1/27/2015    8:24:00 PM      1/28/2015        Will Yahoo's Spin of Its Alibaba Stake Satisfy Starboard?                                 Dow Jones Top Global Market Stories
1/27/2015    8:25:00 PM      1/28/2015        Will Yahoo's Spin of Its Alibaba Stake Satisfy Starboard?                                 Dow Jones Institutional News
1/27/2015   11:00:00 PM      1/28/2015        Will Softbank Copy Yahoo's Alibaba Spinoff? -- Market Talk                                Dow Jones Institutional News
1/27/2015   11:32:00 PM      1/28/2015        Yahoo to Spin Off Remaining Alibaba Stake -- 4th Update                                   Dow Jones Institutional News
1/27/2015   11:35:00 PM      1/28/2015        Will Softbank Copy Yahoo's Alibaba Spinoff? -- Market Talk                                Dow Jones Newswires Chinese (English)
1/27/2015   11:47:00 PM      1/28/2015        Yahoo to Spin Off Remaining Alibaba Stake -- 4th Update                                   Dow Jones Institutional News
1/28/2015   12:10:00 AM      1/28/2015        Alibaba Affiliate Ant Financial Unveils China's First Credit-Scoring System Using Online DDow Jones Newswires Chinese (English)
1/28/2015   12:43:00 AM      1/28/2015        Chinese Agency Criticizes Alibaba For Lax Internal Controls                               Dow Jones Institutional News
1/28/2015   12:45:00 AM      1/28/2015        Chinese Agency Criticizes Alibaba For Lax Internal Controls                               Dow Jones Newswires Chinese (English)
1/28/2015   12:46:00 AM      1/28/2015        China's SAIC Criticizes Alibaba For Offering Fake Goods on Online Marketplaces            Dow Jones Newswires Chinese (English)
1/28/2015    1:06:00 AM      1/28/2015        China's SAIC Criticizes Alibaba For Controls on Merchants' Goods--Update                  Dow Jones Institutional News
1/28/2015    1:24:00 AM      1/28/2015        China's SAIC Criticizes Alibaba For Controls on Merchants' Goods                          Dow Jones Newswires Chinese (English)
1/28/2015    1:26:00 AM      1/28/2015        China's SAIC Criticizes Alibaba For Controls on Merchants' Goods-- 2nd Update             Dow Jones Institutional News
1/28/2015    2:01:00 AM      1/28/2015        Beijing Slap at Alibaba Not to Be Ignored -- Market Talk                                  Dow Jones Institutional News
1/28/2015    2:01:00 AM      1/28/2015        Beijing Slap at Alibaba Not to Be Ignored -- Market Talk                                  Dow Jones Institutional News
1/28/2015    2:28:00 AM      1/28/2015        Beijing Slap at Alibaba Not to Be Ignored -- Market Talk                                  Dow Jones Newswires Chinese (English)
1/28/2015    2:28:00 AM      1/28/2015        Beijing Slap at Alibaba Not to Be Ignored -- Market Talk                                  Dow Jones Newswires Korean (English)
1/28/2015    2:53:00 AM      1/28/2015        Alibaba Plans to Complain to SAIC About Officials' Methods -- Weibo Statement             Dow Jones Institutional News
1/28/2015    2:57:00 AM      1/28/2015        Alibaba Plans to Complain to SAIC About Officials' Methods -- Weibo Statement             Dow Jones Newswires Chinese (English)
1/28/2015    2:58:00 AM      1/28/2015        Alibaba 'Willing to Accept Responsibility' For Fighting Fakes -- Statement                Dow Jones Newswires Chinese (English)
1/28/2015    2:58:00 AM      1/28/2015        China's SAIC Criticizes Alibaba For Controls on Merchants' Goods-- Update                 Dow Jones Newswires Chinese (English)
1/28/2015    2:59:00 AM      1/28/2015        Alibaba's Taobao Platform 'Victim Not Beneficiary' of Fakes -- Statement                  Dow Jones Newswires Chinese (English)
1/28/2015    3:00:00 AM      1/28/2015        Alibaba's Taobao Worked to Stop Fakes 'But Still Not Good Enough' -- Statement            Dow Jones Newswires Chinese (English)
1/28/2015    3:28:00 AM      1/28/2015        Beijing Slap at Alibaba Not to Be Ignored -- Market Talk                                  Dow Jones Newswires Chinese (English)
1/28/2015    3:54:00 AM      1/28/2015        China Calls Alibaba Pompous, Accusing It Of Lax Oversight -- Barron's Blog                Dow Jones Institutional News
1/28/2015    4:07:00 AM      1/28/2015        China's SAIC Criticizes Alibaba Over Fake Goods -- 4th Update                             Dow Jones Institutional News
1/28/2015    4:10:00 AM      1/28/2015        Alibaba Set To Report Strong Revenue Growth For Fiscal 3Q Though Margins Likely Sque Dow Jones Institutional News
1/28/2015    4:15:00 AM      1/28/2015        Alibaba Earnings: What to Watch                                                           Dow Jones Institutional News
1/28/2015    4:16:00 AM      1/28/2015        Alibaba Sells Shoddy Goods Says China Watchdog                                            Dow Jones Institutional News
1/28/2015    4:45:00 AM      1/28/2015        China's SAIC Criticizes Alibaba Over Fake Goods -- 5th Update                             Dow Jones Institutional News
1/28/2015    5:04:00 AM      1/28/2015        China's Agency Criticizes Alibaba Over Fake Goods                                         Dow Jones Top Global Market Stories
1/28/2015    6:03:00 AM      1/28/2015        Yahoo to Spin Off Remaining Alibaba Stake                                                 Dow Jones Newswires Korean (English)
1/28/2015    6:24:00 AM      1/28/2015        Yahoo Lifts Veil With Alibaba Spin                                                        Dow Jones Top Global Market Stories
1/28/2015    6:34:00 AM      1/28/2015        China's Agency Criticizes Alibaba Over Fake Goods                                         Dow Jones Top North American Equities Stories
1/28/2015    6:35:00 AM      1/28/2015        Will Yahoo's Spin of Its Alibaba Stake Satisfy Starboard?                                 Dow Jones Top Energy Stories
1/28/2015    6:35:00 AM      1/28/2015        Yahoo Lifts Veil With Alibaba Spin                                                        Dow Jones Top Energy Stories
1/28/2015    8:04:00 AM      1/28/2015        A Closer Look At China's Alibaba Allegations                                              Dow Jones Institutional News
1/28/2015    8:13:00 AM      1/28/2015        China's SAIC Criticizes Alibaba Over Fake Goods -- 4th Update                             Dow Jones Newswires Chinese (English)
1/28/2015    8:57:00 AM      1/28/2015        Alibaba Earnings: What to Watch                                                           Dow Jones Newswires Chinese (English)
1/28/2015    9:03:00 AM      1/28/2015        CMO Today: Yahoo's Alibaba Spinoff Plan                                                   Dow Jones Institutional News
1/28/2015    9:54:00 AM      1/28/2015        China's SAIC Criticizes Alibaba Over Fake Goods -- 6th Update                             Dow Jones Institutional News
1/28/2015   10:19:00 AM      1/28/2015        Yahoo Lifts Veil With Alibaba Spin                                                        Dow Jones Top North American Equities Stories
1/28/2015   10:42:00 AM      1/28/2015        Should Alibaba Buy the 15% Stake Yahoo Is Spinning Off?                                   Dow Jones Institutional News
1/28/2015   12:14:00 PM      1/28/2015        Will Yahoo's Spin of Its Alibaba Stake Satisfy Starboard?                                 Dow Jones Top North American Equities Stories
1/28/2015   12:54:00 PM      1/28/2015        Yahoo Lifts Veil With Alibaba Spin                                                        Dow Jones Top North American Equities Stories




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                                                 Exhibit 3
                                   Alibaba Group Holding Limited
          Weekly Trading Volume as a Percent of Shares Outstanding for ADSs
                       September 19, 2014 to January 28, 20151


                     First Trading           Weekly                 Shares            Percent of Shares
       Week          Date of Week           Volume2             Outstanding3           Traded Weekly
        (1)               (2)                 (3)                    (4)                    (5)
                                                                                          (3) / (4)

           1           9/19/2014           257,741,704          2,465,006,000                 10.46 %
           2           9/22/2014           175,088,912          2,465,006,000                  7.10
           3           9/29/2014           107,601,754          2,465,006,000                  4.37
           4           10/6/2014            65,456,439          2,465,006,000                  2.66
           5          10/13/2014            75,438,428          2,465,006,000                  3.06
           6          10/20/2014           100,428,259          2,465,006,000                  4.07
           7          10/27/2014           115,949,845          2,465,006,000                  4.70
           8           11/3/2014           230,878,971          2,465,006,000                  9.37
           9          11/10/2014           278,976,331          2,465,006,000                 11.32
          10          11/17/2014           166,060,345          2,465,006,000                  6.74
          11          11/24/2014            60,967,256          2,465,006,000                  2.47
          12           12/1/2014            92,330,062          2,465,006,000                  3.75
          13           12/8/2014            88,783,371          2,465,006,000                  3.60
          14          12/15/2014            89,172,633          2,465,006,000                  3.62
          15          12/22/2014            42,621,904          2,465,006,000                  1.73
          16          12/29/2014            39,042,618          2,465,006,000                  1.58
          17            1/5/2015            64,996,722          2,465,006,000                  2.64
          18           1/12/2015            65,390,690          2,465,006,000                  2.65
          19           1/20/2015            46,266,476          2,465,006,000                  1.88
          20           1/26/2015            65,183,038          2,465,006,000                  2.64

        Average Weekly Trading Volume as a Percent of Shares Outstanding 4                     4.29 %

        Median Weekly Trading Volume as a Percent of Shares Outstanding 4                      3.61 %

 Notes and Sources:
 Data obtained from Bloomberg L.P.
 1
     The Amended Consolidated Complaint dated July 1, 2015 lists the class period as September
     19, 2014 to January 29, 2015. However, since the final disclosure occurs before the market
     opened on January 29, 2015, January 28, 2015 is taken to be the end of the class period.
 2
     Daily trading volume is adjusted for the NYSE designated market maker rate, which is
     updated monthly. Weekly trading volume is the arithmetic mean of each week's adjusted
     daily trading volume.
 3
     Shares outstanding figures are as of the most recent reported date. Shares outstanding
     figures are used in place of ADSs outstanding figures as any shares sold by pre-IPO
     shareholders subsequently become ADSs.




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                                                Exhibit 3
                                 Alibaba Group Holding Limited
         Weekly Trading Volume as a Percent of Shares Outstanding for ADSs
                      September 19, 2014 to January 28, 20151


 4
     Calculated using weeks 2 through 19 as week 1 includes only 1 day of the class period and
     week 20 includes only 3 days of the class period. Assuming that each trading day in weeks 1
     and 19 corresponds to one-fifth of a week, the average weekly trading volume as a percent
     of shares outstanding over the class period (20 weeks) is 4.81%. The median weekly trading
     volume as a percent of shares outstanding over the entire class period is 3.61%.




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                                                Exhibit 4a
                                  Alibaba Group Holding Limited
                                   Analysts Contributing to
                       Quarterly I/B/E/S1 Consensus Earnings Estimates
                                  September 2014 to January 2015

                                                                                Number of Analysts
                                                                               Submitting Quarterly
                                                         Earnings              Earnings Estimates to
    Fiscal Quarter End        Estimate Date        Announcement Date                   I/B/E/S2
            (1)                    (2)                    (3)                             (4)

          09/2014                9/18/2014             11/04/2014                           2
          09/2014               10/16/2014             11/04/2014                          11
          12/2014               11/20/2014             01/29/2015                          28
          12/2014               12/18/2014             01/29/2015                          27
          12/2014                1/15/2015             01/29/2015                          26

    Average Number of Analyst Estimates3                                                 23.0

    Median Number of Analyst Estimates3                                                  26.5

Notes and Sources:
Earnings dates and number of analyst estimates obtained from I/B/E/S Consensus EPS Surprise
History via FactSet Research Systems, Inc.
1
    Institutional Brokers' Estimate System.
2
    Number of analyst estimates covering Alibaba ADSs.
3
    Calculated using estimates data within the class period (observations October 16, 2014 to
    to January 15, 2015).
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                                                                                                 Exhibit 4b
                                                                                       Alibaba Group Holding Limited
                                                                                      Analyst Reports Covering Alibaba
                                                                                      As Reported by Thomson Reuters
                                                                                       September 2014 to January 2015


  Date                     Contributor                           Analyst                                                                                 Title
   (1)                         (2)                                 (3)                                                                                    (4)

  9/8/2014   JG Capital                                   Guo, Henry           Alibaba – IPO Pricing $60-66/sh; Our PT is $100
  9/8/2014   Susquehanna Financial Group LLLP             Nowak, Brian         21 IPO Roadshow Questions
  9/8/2014   Susquehanna Financial Group LLLP             Nowak, Brian         Open Sesame! IPO Preview
  9/9/2014   MKM Partners                                 Strugger, James      It's Not Too Late For Alibaba Exposure
 9/11/2014   Wedbush Securities Inc.                      Luria, Gil           Initiating with an OUTPERFORM Rating and $80 Price Target; Bigger, Faster Growing and More Profitable, Not Just on a Chinese Scale
 9/12/2014   Susquehanna Financial Group LLLP             Nowak, Brian         Alibaba Pre-IPO Conference Call Transcript
 9/15/2014   JG Capital                                   Guo, Henry           BABA – Taking a Closer Look at Alibaba’s Alipay and SMFS
 9/16/2014   GUOSEN SECURITIES                            Wang, Xueheng        阿里巴巴研究(BABA.US) - 王者归来
 9/16/2014   New Street Research LLP                      Boodry, Kirk         New Street: Alibaba Group (unrated, TP: $77) - New pricing range still attractive
 9/17/2014   CRT Capital                                  Doshi, Neil          CRT: BABA - BABA-Bing! Initiating with a Buy & $95 PT
 9/19/2014   Cantor Fitzgerald                            Squali, Youssef      Raising PT to $43 on Alibaba's IPO Valuation; It's All About Tax Efficiency Now
 9/19/2014   Cantor Fitzgerald                            Squali, Youssef      Open Sesame! Uncovering Alibaba's Treasure Trove; Initiating at BUY with $90 PT
 9/21/2014   Oppenheimer & Co., Inc.                      Helfstein, Jason     Increasing Price Target on BABA Public Valuation & Roll-forward to '16
 9/22/2014   MKM Partners                                 Sanderson, Rob       Powerhouse in Best Secular Growth Market for eCommerce; Initiate with Buy and $125 PT
 9/22/2014   Morningstar, Inc.                            Hottovy, R.J.        Morningstar | A powerful network effect in a rapidly growing industry makes wide moat-rated Alibaba a rare find.
 9/22/2014   JG Capital                                   Guo, Henry           BABA – Initiating Coverage of Alibaba with an Overweight and PT of $110
 9/23/2014   T.H. Capital Research                        Hou, Tian            T. H. Data Flash – Alibaba Group – August 2014: Tmall Shows Strong Growth in August; Mobile Apps Get Boost from Mobile Taobao
 9/29/2014   JG Capital                                   Guo, Henry           BABA – Makes Strategic Investment in Beijing Shiji, One of China’s Top Hotel IT Providers
 9/29/2014   Susquehanna Financial Group LLLP             Nowak, Brian         Open Sesame! Initiate with Positive Rating
 9/29/2014   MKM Partners                                 Sanderson, Rob       Volume 1 of Proprietary Study on Chinese eCommerce; Believe the Hype
 9/29/2014   Wedbush Securities Inc.                      Luria, Gil           With Successful IPO Complete and Ahead of Options Trading, Shares Ready to be Vetted by the Market; Maintain OP and Raising PT to $105 from $80
 10/2/2014   Mirabaud Securities                          Han, Candy           Mirabaud Securities - Peripheral Vision 2nd October 2014
 10/8/2014   Macquarie Research                           Ramler, Nathan       SoftBank (Outperform) - Launching coverage on Alibaba
 10/8/2014   Macquarie Research                           Shao, Jiong          Alibaba Group Holding (Initiating coverage with Neutral) - Doors wide open
 10/9/2014   JG Capital                                   Guo, Henry           BABA – Alibaba Juhuasuan Transitions to Flash Sales Model; Maintain OW; PT $110
10/10/2014   Susquehanna Financial Group LLLP             Nowak, Brian         Where Do We Go From Here?
10/14/2014   UBS Equities                                 Werkun, Erica Poon   Alibaba Group Holding Limited "A global eCommerce ..." (Chinese Version)
10/14/2014   UBS Equities                                 Leung, Stephen       Softbank "Alibaba initiation, increase SOTP valuation" (Buy) Leung
10/14/2014   UBS Equities                                 Werkun, Erica Poon   Alibaba Group Holding Limited "A global eCommerce leader emerges [EXTRACT]"
10/14/2014   UBS Equities                                 Sheridan, Eric       Yahoo "The Path Forward After Alibaba" (Buy) Sheridan
10/14/2014   UBS Equities                                 Werkun, Erica Poon   Alibaba Group Holding Limited "A global eCommerce leader emerges" (Buy) Werkun
10/15/2014   CM Research                                  Mewawalla, Cyrus     Alibaba - What's it worth?
10/16/2014   Brean Capital, LLC                           Gaugler, Michael     Initiating Coverage of BABA with Buy Rating and TP of $110
10/17/2014   JG Capital                                   Guo, Henry           BABA – Alibaba’s Ant Financial Creates Upside Potential in Our View
10/22/2014   Barclays                                     Yap, Alicia          Alibaba Group Holding Ltd.: Breaching new frontiers; initiate at OW
10/24/2014   BMO Capital Markets                          Williams, Edward     BABA--Unlocking the Treasure Trove of E-Commerce; Initiating With Outperform(comment)
10/27/2014   Jefferies                                    Meng, Cynthia        Alibaba: BABA: BUY: The Powerful E-Commerce Ecosystem Connecting Half of China; Initiate at Buy
10/29/2014   Deutsche Bank Equity Research                Hellawell, Alan      Alibaba Alert : AliEveryday
10/29/2014   SunTrust Robinson Humphrey Capital Markets   Peck, Robert         The Alibaba Report Teach-In
10/29/2014   Morgan Stanley                               Moh, Angela          Alibaba Group Holding: Correction: Virtual Economy Titan; Initiate at OW…
10/29/2014   JPMorgan                                     Yao, Alex            Alibaba Group Holding Limited : US$112 price target, initiate with OW; a unique ecosystem, with growth and upside in store
10/29/2014   EVERCORE ISI                                 Sena, Ken            Got it Made in China
10/29/2014   Nomura                                       Wang, Chao           Alibaba Group Holding (BABA US, Buy) - Much more than an eCommerce company
10/29/2014   Credit Suisse - Non-Japan Asia               Wei, Dick            Alibaba Group. OUTPERFORM. The giant marches on
10/29/2014   Deutsche Bank Equity Research                Hellawell, Alan      Alibaba : Stepping more meaningfully into monetization: initiation of coverage
10/29/2014   Credit Suisse - Non-Japan Asia               Wei, Dick            Asian Daily: China - Alibaba Group Holding Limited: New Report: The giant marches on. Initiating Coverage with OUTPERFORM
10/29/2014   Citi                                         Chong, Thomas        Alibaba Group Holding (BABA): Initiate at Buy - The Keys to China's E-commerce Kingdom
10/29/2014   SunTrust Robinson Humphrey Capital Markets   Peck, Robert         The Alibaba Report
10/29/2014   Topeka Capital Markets Inc.                  Anthony, Victor      Strong Growth Prospects; Initiate At Buy
10/29/2014   BNP Paribas Group                            Ling, Vey-sern       ALIBABA GROUP - Dominant online marketplace
10/29/2014   RBC Capital Markets                          Mahaney, Mark        Alibaba Group Holding Limited - Initiating Coverage: BABA-Dabba Do!
10/29/2014   BNP Paribas Group                            Ling, Vey-sern       CHINA INTERNET - E-commerce: shopping for winners
10/29/2014   Wells Fargo Securities, LLC                  Nemer, Matt          BABA: Initiating Coverage With An Outperform Rating




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                                                                                                  Exhibit 4b
                                                                                        Alibaba Group Holding Limited
                                                                                       Analyst Reports Covering Alibaba
                                                                                       As Reported by Thomson Reuters
                                                                                        September 2014 to January 2015


  Date                     Contributor                           Analyst                                                                                   Title
   (1)                         (2)                                 (3)                                                                                      (4)

10/31/2014   CRT Capital                                  Doshi, Neil           CRT: BABA - F2Q Earnings Preview and "Crib Sheet"
10/31/2014   Deutsche Bank Equity Research                Hellawell, Alan       Alibaba Alert : AliEveryday: autos & Sept Q preview
10/31/2014   JG Capital                                   Guo, Henry            BABA – FQ2 Preview; Expect Strong Results and Guidance; Reiterate OW; PT $110
10/31/2014   JPMorgan                                     Anmuth, Doug          Yahoo Inc : Resuming Coverage with Overweight Rating and $55 Price Target Post Alibaba IPO; Previously Not Rated
 11/2/2014   RBC Capital Markets                          Mahaney, Mark         Alibaba Group Holding Limited - Sep. '14Q Earnings Preview & Cheat Sheet
 11/3/2014   JPMorgan                                     Yao, Alex             Alibaba Group Holding Limited : Expecting Strong 2QFY15 Results With Continued Traction in Mobile Monetization
 11/3/2014   Wedbush Securities Inc.                      Luria, Gil            Q2 Preview: With Great Market Cap Will Come Great Scrutiny; Reiterate OUTPERFORM
 11/3/2014   MKM Partners                                 Sanderson, Rob        GMV Growth, Mobile Monetization and Spending Outlook the Focus
 11/3/2014   Morningstar, Inc.                            Yao, Yue              Morningstar | On the Chinese Internet, It's Tough to Trump Tencent
 11/3/2014   UBS Equities                                 Werkun, Erica Poon    Alibaba Group Holding Limited "First Shot on Goal Ahead of Holiday Season"
 11/4/2014   Morgan Stanley                               Moh, Angela           Alibaba Group Holding: A Beat and Raised Quarter
 11/4/2014   Credit Suisse - Non-Japan Asia               Wei, Dick             Asian Daily: China - Alibaba Group Holding Limited. New report: Good improvement in the number of buyers; mobile monetisation gains strong traction. Maintain OUT
 11/4/2014   Credit Suisse - Non-Japan Asia               Wei, Dick             Alibaba Group Holding Limited. OUTPERFORM. Good improvement in the number of buyers; mobile monetisation gains strong traction
 11/4/2014   JPMorgan                                     Yao, Alex             Alibaba Group Holding Limited : Buyer-driven GMV growth indicates LT sustainability; continued improvement in mobile monetization; PT raised to US$122
 11/4/2014   BNP Paribas Group                            Ling, Vey-sern        ALIBABA GROUP - Solid first results post IPO
 11/4/2014   EVERCORE ISI                                 Sena, Ken             A Well-Stitched Quarter
 11/4/2014   Citi                                         Chong, Thomas         Results: Alibaba Group Holding (BABA) - Secular LT story with mobile monetization and adjusted earnings better than our estimates
 11/4/2014   SunTrust Robinson Humphrey Capital Markets   Peck, Robert          Enter the Dragon - Solid Quarter Beat
 11/4/2014   Morningstar, Inc.                            Hottovy, R.J.         Morningstar | Alibaba's First Update as Public Company Adds Support to Network Effect Behind Wide Moat Rating
 11/4/2014   Deutsche Bank Equity Research                Hellawell, Alan       Alibaba Alert : FY2Q15: small beat; mobile metrics surprise again
 11/4/2014   Barclays                                     Yap, Alicia           Alibaba Group Holding Ltd.: Validating mobile commerce growth
 11/4/2014   Citi                                         May, Mark             Alert: YHOO: The Path to BABA-Co
 11/4/2014   Jefferies                                    Meng, Cynthia         Alibaba: BABA: BUY: FY2Q15 Results Review: Mobile Driving Growth
 11/4/2014   RBC Capital Markets                          Mahaney, Mark         Alibaba Group Holding Limited - Strong First Quarter Out Of The Gate
 11/4/2014   Wedbush Securities Inc.                      Luria, Gil            Reaccelerated Growth Highlights First Quarter as Public Company; Reiterate OUTPERFORM and Raise Price Target to $115 from $105
 11/4/2014   Morgan Stanley                               Moh, Angela           Alibaba Group Holding: Quick Comment: F2Q15 Result Highlights
 11/4/2014   BMO Capital Markets                          Williams, Edward      BABA--Mobile Leads the Charge - Improving Monetization and Growing User Base(comment)
 11/4/2014   CRT Capital                                  Doshi, Neil           CRT: BABA - Solid F2Q Results; Reit Buy and Raise PT to $122
 11/4/2014   MKM Partners                                 Sanderson, Rob        Strong Quarter with Acceleration in GMV Growth and Mobile Monetization Ramp
 11/4/2014   Susquehanna Financial Group LLLP             Nowak, Brian          Faster and Higher Out of the Gate
 11/4/2014   BMO Capital Markets                          Williams, Edward      Alibaba Group: Strong Quarter; Looking Ahead to Singles Day (flash)
 11/4/2014   Deutsche Bank Equity Research                Hellawell, Alan       Alibaba : AliEveryday: merchant survey
 11/4/2014   Wells Fargo Securities, LLC                  Nemer, Matt           BABA: Strong First Quarter Out Of The Gate
 11/4/2014   Cantor Fitzgerald                            Squali, Youssef       Solid Quarter Out of the IPO Gate But Expect Higher Investments; PT to $110
 11/4/2014   UBS Equities                                 Werkun, Erica Poon    First Read: Alibaba Group Holding Limited "FQ2 Quick Take" (Buy) Werkun
 11/5/2014   Deutsche Bank Equity Research                Hellawell, Alan       Alibaba : AliEveryday: post-results NDR
 11/5/2014   GUOSEN SECURITIES                            Wang, Xueheng         阿里巴巴(BABA.US) 季报点评 - 首次业绩开门红，未来仍可期
 11/5/2014   Rosenblatt Securities, Inc.                  Zhang, Jun            Rosenblatt TMT Notes (BABA)
 11/5/2014   Thomson Reuters StreetEvents                 Research Department   BABA.N - Event Transcript of Alibaba Group Holding Ltd conference call, Nov. 05, 2014 / 7:30AM ET
 11/5/2014   JG Capital                                   Guo, Henry            BABA – FQ2 Review; Revs Above; EPS In-line; Raise PT to $135; Reiterate Overweight
 11/5/2014   Brean Capital, LLC                           Gaugler, Michael      Growth Fueled by Mobile; Reiterate Buy and Raise TP to $115 from $110
 11/5/2014   Morningstar, Inc.                            Hottovy, R.J.         Morningstar | Alibaba's First Update as Public Company Adds Support to Network Effect Behind Wide Moat Rating. See Updated Analyst Note from 04 Nov 2014
 11/5/2014   Topeka Capital Markets Inc.                  Anthony, Victor       A- Quarter Out Of The Gate
 11/5/2014   UBS Equities                                 Werkun, Erica Poon    Alibaba Group Holding Limited "Reaccelerating trends point to long term ...
 11/7/2014   Deutsche Bank Equity Research                Hellawell, Alan       Alibaba Alert : AliEveryday: Entertainment & sports
11/10/2014   Citi                                         Chong, Thomas         Alert: Alibaba Group Holding (BABA) - Key Takeaways from Investor & Analyst Tour (Day 1)
11/10/2014   Oppenheimer & Co., Inc.                      Ji, Ella              A Jewel In The Crown; Initiate With Outperform
11/10/2014   SunTrust Robinson Humphrey Capital Markets   Peck, Robert          Upcoming Singles Day Should be Bigger than Entire US Cyber Week
11/10/2014   Brean Capital, LLC                           Gaugler, Michael      Singles' Day Update: Alibaba Charging Ahead of the Market
11/10/2014   Credit Suisse - Non-Japan Asia               Wei, Dick             Asian Daily: China - Alibaba Group Holding Limited: Singles Day: Don't just focus on GMV, focus on how it helps Alibaba grow in the long term. Maintain OUTPERFO
11/10/2014   Macquarie Research                           Shao, Jiong           Alibaba Group Holding (Neutral) - Mobile drives growth
11/11/2014   Morgan Stanley                               Moh, Angela           Alibaba Group Holding: Quick Comment: Double 11; Sales Reached US$9.2bn; Breaking Guinness World Record
11/11/2014   BMO Capital Markets                          Williams, Edward      BABA--Scores on Singles Day(comment)




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                                                                                         Alibaba Group Holding Limited
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                                                                                         September 2014 to January 2015


  Date                     Contributor                           Analyst                                                                                 Title
   (1)                         (2)                                 (3)                                                                                    (4)

11/11/2014   SunTrust Robinson Humphrey Capital Markets   Peck, Robert            We Estimate Singles Day Could Drive 65% Revenue Growth
11/11/2014   Citi                                         Chong, Thomas           Alert: Alibaba Group Holding (BABA) - Key takeaways from Investor & Analyst Tour (Day 2)
11/11/2014   JG Capital                                   Guo, Henry              BABA - Double Eleven Shopping Day A Boon for Alibaba; Reiterate Overweight; PT $135
11/11/2014   Wells Fargo Securities, LLC                  Nemer, Matt             BABA: Single's Day Exceeds Expectations
11/11/2014   HSBC                                         Tsang, Chi              Alibaba Group (BABA US):-Initiate at OW(V): Leading in the next growth leg of online shopping
11/11/2014   UBS Equities                                 Werkun, Erica Poon      Alibaba Group Holding Limited "Singles Day: US$2bn GMV in the first hour" (Buy)
11/12/2014   Morgan Stanley                               Moh, Angela             Alibaba Group Holding: Takeaways from Hangzhou Trip
11/12/2014   Topeka Capital Markets Inc.                  Anthony, Victor         Singles Day Takeaways, Largely Positive
11/13/2014   Oppenheimer & Co., Inc.                      Helfstein, Jason        Increasing Price Target to $61 on Higher BABA Valuation
11/17/2014   JPMorgan                                     Yao, Alex               Alibaba Group Holding Limited : Key takeaways from J.P. Morgan Global TMT conference
11/17/2014   Morningstar, Inc.                            Warren, CFA, Greggory   Morningstar | 10 Ultimate Stock-Picker High-Conviction and New-Money Purchases
11/17/2014   Citi                                         May, Mark               YHOO: BABA at a 37% Discount
11/17/2014   Nomura                                       Wang, Chao              Alibaba Group Holding (BABA US, Buy) - Raising TP on mobile surprise (Erratum)
11/18/2014   Barclays                                     Yap, Alicia             Alibaba Group Holding Ltd.: 新たな挑戦、OWでカバレッジ開始
11/20/2014   Morgan Stanley                               Moh, Angela             Alibaba Group Holding: 予想を上回る四半期業績
11/21/2014   Oppenheimer & Co., Inc.                      Ji, Ella                Comparing Tmall Global With Amazon Overseas Direct Mail Services
11/23/2014   Crispidea                                    Ajmera, Shejal          Alibaba Group Holdings Ltd – Juggernaut Continues to Roll
11/24/2014   Mirabaud Securities                          Han, Candy              Mirabaud Securities - Peripheral Vision -13th November 2014
11/26/2014   Morningstar, Inc.                            Hottovy, R.J.           Morningstar | A powerful network effect in a rapidly growing industry makes wide moat-rated Alibaba a rare find.
 12/3/2014   Thomson Reuters StreetEvents                 Research Department     BABA.N - Event Transcript of Alibaba Group Holding Ltd conference call, Dec. 03, 2014 / 3:15PM ET
 12/4/2014   Credit Suisse - Non-Japan Asia               Wei, Dick               Asian Daily: China - Alibaba Group Holding Limited: Takeaways from Credit Suisse Annual Technology Conference. Maintain OUTPERFORM
 12/5/2014   Cantor Fitzgerald                            Squali, Youssef         eWeekly: Holiday Shopping off to Good Start; Cautiously Optimistic on CMPR
 12/9/2014   GlobalData                                   GlobalData              Alibaba Group Holding Limited (BABA) - Financial and Strategic SWOT Analysis Review
12/10/2014   EVERCORE ISI                                 Sena, Ken               Framing the World-to-China Opportunity
12/12/2014   New Street Research LLP                      Boodry, Kirk            New Street: Emerging market Internet services: Funding rounds indicate EM will be uber-competitive
12/15/2014   BuySellSignals Research                      Research Team           Alibaba Group Holding Ltd climbs 12% in 2014, but lagging Retailing sector
12/15/2014   PingAn Securities Co.,LTD                    Wen, Xu                 阿里巴巴（BABA.N）公司深度移动时代的战略大师与生态圈固守者
12/30/2014   BuySellSignals Research                      Research Team           Alibaba Group Holding Ltd adds US$29.3 billion in MCap in 2014, leads Retailing sector gains
  1/5/2015   Susquehanna Financial Group LLLP             N/A                     Discontinuing Coverage
  1/5/2015   JG Capital                                   Guo, Henry              BABA – Alipay Should Drive BABA Shares Higher; Reiterate Overweight Rating; PT $135
  1/6/2015   Mirabaud Securities                          McCahill, William       Mirabaud Securities - Letter from China 06.01.15
  1/7/2015   Oppenheimer & Co., Inc.                      Ji, Ella                China eCommerce 2015 Outlook
  1/9/2015   GlobalData                                   GlobalData              Alibaba Group Holding Limited (BABA) - Financial and Strategic SWOT Analysis Review
 1/12/2015   JG Capital                                   Guo, Henry              BABA – Juhuasuan Business Update; Reiterate Overweight; PT $135
 1/12/2015   BNP Paribas Group                            Ling, Vey-sern          ALIBABA GROUP - Market dominance continues
 1/14/2015   Deutsche Bank Fixed Income Research          Tan, Colin              Alibaba Group Holding Limited : Well positioned for a secular growth story
 1/15/2015   UOB Kay Hian Pte Ltd                         Ge, Nicky               Alibaba Group (BABA US) - Proxy To Rising Consumption In China
 1/15/2015   UOB Kay Hian Pte Ltd                         Ge, Nicky               Alibaba Group (BABA US): Proxy to rising consumption in China. BUY
 1/15/2015   Cantor Fitzgerald                            Squali, Youssef         New 2015 Online Ad and E-Com Forecasts; Best Picks Highlighted
 1/20/2015   Morgan Stanley                               Moh, Angela             Alibaba Group Holding: F3Q15 Preview – Results Due on January 29
 1/21/2015   Morgan Stanley                               Moh, Angela             Alibaba Group Holding: 15年度3Q決算プレビュー： 1月29日に決算発表予定
 1/22/2015   Deutsche Bank Equity Research                Hellawell, Alan         Alibaba Alert : 3QFY15 preview
 1/23/2015   Tigress Financial Partners                   Feinseth, Ivan          Tigress Financial Partners Research Highlights: BABA, DLB, EBAY, SNDK, YHOO
 1/23/2015   Cantor Fitzgerald                            Squali, Youssef         Strong Results Expected for 3Q:FY15
 1/25/2015   Citi                                         Chong, Thomas           Alibaba Group Holding (BABA): 3QFY15 Results Preview
 1/25/2015   UBS Equities                                 Werkun, Erica Poon      Alibaba Group Holding Limited "FQ3 Earnings Preview" (Buy) Werkun
 1/26/2015   RBC Capital Markets                          Mahaney, Mark           Alibaba Group Holding Limited - December '14Q Preview & Cheat Sheet
 1/26/2015   Barclays                                     Yap, Alicia             Alibaba Group Holding Ltd.: 3Q FY15 preview: Expect solid results
 1/26/2015   JG Capital                                   Guo, Henry              BABA – FQ3 Preview; Reiterate Overweight Rating; PT of $135
 1/26/2015   MKM Partners                                 Sanderson, Rob          Vol. 2 of China eCommerce Survey Shows Positive Trends; BABA Reports this Thurs.
 1/26/2015   JPMorgan                                     Yao, Alex               Alibaba Group Holding Limited : 3QFY15 results preview - expecting a strong quarter ahead
 1/26/2015   Credit Suisse - Non-Japan Asia               Wei, Dick               Asian Daily: China - Alibaba Group Holding Limited: CY4Q14 preview: Expect strong GMV growth with take rate increase. Maintain OUTPERFORM
 1/27/2015   Oppenheimer & Co., Inc.                      Helfstein, Jason        Raising Target to $66 on BABA SpinCo Announcement; Maintain Outperform Rating




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                                                                                                            Exhibit 4b
                                                                                                  Alibaba Group Holding Limited
                                                                                                 Analyst Reports Covering Alibaba
                                                                                                 As Reported by Thomson Reuters
                                                                                                  September 2014 to January 2015


       Date                           Contributor                          Analyst                                                                                  Title
        (1)                               (2)                                (3)                                                                                     (4)

      1/27/2015        T.H. Capital Research                        Hou, Tian             T. H. Data Flash – Alibaba Group – December 2014: Tmall Drove GMV Growth in 4Q14; Mobile App Downloads Remain Robust
      1/28/2015        Deutsche Bank Equity Research                Hellawell, Alan       Alibaba Alert : SAIC claims against Alibaba
      1/28/2015        SunTrust Robinson Humphrey Capital Markets   Peck, Robert          Yahoo! Delivers on Alibaba Promise
      1/28/2015        Topeka Capital Markets Inc.                  Anthony, Victor       Tax Free Spin of BABA; Focus Now on Core, Japan, Capital Allocation
      1/28/2015        Cantor Fitzgerald                            Squali, Youssef       Tax-Free Spin-Off of BABA Stake Yields $14/sh of Upside; Maint. BUY; PT to $60
      1/28/2015        Macquarie Research                           Schachter, Ben        Yahoo (Outperform) - 4Q’14: FINALLY! A Plan for BABA
      1/29/2015        Morgan Stanley                               Moh, Angela           Alibaba Group Holding: GMV Beat/Monetization Miss; Not the Whole Story
      1/29/2015        Citi                                         Chong, Thomas         Alibaba Group Holding (BABA): Building the ecosystem for the long term
      1/29/2015        Citi                                         Chong, Thomas         Results: Alibaba Group Holding (BABA) - Revenue Miss on Softer-than-Expected Take-Rate; Customer Experience and Long-Term Growth Are Priorities
      1/29/2015        UOB Kay Hian Pte Ltd                         Ge, Nicky             Alibaba Group (BABA US) - 3QFY15: Mixed Results
      1/29/2015        Nomura                                       Wang, Chao            Alibaba Group Holding (BABA US, Buy) - LT monetisation potential intact; accumulate
      1/29/2015        GF Sec. (HK) Brokerage Ltd                   Fan, Alex             [GF Securities] Dim Sum Express (Jan 30)
      1/29/2015        Morgan Stanley                               Moh, Angela           Alibaba Group Holding: F3Q15 Net Profits Beat 18% Despite Weaker Revenue
      1/29/2015        Deutsche Bank Equity Research                Hellawell, Alan       Alibaba Alert : FY3Q15: slow take-rate expansion
      1/29/2015        Credit Suisse - Non-Japan Asia               Wei, Dick             Asian Daily: China - Alibaba Group Holding Limited. New report: Monetization adjustments shall lead to stronger ecosystem in long-term. Maintain OUTPERFORM
      1/29/2015        Credit Suisse - Non-Japan Asia               Wei, Dick             Alibaba Group Holding Limited. OUTPERFORM. Monetization adjustments should lead to stronger ecosystem in long-term
      1/29/2015        Deutsche Bank Fixed Income Research          Tan, Colin            Alibaba Group Holding Limited : Dec Qtr was good enough; maintain CreditBuy on BABA'34
      1/29/2015        Wedbush Securities Inc.                      Luria, Gil            Growth Continues and Margins Hold Up Even as Singles Day Pulled in Demand; Reiterate OUTPERFORM
      1/29/2015        BMO Capital Markets                          Williams, Edward      BABA--Results Mixed but Growth Remains Strong(comment)
      1/29/2015        Morningstar, Inc.                            Hottovy, R.J.         Morningstar | Alibaba's Monetization Creates Near-Term Concern, but We Believe Network Effect Remains Intact
      1/29/2015        Jefferies                                    Meng, Cynthia         Alibaba: BABA: BUY: Balance is Key in Transitioning to Mobile Commerce; Reiterate Buy
      1/29/2015        RBC Capital Markets                          Mahaney, Mark         Alibaba Group Holding Limited - A Monetization Miss, But Still Strong Fundamentals
      1/29/2015        MKM Partners                                 Sanderson, Rob        Near-term Monetization Set-Back Overshadows Impressive Volume Growth
      1/29/2015        Barclays                                     Yap, Alicia           Alibaba Group Holding Ltd.: GMV vs. ad revenue growth
      1/29/2015        CRT Capital                                  Doshi, Neil           CRT: BABA - Mixed F3Q15; Lower PT to $110, Reiterate Buy
      1/29/2015        Cantor Fitzgerald                            Squali, Youssef       Lower Monetization Offsets Solid GMV Growth; Maintain BUY; PT Lowered to $100
      1/29/2015        Morgan Stanley                               Moh, Angela           Alibaba Group Holding: Addressing Two Top Questions: Yahoo Spin-Off and Counterfeits
      1/29/2015        BNP Paribas Group                            Ling, Vey-sern        ALIBABA GROUP - Disappointing revenue growth
      1/29/2015        Thomson Reuters StreetEvents                 Research Department   BABA.N - Event Transcript of Alibaba Group Holding Ltd conference call, Jan. 29, 2015 / 7:30AM ET
      1/29/2015        UBS Equities                                 Werkun, Erica Poon    First Read: Alibaba Group Holding Limited "FQ3 Quick Take" (Buy) Werkun
      1/30/2015        Morgan Stanley                               Moh, Angela           China Consumer/Retail Weekly
      1/30/2015        Barclays                                     Vogel, Paul           U.S. Internet: TYMHM: Week of 01/26/15 - Superb Amphitheater Week
      1/30/2015        Rosenblatt Securities, Inc.                  Zhang, Jun            Rosenblatt TMT Notes (BABA)
      1/30/2015        ICBC International Securities Limited        You, Na               ICBCI - Alibaba (BABA.US) - 3Q15: Soft growth vs strong performance in mobile; pay attention on SAIC & BABA’s conversation
      1/30/2015        SunTrust Robinson Humphrey Capital Markets   Peck, Robert          Dec Q: Solid GMV and Profit, But Monetization Weighs on Revs
      1/30/2015        New Street Research LLP                      Boodry, Kirk          New Street: Alibaba Group (Neutral, TP: $97 +8%): Q3 14 results: monetisation and regulatory headwinds
      1/30/2015        Brean Capital, LLC                           Gaugler, Michael      Mixed FY3Q15; Long Term Fundamentals Intact; Maintain Buy; Lower TP to $110
      1/30/2015        EVERCORE ISI                                 Sena, Ken             Strong Volumes on Good Bottom Line
      1/30/2015        GF Sec. (HK) Brokerage Ltd                   Ho, Joseph            [GF Securities] Alibaba (BABA US, NR)
      1/30/2015        JPMorgan                                     Yao, Alex             Alibaba Group Holding Limited : Fine-tuning ads monetization engine for long-term growth; expecting short-term impact on take rate
      1/30/2015        Wells Fargo Securities, LLC                  Nemer, Matt           BABA: Revenue Miss Spooks Investors Despite EBITDA Beat
      1/30/2015        UBS Equities                                 Leung, Stephen        Softbank "Updating SOTP model to reflect changes in Alibaba forecasts" (Buy)
      1/30/2015        UBS Equities                                 Sheridan, Eric        Yahoo "The BABA Buying Opportunity (Thru Yahoo)" (Buy) Sheridan
      1/30/2015        UBS Equities                                 Werkun, Erica Poon    Alibaba Group Holding Limited "Take Rate Noise Mutes Growth Potential" (Buy)
      1/30/2015        HSBC                                         Tsang, Chi            Alibaba Group (BABA US):-OW(V): Buy the dip: pause in monetization is a buying opportunity


Notes and Sources:
Analyst report information obtained from Thomson Reuters.




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                                             Exhibit 5
                                  Alibaba Group Holding Limited
                         Summary of Quarterly Institutional Holdings for ADSs
                               September 30, 2014 to March 31, 2015




                                                                                                        Total
                          Number of               Total                                        Institutional Holdings
                        Institutional         Institutional                Shares                  As a Percent of
                                     1                     2                          3
     As of Date            Holders              Holdings                Outstanding              Shares Outstanding
         (1)                 (2)                   (3)                       (5)                         (6)
                                                                                                      (3) / (5)

       9/30/2014              604              320,446,090              2,465,006,000                    13.0 %
      12/31/2014              900              331,499,868              2,465,006,000                    13.4
       3/31/2015              924              444,709,914              2,465,006,000                    18.0

                                                                                                               4
     Average Quarterly Holdings as a Percent of Shares Outstanding                                       13.2 %

                                                                                                               4
     Median Quarterly Holdings as a Percent of Shares Outstanding                                        13.2 %

Notes and Sources:
Data obtained from FactSet Research Systems, Inc.
 1
     Number of institutions that reported non-zero holdings during the quarter.
 2
     Total calculated by summing individual institutional holdings figures from institutions that reported
     holdings.
 3
     Daily shares outstanding figures are as of the most recent reported date. Shares outstanding figures are
     used in place of ADSs outstanding figures as any shares sold by pre-IPO shareholders subsequently
     become ADSs.
 4
     Calculated using institutional holdings data within the class period (observations September 30, 2014 and
     December 31, 2014). If data immediately after the class period are used (3/31/2015), then the average
     quarterly institutional holdings as a percent of shares outstanding is 14.8% and the median quarterly
     institutional holdings as a percent of shares outstanding is 13.4%.
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                                            Exhibit 6
                                  Alibaba Group Holding Limited
                                     Summary of Short Interest
                                  September 2014 to January 2015

                                                                                   Short Interest
                                  Short                     Shares                 As a Percent of
       As of Date                Interest                Outstanding1            Shares Outstanding
           (1)                     (2)                        (3)                        (4)
                                                                                      (2) / (3)

         9/30/2014             20,495,121                2,465,006,000                     0.83 %
        10/15/2014             27,349,423                2,465,006,000                     1.11
        10/31/2014             37,746,230                2,465,006,000                     1.53
        11/14/2014             45,941,150                2,465,006,000                     1.86
        11/28/2014             45,325,238                2,465,006,000                     1.84
        12/15/2014             45,265,664                2,465,006,000                     1.84
        12/31/2014             43,513,696                2,465,006,000                     1.77
         1/15/2015             41,342,263                2,465,006,000                     1.68
         1/30/2015             42,303,671                2,465,006,000                     1.72



       Average Short Interest as Percent of Shares Outstanding 2                           1.56 %

       Median Short Interest as Percent of Shares Outstanding 2                            1.72 %

  Notes and Sources:
  Short interest and shares outstanding data obtained from Bloomberg L.P.
   1
       Daily shares outstanding figures are as of the most recent reported date and represent
       the total number of shares outstanding for Alibaba.
   2
       Calculated using short interest data within the class period (observations 9/30/2014 to
       1/15/2015). If data immediately after the class period is used (1/30/2015), the average
       short interest as a percent of shares outstanding is 1.57% and the median short interest
       as a percent of shares outstanding is 1.72%.
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                                                     Exhibit 7
                                           Alibaba Group Holding Limited
                                        Daily Market Capitalization and Float
                                       September 19, 2014 to January 28, 2015 1

                                                                      Insider Ownership
                 Closing      Shares                Market           and Other non-ADS                  Float as a Percent of
  Date            Price    Outstanding2          Capitalization           Shares3            Float      Shares Outstanding
   (1)             (2)          (3)                   (4)                   (5)               (6)               (7)
                                                   (2) * (3)                                (3) - (5)         (6) / (3)

 9/19/2014   $    93.89    2,465,006,000      $ 231,439,413,340         2,220,161,906     244,844,094           9.93 %
 9/22/2014        89.89    2,465,006,000        221,579,389,340         2,220,161,906     244,844,094           9.93
 9/23/2014        87.17    2,465,006,000        214,874,573,020         2,220,161,906     244,844,094           9.93
 9/24/2014        90.57    2,465,006,000        223,255,593,420         2,220,161,906     244,844,094           9.93
 9/25/2014        88.92    2,465,006,000        219,188,333,520         2,220,161,906     244,844,094           9.93
 9/26/2014        90.46    2,465,006,000        222,984,442,760         2,220,161,906     244,844,094           9.93
 9/29/2014        88.75    2,465,006,000        218,769,282,500         2,220,161,906     244,844,094           9.93
 9/30/2014        88.85    2,465,006,000        219,015,783,100         2,220,161,906     244,844,094           9.93
 10/1/2014        86.10    2,465,006,000        212,237,016,600         2,220,161,906     244,844,094           9.93
 10/2/2014        87.06    2,465,006,000        214,603,422,360         2,220,161,906     244,844,094           9.93
 10/3/2014        88.10    2,465,006,000        217,167,028,600         2,220,161,906     244,844,094           9.93
 10/6/2014        88.31    2,465,006,000        217,684,679,860         2,220,161,906     244,844,094           9.93
 10/7/2014        87.67    2,465,006,000        216,107,076,020         2,220,161,906     244,844,094           9.93
 10/8/2014        88.30    2,465,006,000        217,660,029,800         2,220,161,906     244,844,094           9.93
 10/9/2014        88.79    2,465,006,000        218,867,882,740         2,220,161,906     244,844,094           9.93
10/10/2014        85.88    2,465,006,000        211,694,715,280         2,220,161,906     244,844,094           9.93
10/13/2014        85.12    2,465,006,000        209,821,310,720         2,220,161,906     244,844,094           9.93
10/14/2014        84.95    2,465,006,000        209,402,259,700         2,220,161,906     244,844,094           9.93
10/15/2014        85.60    2,465,006,000        211,004,513,600         2,220,161,906     244,844,094           9.93
10/16/2014        88.85    2,465,006,000        219,015,783,100         2,220,161,906     244,844,094           9.93
10/17/2014        87.91    2,465,006,000        216,698,677,460         2,220,161,906     244,844,094           9.93
10/20/2014        88.26    2,465,006,000        217,561,429,560         2,220,161,906     244,844,094           9.93
10/21/2014        90.90    2,465,006,000        224,069,045,400         2,220,161,906     244,844,094           9.93
10/22/2014        91.63    2,465,006,000        225,868,499,780         2,220,161,906     244,844,094           9.93
10/23/2014        94.45    2,465,006,000        232,819,816,700         2,220,161,906     244,844,094           9.93
10/24/2014        95.76    2,465,006,000        236,048,974,560         2,220,161,906     244,844,094           9.93
10/27/2014        97.79    2,465,006,000        241,052,936,740         2,220,161,906     244,844,094           9.93
10/28/2014        99.68    2,465,006,000        245,711,798,080         2,220,161,906     244,844,094           9.93
10/29/2014        98.31    2,465,006,000        242,334,739,860         2,220,161,906     244,844,094           9.93
10/30/2014        98.73    2,465,006,000        243,370,042,380         2,220,161,906     244,844,094           9.93
10/31/2014        98.60    2,465,006,000        243,049,591,600         2,220,161,906     244,844,094           9.93
 11/3/2014       101.80    2,465,006,000        250,937,610,800         2,220,161,906     244,844,094           9.93
 11/4/2014       106.07    2,465,006,000        261,463,186,420         2,220,161,906     244,844,094           9.93
 11/5/2014       108.67    2,465,006,000        267,872,202,020         2,220,161,906     244,844,094           9.93
 11/6/2014       111.57    2,465,006,000        275,020,719,420         2,220,161,906     244,844,094           9.93
 11/7/2014       114.56    2,465,006,000        282,391,087,360         2,220,161,906     244,844,094           9.93
11/10/2014       119.15    2,465,006,000        293,705,464,900         2,220,161,906     244,844,094           9.93
11/11/2014       114.54    2,465,006,000        282,341,787,240         2,220,161,906     244,844,094           9.93
11/12/2014       118.20    2,465,006,000        291,363,709,200         2,220,161,906     244,844,094           9.93
11/13/2014       114.84    2,465,006,000        283,081,289,040         2,220,161,906     244,844,094           9.93
11/14/2014       115.10    2,465,006,000        283,722,190,600         2,220,161,906     244,844,094           9.93
11/17/2014       114.25    2,465,006,000        281,626,935,500         2,220,161,906     244,844,094           9.93
11/18/2014       110.81    2,465,006,000        273,147,314,860         2,220,161,906     244,844,094           9.93
11/19/2014       108.82    2,465,006,000        268,241,952,920         2,220,161,906     244,844,094           9.93
11/20/2014       109.82    2,465,006,000        270,706,958,920         2,220,161,906     244,844,094           9.93
11/21/2014       110.73    2,465,006,000        272,950,114,380         2,220,161,906     244,844,094           9.93
11/24/2014       113.92    2,465,006,000        280,813,483,520         2,220,161,906     244,844,094           9.93
11/25/2014       113.47    2,465,006,000        279,704,230,820         2,194,018,006     270,987,994          10.99
11/26/2014       112.67    2,465,006,000        277,732,226,020         2,194,018,006     270,987,994          10.99
11/28/2014       111.64    2,465,006,000        275,193,269,840         2,194,018,006     270,987,994          10.99
 12/1/2014       105.99    2,465,006,000        261,265,985,940         2,194,018,006     270,987,994          10.99
 12/2/2014       109.89    2,465,006,000        270,879,509,340         2,194,018,006     270,987,994          10.99
 12/3/2014       110.64    2,465,006,000        272,728,263,840         2,194,018,006     270,987,994          10.99
 12/4/2014       109.17    2,465,006,000        269,104,705,020         2,194,018,006     270,987,994          10.99
 12/5/2014       107.90    2,465,006,000        265,974,147,400         2,194,018,006     270,987,994          10.99




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                                                                     Exhibit 7
                                                           Alibaba Group Holding Limited
                                                        Daily Market Capitalization and Float
                                                       September 19, 2014 to January 28, 2015 1

                                                                                           Insider Ownership
                         Closing              Shares                   Market             and Other non-ADS                              Float as a Percent of
        Date               Price           Outstanding2             Capitalization               Shares3                 Float           Shares Outstanding
         (1)                (2)                 (3)                      (4)                       (5)                    (6)                    (7)
                                                                      (2) * (3)                                         (3) - (5)              (6) / (3)

      12/8/2014         $ 105.07           2,465,006,000         $ 258,998,180,420            2,194,018,006           270,987,994                    10.99 %
      12/9/2014           107.48           2,465,006,000           264,938,844,880            2,194,018,006           270,987,994                    10.99
     12/10/2014           103.88           2,465,006,000           256,064,823,280            2,194,018,006           270,987,994                    10.99
     12/11/2014           104.97           2,465,006,000           258,751,679,820            2,194,018,006           270,987,994                    10.99
     12/12/2014           105.11           2,465,006,000           259,096,780,660            2,194,018,006           270,987,994                    10.99
     12/15/2014           104.70           2,465,006,000           258,086,128,200            2,194,018,006           270,987,994                    10.99
     12/16/2014           105.77           2,465,006,000           260,723,684,620            2,194,018,006           270,987,994                    10.99
     12/17/2014           109.02           2,465,006,000           268,734,954,120            2,194,018,006           270,987,994                    10.99
     12/18/2014           109.25           2,465,006,000           269,301,905,500            2,194,018,006           270,987,994                    10.99
     12/19/2014           110.65           2,465,006,000           272,752,913,900            2,194,018,006           270,987,994                    10.99
     12/22/2014           108.77           2,465,006,000           268,118,702,620            2,194,018,006           270,987,994                    10.99
     12/23/2014           105.52           2,465,006,000           260,107,433,120            2,194,018,006           270,987,994                    10.99
     12/24/2014           105.95           2,465,006,000           261,167,385,700            2,194,018,006           270,987,994                    10.99
     12/26/2014           105.95           2,465,006,000           261,167,385,700            2,194,018,006           270,987,994                    10.99
     12/29/2014           105.98           2,465,006,000           261,241,335,880            2,194,018,006           270,987,994                    10.99
     12/30/2014           105.75           2,465,006,000           260,674,384,500            2,194,018,006           270,987,994                    10.99
     12/31/2014           103.94           2,465,006,000           256,212,723,640            2,188,544,137           276,461,863                    11.22
       1/2/2015           103.60           2,465,006,000           255,374,621,600            2,188,544,137           276,461,863                    11.22
       1/5/2015           101.00           2,465,006,000           248,965,606,000            2,188,544,137           276,461,863                    11.22
       1/6/2015           103.32           2,465,006,000           254,684,419,920            2,188,544,137           276,461,863                    11.22
       1/7/2015           102.13           2,465,006,000           251,751,062,780            2,188,544,137           276,461,863                    11.22
       1/8/2015           105.03           2,465,006,000           258,899,580,180            2,188,544,137           276,461,863                    11.22
       1/9/2015           103.02           2,465,006,000           253,944,918,120            2,188,544,137           276,461,863                    11.22
      1/12/2015           101.62           2,465,006,000           250,493,909,720            2,188,544,137           276,461,863                    11.22
      1/13/2015           100.77           2,465,006,000           248,398,654,620            2,188,544,137           276,461,863                    11.22
      1/14/2015            99.58           2,465,006,000           245,465,297,480            2,050,584,937           414,421,063                    16.81
      1/15/2015            96.31           2,465,006,000           237,404,727,860            2,050,584,937           414,421,063                    16.81
      1/16/2015            96.89           2,465,006,000           238,834,431,340            2,050,584,937           414,421,063                    16.81
      1/20/2015           100.04           2,465,006,000           246,599,200,240            2,050,584,937           414,421,063                    16.81
      1/21/2015           103.29           2,465,006,000           254,610,469,740            2,050,584,937           414,421,063                    16.81
      1/22/2015           104.00           2,465,006,000           256,360,624,000            2,050,584,937           414,421,063                    16.81
      1/23/2015           103.11           2,465,006,000           254,166,768,660            2,050,584,937           414,421,063                    16.81
      1/26/2015           103.99           2,465,006,000           256,335,973,940            2,050,584,937           414,421,063                    16.81
      1/27/2015           102.94           2,465,006,000           253,747,717,640            2,050,584,937           414,421,063                    16.81
      1/28/2015            98.45           2,465,006,000           242,679,840,700            2,050,584,937           414,421,063                    16.81


     Average Float as a Percent of Shares Outstanding                                                                                                11.11 %

     Median Float as a Percent of Shares Outstanding                                                                                                  9.93 %

Notes and Sources:
Closing price, shares outstanding, and ADS outstanding data obtained from Bloomberg L.P.
Insider holdings data obtained from FactSet Research Systems, Inc.
 1
     The Amended Consolidated Complaint dated July 1, 2015 lists the class period as September 19, 2014 to January 29, 2015. However, since
     the final disclosure occurs before the market opened on January 29, 2015, January 28, 2015 is taken to be the end of the class period.
 2
     Daily shares outstanding figures are as of the most recent reported date. Shares outstanding figures are used in place of ADSs outstanding
     figures as any shares sold by pre-IPO shareholders subsequently become ADSs.
 3
     This figure includes both insiders who held Alibaba ADSs other ordinary shares that have not been affirmatively identified as ADSs.
     Insider holdings figures for Alibaba ADSs are not reported prior to September 30, 2014. In this analysis, it is assumed that insider holdings
     of Alibaba ADSs from September 19, 2014 to September 29, 2014 are equal to the figures reported as of September 30, 2014.




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                                                                                                                                   Exhibit 8a
                                                                                                                     Alibaba Group Holding Limited
                                                                 Percent of Days with Statistically Significant Returns on News Days as Compared to Non-News Days for ADSs
                                                                                                              September 22, 2014 to January 27, 2015 1
                                                                                                          Using the EMQQ Emerging Markets Internet Index 2

                                                                                                        News Days                                                    Non-News Days                                 Difference between News Days and Non-News Days
                                                                                             Number with            Percent of Days with                           Number with          Percent of Days with                                       Different from Zero
                                                                               Total          Significant            Significant Excess                             Significant          Significant Excess        Difference in                   at 5% Significance
                                                                                                          3                                                                     3                                                                4              5
                                                                              Number        Excess Returns                Returns             Total Number        Excess Returns              Returns              Percentages      z - Statistic        Level?
                                                                                (1)               (2)                        (3)                    (4)                 (5)                      (6)                    (7)              (8)               (9)
                                                                                                                          (2) / (1)                                                           (5) / (4)               (3) - (6)

                     6
     Earnings Dates                                                                1                1                     100.0%                     87                   8                     9.2%                   90.8%               2.98           Yes

     Dow Jones Newswires 7                                                        69                8                      11.6%                     19                   1                     5.3%                     6.3%              0.81           No

                                        8
     Dow Jones Newswires - Top 50%                                                51                8                      15.7%                     37                   1                     2.7%                   13.0%               1.98           Yes

     Dow Jones Newswires - Top 10%9                                                8                3                      37.5%                     80                   6                     7.5%                   30.0%               2.67           Yes

     Dow Jones Newswires - Top 10% Excluding Selected Articles10                   4                2                      50.0%                     84                   7                     8.3%                   41.7%               2.69           Yes



Notes and Sources:
Data obtained from Bloomberg L.P., Factiva Dow Jones, and FactSet Research Systems, Inc.
 1
     The Amended Consolidated Complaint dated July 1, 2015 lists the class period as September 19, 2014 to January 29, 2015. However, since Alibaba's initial public offering occurred on September 19, 2014, the first trading day for which daily
     returns can be calculated is September 22, 2014. Therefore, September 22, 2014 is taken to be the first day of the analysis. Additionally, as the disclosure that SAIC had released a white paper on Alibaba's business practices occurs after
     market close on January 27, 2015, January 28, 2015 is excluded from this analysis.
 2
     EMQQ Emerging Markets Internet Index returns are adjusted to remove the weight of Alibaba ADS prices in the index. Data on Alibaba's weight in the EMQQ Emerging Markets Internet Index are not available prior to November 18, 2014.
     Therefore, it is assumed that Alibaba's weight in the index prior to November 18, 2014 is equal to its weight on November 18, 2014.
 3
     Days for which the excess return was statistically significant at the 5% level. Returns are predicted using a regression of the returns of Alibaba ADS prices on the returns of the EMQQ Emerging Markets Internet Index run over the period
     from January 30, 2015 to January 29, 2016 [N = 252]. Because no returns can be calculated before the class period, the estimation period is assumed to be the year starting the trading day after the last day of the price reaction to the final
     disclosure of the class period. For more information, see Exhibit 8b.
 4
     The z-statistic is a test statistic for a two-sample test of binomial proportions. It measures the probability of obtaining results as or more extreme as those observed if the returns for news and non-news days were drawn from the same
     distribution. The further the z-statistic is from zero, the less likely that the observed difference could have been seen if the returns for news and non-news days were drawn from the same distribution.
 5
     A 5% significance level means that the difference in percentages in column (7) is of a magnitude that would be observed no more than 5% of the time if there is no difference in market reaction to news and non-news days.
 6
     Earnings dates obtained from I/B/E/S Consensus EPS Surprise History via FactSet Research Systems, Inc. and verified via Factiva Dow Jones.
 7
     News days are defined as days on which there was at least one news article on Alibaba published by Dow Jones Newswires as downloaded from Factiva Dow Jones. News stories were obtained through a search of "'Alibaba' or 'Baba'"
     between September 1, 2014 and February 15, 2015. The search included news stories published by Dow Jones Newswires, searching headlines only, excluding "republished news," "recurring pricing and market data," and "Obituaries,
     sports, calendars...." On days when news came out after 4:00PM or when there was news on a non-trading day, the next trading day was considered the effective date.
 8
     News days are defined as days in the top 50% of all Dow Jones Newswires news days, ranked by number of articles on Alibaba published by Dow Jones Newswires per day from September 22, 2014 to January 27, 2015, inclusive.
 9
     News days are defined as days in the top 10% of all Dow Jones Newswires news days, ranked by number of articles on Alibaba published by Dow Jones Newswires per day from September 22, 2014 to January 27, 2015, inclusive.
10
     Exhibit 8d is a list of news days that were excluded as they contained only news stories reporting stock price movements or volume, news stories that appeared to be duplicates of previously reported news, and news stories deemed to be
     non-material because they reported data irrelevant to the value of the Company.
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                                                          Exhibit 8b
                                           Alibaba Group Holding Limited
                         Statistical Model of Daily Logarithmic Returns of Alibaba ADSs
                            Estimation Period: January 30, 2015 to January 29, 20161



                                                                 2               3
         Log Return of                        =         (0.00)       +    0.87       *   Log Return of EMQQ Emerging
         Alibaba ADS Price                             (0.84)            13.13           Markets Internet Index4


         Observations                         =           252
                     5
         R-Squared                            =       40.81%
                               6
         Adjusted R-Squared                   =       40.57%
                           7
         Standard Error                       =        1.64%


Notes and Sources:
Data obtained from Bloomberg L.P.
t-statistics are shown in italics. Statistically significant coefficients (at the 5% level) are shown in bold.
1
    The Amended Consolidated Complaint dated July 1, 2015 lists the class period as September 19, 2014 to
    January 29, 2015. However, since Alibaba's initial public offering occurred on September 19, 2014, the first
    trading day for which daily returns can be calculated is September 22, 2014. Therefore, September 22, 2014
    is taken to be the first day of the analysis. Additionally, since the final disclosure occurs before the market
    opened on January 29, 2015, January 28, 2015 is taken to be the end of the class period.
    Because no returns can be calculated before the class period, the estimation period is assumed to be the year
    starting the trading day after the last day of the price reaction to the final disclosure of the class period.
2
    The constant is the expected value of the dependent variable (Alibaba ADS returns) if the independent
    variable (EMQQ Emerging Markets Internet Index returns) equals 0.
3
    This coefficient measures the change in the dependent variable (Alibaba ADS returns) associated with a
    one unit change in the independent variable (EMQQ Emerging Markets Internet Index returns).
4
    EMQQ Emerging Markets Internet Index returns are adjusted to remove the weight of Alibaba ADS prices
    in the index.
5
    R-squared is the percent of the variance in the dependent variable (Alibaba ADS returns) that is explained
    by the variance of the independent variable (EMQQ Emerging Markets Internet Index returns).
6
    Adjusted R-squared is the percent of the variance in the dependent variable (Alibaba ADS returns) that is
    explained by the variance of the independent variable (EMQQ Emerging Markets Internet Index returns),
    adjusted for the number of predictors in the market model.
7
    Denotes the standard error of the regression model, which is a statistical measure of the variability of
    predictions made with the regression model.
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                                                                                                          Exhibit 8c
                                                                                            Alibaba Group Holding Limited
                                                    Absolute Value of Excess Returns on News Days as Compared to Non-News Days for ADSs
                                                                                        September 22, 2014 to January 27, 2015 1
                                                                                Using the EMQQ Emerging Markets Internet Index 2

                                                                                                                                                                       Kolmogorov-Smirnov Test of the Equality of
                                                                                           News Days                            Non-News Days                      Distributions of News Days and Non-News Days 4
                                                                                             Average Absolute                       Average Absolute              Kolmogorov-                       Different in
                                                                                Total         Value of Excess             Total      Value of Excess               Smirnov                      Distribution at 5%
                                                                                                         3                                      3                           5
                                                                                                                                                                                  p-value6
                                                                                                                                                                                                                  7
                                                                               Number            Returns                 Number         Returns                    Distance                    Significance Level?
                                                                                 (1)                 (2)                   (3)             (4)                        (5)            (6)                 (7)



     Earnings Dates8                                                                1                0.0344                  87                0.0145                 0.954         0.114                 No

                             9
     Dow Jones Newswires                                                           69                0.0150                  19                0.0136                 0.130         0.927                 No

                                         10
     Dow Jones Newswires - Top 50%                                                 51                0.0162                  37                0.0127                 0.171         0.488                 No

     Dow Jones Newswires - Top 10%11                                                8                0.0206                  80                0.0142                 0.338         0.321                 No

     Dow Jones Newswires - Top 10% Excluding Selected Articles12                    4                0.0248                  84                0.0143                 0.536         0.157                 No



Notes and Sources:
Data obtained from Bloomberg L.P., Factiva Dow Jones, and FactSet Research Systems, Inc.
 1
     The Amended Consolidated Complaint dated July 1, 2015 lists the class period as September 19, 2014 to January 29, 2015. However, since Alibaba's initial public offering occurred on September
     19, 2014, the first trading day for which daily returns can be calculated is September 22, 2014. Therefore, September 22, 2014 is taken to be the first day of the analysis. Additionally, as the
     disclosure that SAIC had released a white paper on Alibaba's business practices occurs after market close on January 27, 2015, January 28, 2015 is excluded from this analysis.
 2
     EMQQ Emerging Markets Internet Index returns are adjusted to remove the weight of Alibaba ADS prices in the index.
 3
     Returns are predicted using a regression of the returns of Alibaba ADS prices on the returns of the EMQQ Emerging Markets Internet Index run over the period from January 30, 2015 to
     January 29, 2016 [N = 252]. Because no returns can be calculated before the class period, the estimation period is assumed to be the year starting the trading day after the last day of the price
     reaction to the final disclosure of the class period. For more information, see Exhibit 8b.
 4
     The Kolmogorov-Smirnov test is a nonparametric test of the equality of continuous distributions. It quantifies a distance between the empirical cumulative distributions of two samples and
     tests the null hypothesis that both samples are drawn from the same distribution.
 5
     The Kolmogorov-Smirnov distance is a statistic that quantifies the maximum distance between the distributions of news and non-news days.
 6
     The p-value represents the probability of measuring a test statistic as or more extreme than the calculated test statistic assuming that the null hypothesis is true.
 7
     A 5% significance level means that the distance in column (5) is of a magnitude that would be observed no more than 5% of the time if there is no difference in the distributions of news days
     and non-news days.
 8
     Earnings dates obtained from I/B/E/S Consensus EPS Surprise History via FactSet Research Systems, Inc. and verified via Factiva Dow Jones.




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                                                                                                      Exhibit 8c
                                                                                        Alibaba Group Holding Limited
                                                  Absolute Value of Excess Returns on News Days as Compared to Non-News Days for ADSs
                                                                                  September 22, 2014 to January 27, 2015 1
                                                                             Using the EMQQ Emerging Markets Internet Index 2

9
     News days are defined as days on which there was at least one news article on Alibaba published by Dow Jones Newswires as downloaded from Factiva Dow Jones. News stories were
     obtained through a search of "'Alibaba' or 'Baba'" between September 1, 2014 and February 15, 2015. The search included news stories published by Dow Jones Newswires, searching headlines
     only, excluding "republished news," "recurring pricing and market data," and "Obituaries, sports, calendars...." On days when news came out after 4:00PM or when there was news on a
     non-trading day, the next trading day was considered the effective date.
10
     News days are defined as days in the top 50% of all Dow Jones Newswires news days, ranked by number of articles on Alibaba published by Dow Jones Newswires per day from September 22,
     2014 to January 27, 2015, inclusive.
11
     News days are defined as days in the top 10% of all Dow Jones Newswires news days, ranked by number of articles on Alibaba published by Dow Jones Newswires per day from September 22,
     2014 to January 27, 2015, inclusive.
12
     Exhibit 8d is a list of news days that were excluded as they contained only news stories reporting stock price movements or volume, news stories that appeared to be duplicates of previously
     reported news, and news stories deemed to be non-material because they reported data irrelevant to the value of the Company.




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                                                     Exhibit 8d
                                       Alibaba Group Holding Limited
                                           News Dates Removed1,2
                                 September 22, 2014 to January 27, 20153


                                                          Date
                                                           (1)

                                                        9/22/2014
                                                        9/23/2014
                                                       10/28/2014
                                                       10/29/2014


Notes and Sources:
Articles downloaded from Factiva Dow Jones.
1
    News days are defined as days the top 10% of all Dow Jones Newswires news days, ranked by number
    of articles on Alibaba published by Dow Jones Newswires per day from September 22, 2014 to January
    27, 2015, inclusive. Articles as downloaded from Factiva Dow Jones were obtained through a search of
    Alibaba' or 'Baba' between 9/1/2014 and 2/15/2015. The search included The search included news
    stories published by Dow Jones Newswires, searching headlines only, excluding "republished news,"
    recurring pricing and market data, and "Obituaries, sports, calendars...." On days when news came out
    after 4:00PM or when there was news on a non-trading day, the next trading day was considered the
    effective date.
2
    News dates were excluded because they contained only news stories reporting stock price movements
    or volume, news stories that appeared to be duplicates of previously reported news, and news stories
    deemed to be non-material because they reported data irrelevant to the value of the Company.
3
    The Amended Consolidated Complaint dated July 1, 2015 lists the class period as September 19,
    2014 to January 29, 2015. However, since Alibaba's initial public offering occurred on September 19,
    2014, the first trading day for which daily returns can be calculated is September 22, 2014. Therefore,
    September 22, 2014 is taken to be the first day of the analysis. Additionally, as the disclosure that SAIC
    had released a white paper on Alibaba's business practices occurs after market close on January 27,
    2015, January 28, 2015 is excluded from this analysis.
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                                    Exhibit 9
                         Alibaba Group Holding Limited
                              Daily Bid-Ask Spread
                      September 19, 2014 to January 28, 2015

                                                                             Spread as a
                  Closing                                       Bid-Ask      Percent of
   Date            Price           Bid                  Ask      Spread     Closing Price
    (1)             (2)            (3)                  (4)        (5)           (6)
                                                                (4) - (3)      (5) / (2)

  9/19/2014   $    93.89      $    93.30          $     93.39   $ 0.09          0.10 %
  9/22/2014        89.89           89.90                89.92     0.02          0.02
  9/23/2014        87.17           87.02                87.10     0.08          0.09
  9/24/2014        90.57           90.31                90.40     0.09          0.10
  9/25/2014        88.92           88.71                88.76     0.05          0.06
  9/26/2014        90.46           90.16                90.20     0.04          0.04
  9/29/2014        88.75           88.64                88.71     0.07          0.08
  9/30/2014        88.85           88.60                88.63     0.03          0.03
  10/1/2014        86.10           86.09                86.11     0.02          0.02
  10/2/2014        87.06           86.88                86.90     0.02          0.02
  10/3/2014        88.10           88.10                88.12     0.02          0.02
  10/6/2014        88.31           88.25                88.26     0.01          0.01
  10/7/2014        87.67           87.75                87.78     0.03          0.03
  10/8/2014        88.30           88.25                88.27     0.02          0.02
  10/9/2014        88.79           88.77                88.79     0.02          0.02
 10/10/2014        85.88           85.88                85.93     0.05          0.06
 10/13/2014        85.12           85.03                85.07     0.04          0.05
 10/14/2014        84.95           84.90                84.95     0.05          0.06
 10/15/2014        85.60           85.54                85.57     0.03          0.04
 10/16/2014        88.85           88.71                88.76     0.05          0.06
 10/17/2014        87.91           87.83                87.87     0.04          0.05
 10/20/2014        88.26           88.26                88.27     0.01          0.01
 10/21/2014        90.90           90.87                90.88     0.01          0.01
 10/22/2014        91.63           91.60                91.63     0.03          0.03
 10/23/2014        94.45           94.44                94.45     0.01          0.01
 10/24/2014        95.76           95.76                95.77     0.01          0.01
 10/27/2014        97.79           97.81                97.84     0.03          0.03
 10/28/2014        99.68           99.74                99.75     0.01          0.01
 10/29/2014        98.31           98.45                98.46     0.01          0.01
 10/30/2014        98.73           98.68                98.70     0.02          0.02
 10/31/2014        98.60           98.74                98.75     0.01          0.01
  11/3/2014       101.80          101.97               102.00     0.03          0.03
  11/4/2014       106.07          106.17               106.19     0.02          0.02
  11/5/2014       108.67          108.67               108.72     0.05          0.05
  11/6/2014       111.57          111.60               111.65     0.05          0.04
  11/7/2014       114.56          114.39               114.42     0.03          0.03
 11/10/2014       119.15          119.17               119.19     0.02          0.02
 11/11/2014       114.54          114.57               114.62     0.05          0.04
 11/12/2014       118.20          118.20               118.25     0.05          0.04
 11/13/2014       114.84          114.87               114.89     0.02          0.02
 11/14/2014       115.10          115.05               115.08     0.03          0.03



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                                 Exhibit 9
                      Alibaba Group Holding Limited
                           Daily Bid-Ask Spread
                   September 19, 2014 to January 28, 2015

                                                                     Spread as a
               Closing                                  Bid-Ask      Percent of
   Date         Price         Bid                 Ask    Spread     Closing Price
    (1)          (2)          (3)                 (4)      (5)           (6)
                                                        (4) - (3)      (5) / (2)

 11/17/2014   $ 114.25     $ 114.12          $ 114.18   $ 0.06          0.05 %
 11/18/2014     110.81       110.86            110.90     0.04          0.04
 11/19/2014     108.82       108.56            108.62     0.06          0.06
 11/20/2014     109.82       109.82            109.83     0.01          0.01
 11/21/2014     110.73       110.73            110.77     0.04          0.04
 11/24/2014     113.92       113.90            113.91     0.01          0.01
 11/25/2014     113.47       113.18            113.22     0.04          0.04
 11/26/2014     112.67       112.57            112.63     0.06          0.05
 11/28/2014     111.64       111.48            111.49     0.01          0.01
  12/1/2014     105.99       105.91            105.96     0.05          0.05
  12/2/2014     109.89       109.89            109.91     0.02          0.02
  12/3/2014     110.64       110.54            110.57     0.03          0.03
  12/4/2014     109.17       109.05            109.06     0.01          0.01
  12/5/2014     107.90       107.89            107.90     0.01          0.01
  12/8/2014     105.07       105.08            105.14     0.06          0.06
  12/9/2014     107.48       107.53            107.56     0.03          0.03
 12/10/2014     103.88       103.76            103.81     0.05          0.05
 12/11/2014     104.97       105.02            105.04     0.02          0.02
 12/12/2014     105.11       105.14            105.17     0.03          0.03
 12/15/2014     104.70       104.75            104.76     0.01          0.01
 12/16/2014     105.77       105.82            105.84     0.02          0.02
 12/17/2014     109.02       108.98            109.00     0.02          0.02
 12/18/2014     109.25       109.23            109.25     0.02          0.02
 12/19/2014     110.65       109.95            109.96     0.01          0.01
 12/22/2014     108.77       108.77            108.80     0.03          0.03
 12/23/2014     105.52       105.45            105.46     0.01          0.01
 12/24/2014     105.95       105.94            105.95     0.01          0.01
 12/26/2014     105.95       105.91            105.93     0.02          0.02
 12/29/2014     105.98       105.94            105.96     0.02          0.02
 12/30/2014     105.75       105.75            105.79     0.04          0.04
 12/31/2014     103.94       103.94            103.95     0.01          0.01
   1/2/2015     103.60       103.59            103.60     0.01          0.01
   1/5/2015     101.00       101.00            101.02     0.02          0.02
   1/6/2015     103.32       103.43            103.44     0.01          0.01
   1/7/2015     102.13       102.12            102.13     0.01          0.01
   1/8/2015     105.03       105.03            105.04     0.01          0.01
   1/9/2015     103.02       102.97            102.98     0.01          0.01
  1/12/2015     101.62       101.65            101.68     0.03          0.03
  1/13/2015     100.77       100.75            100.76     0.01          0.01
  1/14/2015      99.58        99.50             99.53     0.03          0.03
  1/15/2015      96.31        96.25             96.29     0.04          0.04



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                                           Exhibit 9
                                Alibaba Group Holding Limited
                                     Daily Bid-Ask Spread
                             September 19, 2014 to January 28, 2015

                                                                                     Spread as a
                         Closing                                        Bid-Ask      Percent of
      Date                Price            Bid                  Ask      Spread     Closing Price
       (1)                 (2)             (3)                  (4)        (5)           (6)
                                                                        (4) - (3)      (5) / (2)

    1/16/2015        $    96.89       $    96.79          $     96.82   $ 0.03          0.03 %
    1/20/2015            100.04           100.07               100.08     0.01          0.01
    1/21/2015            103.29           103.30               103.31     0.01          0.01
    1/22/2015            104.00           103.92               103.93     0.01          0.01
    1/23/2015            103.11           103.11               103.13     0.02          0.02
    1/26/2015            103.99           103.99               104.00     0.01          0.01
    1/27/2015            102.94           102.85               102.88     0.03          0.03
    1/28/2015             98.45            98.28                98.30     0.02          0.02


  Average Bid-Ask Spread as a Percent of Closing Price                                  0.028 %

  Median Bid-Ask Spread as a Percent of Closing Price                                   0.023 %


Notes and Sources:
Data obtained from FactSet Research Systems Inc.
Closing bid and ask ADS prices are taken from the NYSE.




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                                              Exhibit 10a
                                Alibaba Group Holding Limited
                One-Day Autocorrelation of Daily Log Returns for ADSs
                      September 22, 2014 to January 28, 20151

                                                             Autocorrelation
                                                             in Daily Actual
                          Window                              Log Returns2             t-statistic3
                            (1)                                   (2)                      (3)

     Class Period
         September 22, 2014 to January 29, 2015 1                  (0.10)                (1.68) *



     Year4
      2014                                                         (0.11)                (1.88) *
      2015                                                          0.11                  0.38


     Notes and Sources:
     Data obtained from Bloomberg L.P.
     1
         The Amended Consolidated Complaint dated July 1, 2015 lists the class
         period as September 19, 2014 to January 29, 2015. However, since Alibaba's
         initial public offering occurred on September 19, 2014, the first trading day for
         which daily returns can be calculated is September 22, 2014. Therefore, September
         22, 2014 is the first date included in this analysis. Additionally, since the final
         disclosure occurs before the market opened on January 29, 2015, January 28, 2015
         is taken to be the end of the class period.
     2
         This is the coefficient of the independent variable in the autocorrelation model.
     3
         Two stars (**) represent significance at the 5% level, and one star (*) represents
         significance at the 10% level.
     4
         Only days within the class period (September 22, 2014 to January 28, 2015)
         are used.
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                                                   Exhibit 10b
                                     Alibaba Group Holding Limited
                                          Runs Test for ADSs1
                                September 22, 2014 to January 28, 20152


                                                                        Number of
                     Window                           Observations         Runs3          z-statistic4      p-value
                       (1)                                (2)               (3)               (4)             (5)


Class Period
    September 22, 2014 to January 28, 2015 2                89               42             (0.75)           0.456



Year5
 2014                                                       71               34             (0.60)           0.551
 2015                                                       18               12              0.97            0.331


Notes and Sources:
Data obtained from Bloomberg L.P.
1
    A runs test is a non-parametric test whereby the number of sequences of values above and below
    the median value of the data set is tabulated and compared against its sampling distribution under
    the random walk hypothesis.
2
    The Amended Consolidated Complaint dated July 1, 2015 lists the class period as September
    19, 2014 to January 29, 2015. However, since Alibaba's initial public offering occurred on September
    19, 2014, the first trading day for which daily returns can be calculated is September 22, 2014.
    Therefore, September 22, 2014 is the first date included in this analysis. Additionally, since the final
    disclosure occurs before the market opened on January 29, 2015, January 28, 2015 is taken to be the
    end of the class period.
3
    A run is defined as a series of values above or below the median value of the data set.
4
    The z-statistic is a test statistic for a test of binomial proportions. It measures the likelihood of
    observing results as or more extreme than those actually observed if the data were generated by a
    theoretical process with no autocorrelation. Two stars (**) represent significance at the 5% level;
    one star (*) represents significance at the 10% level.
5
    Only days within the class period (September 22, 2014 to January 28, 2015) are used.
                                                                                      Case 1:15-md-02631-CM-SDA Document 54-1 Filed 03/12/18 Page 100 of 101


                                                                                                                            Exhibit 11a
                                                                                                                 Alibaba Group Holding Limited
                                                                                   Percent of Daily Options Series in Options Data Sample Satisfying Put-Call Parity Conditions
                                                                                                    For a Given Percent Trading Cost on the Stock Transaction
                                                                                                              September 29, 20141 - January 28, 2015
                                                                                                  Using Only Daily Options Series with Nonzero Bid and Ask Prices
                                                                       100.0%
Percent of Daily Option Series Satisfying Put-Call Parity Conditions




                                                                       90.0%


                                                                       80.0%


                                                                       70.0%


                                                                       60.0%


                                                                       50.0%


                                                                       40.0%


                                                                       30.0%


                                                                       20.0%


                                                                       10.0%


                                                                        0.0%
                                                                            0.0%    0.5%       1.0%       1.5%        2.0%         2.5%          3.0%       3.5%   4.0%     4.5%   5.0%
                                                                                                                 Percent Trading Costs on Stock Transaction

   Notes and Sources:
   Options data obtained from iVolatility. Stock price data obtained from Bloomberg L.P. Interest rate data obtained from the Federal Reserve website.
   1 Alibaba options began trading on September 29, 2014.
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                                                                                                                            Exhibit 11b
                                                                                                                 Alibaba Group Holding Limited
                                                                                   Percent of Daily Options Series in Options Data Sample Satisfying Put-Call Parity Conditions
                                                                                                    For a Given Percent Trading Cost on the Stock Transaction
                                                                                                              September 29, 20141 - January 28, 2015
                                                                                       Using Only Daily Options Series with Nonzero Bid and Ask Prices and Nonzero Volume
                                                                       100.0%
Percent of Daily Option Series Satisfying Put-Call Parity Conditions




                                                                       90.0%


                                                                       80.0%


                                                                       70.0%


                                                                       60.0%


                                                                       50.0%


                                                                       40.0%


                                                                       30.0%


                                                                       20.0%


                                                                       10.0%


                                                                        0.0%
                                                                            0.0%    0.5%       1.0%       1.5%        2.0%         2.5%          3.0%       3.5%   4.0%     4.5%   5.0%
                                                                                                                 Percent Trading Costs on Stock Transaction

   Notes and Sources:
   Options data obtained from iVolatility. Stock price data obtained from Bloomberg L.P. Interest rate data obtained from the Federal Reserve website.
   1 Alibaba options began trading on September 29, 2014.
